             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FOURTH CIRCUIT


 CASA, INC., et al.,

            Plaintiffs-Appellees,

                       v.                                 No. 25-1153

 DONALD J. TRUMP, et al.,

            Defendants-Appellants.


      TIME-SENSITIVE MOTION FOR STAY PENDING APPEAL

      Defendants-appellants President Donald J. Trump, et al., respectfully

move this Court for a partial stay pending appeal of the district court’s

nationwide preliminary injunction of the President’s Executive Order

addressing the meaning of the Citizenship Clause of the Fourteenth

Amendment. See Exec. Order No. 14,160, 90 Fed. Reg. 8449 (Jan. 29, 2025).

Just sixteen affected individuals were identified in the district court—five

individual plaintiffs and eleven individual members of the two association

plaintiffs. Yet the injunction restrains the operation of the Executive Order

as to every person in the United States. The government does not seek a

stay of the injunction with respect to the sixteen individuals. But the
government respectfully requests that this Court stay the district court’s

improper nationwide injunction pending appeal to the extent it sweeps

beyond those sixteen individuals. See Labrador v. Poe ex rel. Poe, 144 S. Ct.

921 (2024) (granting a stay of all nonparty relief). Given the importance of

the issues presented and the harms caused by the district court’s overbroad

relief, the government respectfully requests a ruling by February 27, 2025.

      The preliminary injunction enjoins defendants from “implementing

and enforcing” (Add. 3) the Executive Order’s interpretation of the

Citizenship Clause. Under that Clause, “[a]ll persons born or naturalized

in the United States, and subject to the jurisdiction thereof, are citizens of

the United States and of the State wherein they reside.” U.S. Const. amend.

XIV, § 1. The Executive Order explains that the Constitution does not grant

birthright citizenship to the children of aliens who are unlawfully present

in the United States or whose presence is lawful but temporary. Text,

history, and precedent demonstrate that the Executive Order’s

interpretation of the Citizenship Clause is correct, as the government will

explain in its merits brief in this Court.

      This motion does not require the Court to address the merits. For the

present, the government asks only that the Court stay the preliminary
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injunction to the extent it sweeps beyond the sixteen individuals whose

claims are identified in the complaint and whose relief is not contested in

this motion. The district court reasoned that nationwide injunctive relief

was appropriate because the challenge concerns a “categorical policy”

regarding citizenship, “a national concern that demands a uniform policy.”

Add. 35. The district court also believed that, because some of the sixteen

individuals had two organizations—CASA, Inc. and Asylum Seeker

Advocacy Project (ASAP)—sue on their behalf, more than 175,000

unidentified CASA members and 680,000 unidentified ASAP members

were entitled to relief, even though those unnamed members have not been

made parties to the suit, never established standing, and never agreed to be

bound by a judgment in this case.

     Such a broad injunction exceeds the traditional role and powers of a

court of equity and upsets other well-established legal doctrines. A

nationwide injunction that extends relief to nonparties in a suit involving

sixteen individuals alleging concrete injuries is fundamentally inconsistent

with Article III and basic principles of equity. And even if courts could

issue injunctions protecting all members of the organizational plaintiffs,



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regardless of whether they have been identified or established their

standing, that still would not justify nationwide relief to nonmembers.

      This Court should therefore stay the order as it applies beyond the

sixteen individuals identified in the complaint. Pursuant to Local Rule

27(a), plaintiffs informed us they plan to oppose this motion and file a

response.

                                 STATEMENT

      A. Background

      The Citizenship Clause of the Fourteenth Amendment provides that

“[a]ll persons born or naturalized in the United States, and subject to the

jurisdiction thereof, are citizens of the United States and of the State

wherein they reside.” U.S. Const. amend. XIV, § 1. Similarly, 8 U.S.C.

§ 1401(a) makes citizens of any “person born in the United States, and

subject to the jurisdiction thereof.” 1




      1 Plaintiffs assert claims under both the Citizenship Clause and this

statute. As the district court noted, “[t]he claims are essentially
coterminous because the statute mirrors the Citizenship Clause.” Add. 9
n.3. The statutory claim does not affect the propriety of the injunction’s
scope.
                                          4
      On January 20, 2025, President Trump issued an Executive Order

addressing what it means to be “subject to the jurisdiction” of the United

States. See Executive Order § 1. The Executive Order recognizes that the

Constitution and the corresponding statute extend birthright citizenship to

most people born in the United States, but they do not automatically

extend the privilege when: (1) the child’s mother was unlawfully present

and the father was not a citizen or lawful permanent resident, or (2) the

mother’s presence was lawful but temporary and the father was not a

citizen or lawful permanent resident. Id. The Executive Order also directs

the Executive Branch not to issue documents recognizing U.S. citizenship

to covered persons born in the United States after February 19, 2025, and

not to accept documents issued by state, local, or other governments

purporting to recognize the U.S. citizenship of such persons. Id. § 2.

      The Executive Order directs the Secretary of State, Attorney General,

Secretary of Homeland Security, and Commissioner of Social Security to

“ensure that the regulations and policies of their respective departments

and agencies are consistent with this order” and further directs all federal

agencies to issue public guidance by February 19 “regarding this order’s

implementation with respect to their operations and activities.” Id. § 3.
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      B. Procedural History

      1. CASA, identifying five of its allegedly injured members; ASAP,

identifying six of its members; and five individual plaintiffs filed suit the

day after the Executive Order issued. See Add. 60–77. The associations’

members were identified pseudonymously. Add. 68, ¶ 25; Add. 71–72,

¶ 37. The five individuals moved to proceed pseudonymously. Dkt. 3.

The government did not oppose the motion, provided the individuals

disclosed their identities if it became necessary. Dkt. 39. The district court

granted the motion. Dkt. 68.

      CASA asserts that it has more than 175,000 members, and ASAP

asserts that it has more than 680,000 members. Add. 67, ¶ 19; Add. 70, ¶ 31.

In addition to the specific members identified in the complaint, the

organizations alleged that their “membership includes many individuals

who are pregnant or planning to give birth, and whose U.S.-born children”

would be affected by the Executive Order. Add. 68, ¶ 25; see Add. 71–72,

¶ 37. Of its more than 680,000 members, ASAP “know[s] of at least 629

ASAP members who are currently expecting to have children born in the

United States in 2025.” Add. 54, ¶ 36. The two organizations sought a

nationwide, “universal” injunction because it was “the most efficient way
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to grant relief to” ASAP’s and CASA’s “hundreds of thousands of

members spread throughout the country.” Dkt. 46, at 14–15.

     2. On February 5, the district court granted a nationwide preliminary

injunction. Add. 1. It reasoned that “[o]nly a nationwide injunction will

provide complete relief to the plaintiffs” because the organizations’

hundreds of thousands of members “reside in all 50 U.S. states and several

U.S. territories.” Add. 35 (quotation marks omitted). “Further,” the district

court continued, a nationwide injunction “may be appropriate when the

government relies on a categorical policy,” like the Executive Order. Id.

(quotation marks omitted). Nationwide relief also was appropriate, the

district court said, because “the policy concerns citizenship—a national

concern that demands a uniform policy.” Id.

     On February 11, the government moved in district court for a stay

pending appeal. Add. 98. On February 18, the district court denied the

motion. Add. 109.

     3. Two other district courts have enjoined the Executive Order

nationwide. Washington v. Trump, No. C25-0127-JCC, 2025 WL 415165, at *1

(W.D. Wash. Feb. 6, 2025); New Jersey v. Trump, No. 25-10139-LTS, 2025 WL

487372, at *1 (D. Mass. Feb. 13, 2025). The defendants appealed the
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Washington injunction and sought a partial stay pending appeal as to its

nationwide scope on February 11. The defendants appealed and are

seeking a stay of the New Jersey injunction today. Two narrower

injunctions have also been entered, which the defendants have either

appealed, see Doe v. Trump, No. 25-10135-LTS, 2025 WL 485070 (D. Mass.

Feb. 13, 2025), or plan to appeal, see New Hampshire Indonesian Cmty.

Support v. Trump, No. 25-cv-38-JL-TSM, 2025 WL 457609 (D.N.H. Feb. 11,

2025).

                                ARGUMENT

      This Court should stay the nationwide preliminary injunction with

respect to all but the sixteen individuals who are plaintiffs or identified

members of the plaintiff organizations. For this stay motion, the

government does not contest their right to injunctive relief; our merits

briefs in this Court will explain why the district court was wrong to enjoin

the Executive Order as to them. As to the more than 800,000 members who

were not identified in the complaint, never established standing, and who

never agreed to be bound by the judgment, there is no proper basis for

equitable relief, and the familiar factors governing the grant of a stay

pending appeal—likelihood of success on the merits, irreparable injury, the
                                       8
balance of the equities, and the public interest—strongly counsel in favor of

a stay. See Nken v. Holder, 556 U.S. 418, 426 (2009). At a minimum, the

district court’s nationwide relief to nonmembers was improper.

   I.     The Injunction Exceeds the District Court’s Article III and
          Equitable Powers.

        The district court here imposed a nationwide preliminary injunction

based on allegations of harm from sixteen individuals. That was mistaken

in multiple respects. Nationwide injunctions that extend relief to

nonparties are fundamentally inconsistent with Article III and basic

principles of equity. And the district court’s view that such relief was

necessary to provide relief to hundreds of thousands of unidentified

association members fares no better: many of those individuals plainly lack

standing to seek relief in their own right, and a narrower injunction could

be tailored to provide relief to any members who do have standing.

        A. Nonparty Relief Exceeds the District Court’s Powers.

        Nationwide injunctions exceed “the power of Article III courts,”

conflict with “longstanding limits on equitable relief,” and impose a severe

“toll on the federal court system.” Trump v. Hawaii, 585 U.S. 667, 713 (2018)




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(Thomas, J., concurring); see DHS v. New York, 140 S. Ct. 599, 599–601 (2020)

(Gorsuch, J., concurring in the grant of stay).

      Under Article III, “a plaintiff’s remedy must be ‘limited to the

inadequacy that produced his injury.’” Gill v. Whitford, 585 U.S. 48, 66

(2018) (alteration omitted); see Lewis v. Casey, 518 U.S. 343, 360 (1996)

(narrowing an injunction that improperly granted “a remedy beyond what

was necessary to provide relief” to the injured parties). Similarly,

traditional principles of equity require that an injunction be “no more

burdensome to the defendant than necessary to provide complete relief to

the plaintiffs.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979).

      Nationwide injunctions flout these principles. Nationwide

injunctions encourage forum shopping. Arizona v. Biden, 40 F.4th 375, 396

(6th Cir. 2022) (Sutton, C.J., concurring). They empower a single district

court to pretermit meaningful litigation on the same issue in other courts,

thereby preventing further percolation of the issues. See DHS, 140 S. Ct. at

600 (Gorsuch, J., concurring in the grant of stay). They also operate

asymmetrically, granting relief to strangers around the nation if a single

plaintiff prevails but not precluding litigation by others if the plaintiff

loses. Cf. United States v. Mendoza, 464 U.S. 154, 159–60 (1984) (holding that
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non-mutual collateral estoppel does not apply against the federal

government). And they circumvent the carefully calibrated rules

governing class actions, which provide a mechanism for litigating widely

shared claims that accounts for many of the well-known drawbacks of

nationwide relief. See Fed. R. Civ. P. 23.

      Moreover, as the Supreme Court has “long held,” federal courts

sitting in equity must apply “‘traditional principles of equity’” and may

award only those remedies that were “traditionally accorded by courts of

equity.” Grupo Mexicano de Desarrollo, S.A. v. Alliance Bond Fund, Inc., 527

U.S. 308, 318–19 (1999) (quotation marks omitted). Universal injunctions

granting relief to nonparties depart from this historical tradition: “[C]ourts

of equity” historically “did not provide relief beyond the parties to the

case.” Hawaii, 585 U.S. at 717 (Thomas, J., concurring).

      The Supreme Court recently reiterated the problems posed by

nationwide injunctions in granting a stay in Labrador v. Poe ex rel. Poe, 144

S. Ct. 921 (2024). There, the district court had issued a preliminary

injunction prohibiting the defendant from enforcing a state law against

parties and nonparties, and the court of appeals denied a stay pending

appeal. The Supreme Court stayed the district court’s order “except as to”
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the specific plaintiffs. Id. at 921. That stay was premised on five Justices’

conclusion that universal injunctions providing relief beyond the parties to

the case are likely impermissible. Id. at 927 (Gorsuch, J., concurring in the

grant of stay); see id. (emphasizing that “[l]ower courts would be wise to

take heed”); id. at 933 n.4 (Kavanaugh, J., concurring in the grant of stay).

      These principles apply with full force here, yet the district court

brushed them aside, citing cases from this Court holding that courts may,

in some circumstances, issue nationwide injunctions. Add. 34–35 (first

citing Roe v. Department of Def., 947 F.3d 207, 231 (4th Cir. 2020); and then

citing HIAS, Inc. v. Trump, 985 F.3d 309, 326 (4th Cir. 2021)). Those cases

did not address any of the points above and were instead based on the

mistaken premise that a Supreme Court decision granting only a partial

stay of a nationwide injunction established binding precedent on “the

equitable power of district courts, in appropriate cases, to issue nationwide

injunctions extending relief to those who are similarly situated to the

litigants.” Roe, 947 F.3d at 232 (citing Trump v. International Refugee

Assistance Project, 582 U.S. 571, 580–81 (2017) (per curiam)). The Supreme

Court’s grant of a partial stay did not sub silentio repudiate the established

principle that injunctive relief should be tailored to remedy a plaintiff’s
                                       12
injury. Indeed, the Supreme Court has since squarely addressed an

injunction extending to nonparties and stayed the injunction insofar as it

applied beyond the plaintiffs. Poe, 144 S. Ct. at 921; see id. at 927 (Gorsuch,

J., concurring in the grant of stay); id. at 933 n.4 (Kavanaugh, J., concurring

in the grant of stay).

      Moreover, even if district courts may sometimes issue nationwide

relief, that does not mean it was appropriate here. The district court

suggested that nationwide relief was appropriate because the Executive

Order reflects a “categorical policy” and addresses “citizenship,” a topic of

“national concern” on which “a uniform policy” is necessary. Add. 35. But

those considerations would warrant a nationwide injunction in virtually

every case in which a uniform federal law or agency action is at issue,

“mak[ing] nationwide injunctions the rule rather than the exception.”

Arizona, 40 F.4th at 397 (Sutton, C.J., concurring).

      The district court separately suggested that nationwide relief was

necessary to “provide complete relief to the plaintiffs” because one plaintiff

association has members “in every state” and some of those members

“expect to give birth soon.” Add. 35. But the point of equitable relief is to



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address injury to a plaintiff, who has no cognizable interest in alleged

injuries to nonparties. See Yamasaki, 442 U.S. at 702; Gill, 585 U.S. at 73.

      B. Unidentified Members With No Claim to Standing Are Not
         Entitled to Relief

      The district court’s approach also contravenes fundamental premises

of associational standing. The associations here have no claims of their

own; they instead bring suit to “assert the claims of [their] members.”

Hunt v. Washington State Apple Advert. Comm’n, 432 U.S. 333, 342 (1977).

Thus, to establish standing, organizations must identify an injured member

or members whose claims they press. Summers v. Earth Island Inst., 555 U.S.

488, 498 (2009). The organizations satisfied that burden for the handful of

identified members’ claims by including the members’ claims in the

complaint and providing a declaration explaining the claims and alleging

those members’ standing.2 See Add. 36–59. Rather than resolve these


      2 In addition to its six members whose claims were identified in the

complaint, ASAP included information about six more members in its
declaration. Compare Add. 68–70, with Add. 54–59. Several of these appear
duplicative with other individuals or appear to lack standing. One is
married to one of the individual plaintiffs, with whom he would share a
claim. Add. 55, ¶ 39; Add. 77, ¶ 49. Another hopes to have lawful
permanent residence before her due date, and would therefore likely lack
standing. Add. 58, ¶ 45. Another may lack standing due to ongoing
deportation proceedings. Add. 58, ¶ 47. Regardless of whether ASAP
                                                              Continued on next page.
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specific claims, however, the district court granted relief to all of the more

than 800,000 members of these organizations, while exempting those

members from the typical scrutiny required by Article III standing.

            1. The Unidentified Members Lack Article III Standing.

      Neither of the organizations here asserts that all of its members have

standing to bring this suit. The two organizations collectively claim over

800,000 members. There is no prospect that all or even most of those

members are pregnant or have any plans to become pregnant. Similarly,

even among members who are pregnant, many may be—or have spouses

who are—lawful permanent residents or citizens, and thus their children

would not be affected by the Executive Order. Those members thus have

no claim the organizations could possibly assert on their behalf.

      Indeed, plaintiffs’ allegations here put the problem in stark relief:

while ASAP seeks relief for more than 680,000 members, its declaration

states only that it “kn[e]w of at least 629 ASAP members who are currently

expecting to have children born in the United States in 2025”— in other




established standing for 6 of its more than 680,000 members or 7–12 of its
more than 680,000 members, ASAP has still failed to establish standing for
the vast majority of its members.
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words, less than 0.1% of its claimed membership. Add. 54, ¶ 36. And in

any event, the declaration does not say whether those 629 members are

covered by the terms of the Executive Order. ASAP cannot seek relief on

behalf of more than 679,000 members for whom it has made no claim of

standing, and relief for all of CASA’s membership suffers the same defect.

      The presence of an associational plaintiff suing on behalf of its

members does not allow individuals who lack standing to seek judicial

relief. See Warth v. Seldin, 422 U.S. 490, 511 (1975) (“[R]epresentational

standing, however, does not eliminate or attenuate the constitutional

requirement of a case or controversy.”); International Union, United Auto.,

Aerospace & Agric. Implement Workers of Am. v. Brock, 477 U.S. 274, 281 (1986)

(holding labor union had standing to represent “those of its members

injured by the [challenged] policy”). As this Court has previously

recognized, “standing is not a clown car into which all interested parties

may pile, provided the driver-cum-plaintiff has met its requirements.”

CASA de Md., Inc. v. Trump, 971 F.3d 220, 258 (4th Cir. 2020), vacated for reh’g

en banc, 981 F.3d 311 (4th Cir.), reh’g dismissed (4th Cir. Mar. 21, 2021).

            2. Basic Equitable Principles Preclude Granting Relief to
               Hundreds of Thousands of Unidentified Members With
               No Demonstrated Injury
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      Granting relief to a vast number of unidentified members is also

fundamentally inequitable. At the outset, litigation on these terms makes it

impossible to tell whether these members are also members of one of the

other organizations suing over the Executive Order. See Complaint at 4,

New Hampshire Indonesian Cmty. Support v. Trump, No. 1:25-cv-38 (D.N.H.

Jan. 20, 2025) (three organizations with more than 355,000 members);

Complaint at 4-5, Doe v. Trump, No. 1:25-cv-10135 (D. Mass. filed Jan. 20,

2025) (two organizations with an undisclosed number of members).

Overlapping members may have their claims simultaneously litigated in

two courts, despite the fundamental rule that duplicative litigation in

multiple courts is not permitted. See, e.g., Sacerdote v. Cammack Larhette

Advisors, LLC, 939 F.3d 498, 504 (2d Cir. 2019); see also 2 Joseph Story,

Commentaries on Equity Jurisprudence § 1526 (2d ed. 1839) (noting “the great

object of Courts of Equity” was to “put an end to litigation” “in a single

suit”).

      Similarly, the government does not (and cannot) know to whom a

judgment would run, rendering it unclear to whom res judicata would

apply. Moreover, it is unclear how preclusion principles could apply to a

suit purportedly litigating the claims of individuals who presently lack
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standing. Cf. Brock, 477 U.S. at 290 (expressing concern that associational

standing could lead to circumstances where preclusion “might not” apply

to “subsequent claims by the association’s members”). Traditional courts

of equity would not suffer such unfair asymmetry. See West v. Randall, 29

F. Cas. 718, 721–22 (C.C.D.R.I. 1820) (Story, J.) (holding that equity would

not let the defendant be “left under precarious circumstances” of facing the

same suit again and being “doubly vexed”).

      Here, nothing prevents the organizational plaintiffs from proceeding

by having members join the complaint, by identifying and asserting each

affected member’s specific claim, or by seeking to certify a class that

includes their claims. But the associations here cannot forgo class action

procedures or other mechanisms for litigating claims; assert that they have

large, dispersed, and anonymous memberships; make no claim that all

such members have standing; and demand nationwide relief because of the

gaps in their own showing of standing. See Koster v. (American) Lumbermens

Mut. Cas. Co., 330 U.S. 518, 522 (1947) (“[A]s in all other petitions for

equitable relief, he who seeks equity must do equity, and the court will be

alert to see that its peculiar remedial process is in no way abused.”).



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      These principles make clear that any relief for the organizational

plaintiffs in this case should be limited to those identified members whose

standing is established in the declarations and who undoubtedly would be

bound by the judgment. That approach would respect both Article III

principles underlying associational standing and basic rules of equity.

      Finally, even if such a sweeping injunction was ever permissible, “the

attendant practical consequences of this drastic and extraordinary remedy

should restrict its use to the most exceptional circumstances.” CASA de

Md., Inc., 971 F.3d at 259, vacated for reh’g en banc, 981 F.3d 311. At an

absolute minimum, the district court failed to explain why the geographic

spread of the plaintiff organizations’ members necessitated a nationwide

injunction. Citizenship is about an individual’s status, and an order that

precludes the denial of citizenship to an individual provides complete

relief to that individual. The members of the associations here are no

different; an order limited to those members would provide them complete

relief (if they are injured at all), as they are not injured by the treatment of

nonmembers. If mere geographic dispersal were the metric, every

organization with a geographically dispersed membership would be

entitled to nationwide relief in every suit.
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   II.      The Remaining Factors Favor a Stay.

         The remaining factors—irreparable harm, the balance of harms, and

the public interest—likewise favor the requested partial stay. The

beneficiaries of the injunction beyond the sixteen identified individuals are

not proper parties, and staying relief to those nonparties does not cause

any irreparable harm to the sixteen individuals identified in the complaint.

See Ohio v. EPA, 603 U.S. 279, 291 (2024) (asking “whether the stay will

substantially injure the other parties”) (emphasis added)).

         By contrast, allowing the full scope of the injunction to take effect

threatens irreparable injuries to the government and the public, whose

interests “merge” in this context. Nken, 556 U.S. at 435. An injunction that

prevents the President from carrying out his broad authority over and

responsibility for immigration matters is “an improper intrusion by a

federal court into the workings of a coordinate branch of the Government.”

INS v. Legalization Assistance Project of the L.A. Cty. Fed’n of Labor, 510 U.S.

1301, 1305–06 (1993) (O’Connor, J., in chambers).

         Those harms are particularly manifest given the breadth of the

injunction. The injunction applies nationwide to all implementation and

enforcement, preventing the Executive Branch from formulating relevant

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policies and guidance for implementing the President’s Order.3 Plaintiffs

cannot plausibly claim any injury from those internal operations and

delaying advance preparations for the policies of a democratically elected

government imposes its own “form of irreparable injury.” Maryland v.

King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (quotation

marks omitted).

      The injunction is especially harmful as the challenged Executive

Order is an integral part of President Trump’s broader effort to repair the

United States’ immigration system and to address the ongoing crisis at the

southern border. That immigration policy is designed to combat the

“significant threats to national security and public safety” posed by

unlawful immigration. See Exec. Order No. 14,159, § 1, 90 Fed. Reg. 8443,

8443 (Jan. 29, 2025); see also Exec. Order No. 14,165, 90 Fed. Reg. 8467 (Jan.

30, 2025); Proclamation No. 10,886, 90 Fed. Reg. 8327 (Jan. 29, 2025).


      3 While two groups of States have also obtained nationwide

injunctions against the Executive Order, see supra pp. 7–8, both sets of State
plaintiffs lack standing. Citizenship is an individual right, and the States’
claims violate prohibitions on third-party standing. In any event, the
government believes the States in both cases have failed to allege injuries
sufficient to establish Article III standing. The government has sought a
stay of one of these injunctions because of the States’ lack of standing and
will be seeking a stay of the other today.
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Addressing the Executive Branch’s prior misinterpretation of the

Citizenship Clause is one component of that broader effort, removing

incentives to unlawful immigration and closing exploitable loopholes.

      The district court erred in granting nationwide injunctive relief at the

behest of just sixteen identified individuals, see Poe, 144 S. Ct. at 921, even if

some of those individuals had an organization bring their claims on their

behalf. This Court should grant a stay pending appeal except as to those

sixteen individuals. See id.

                                CONCLUSION

      For the foregoing reasons, this Court should stay the district court’s

nationwide preliminary injunction except as to the sixteen identified

individuals.




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                Respectfully submitted,

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FEBRUARY 2025




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                    CERTIFICATE OF COMPLIANCE

     I hereby certify that this motion satisfies the type-volume

requirements set out in Rule 27(d)(2)(A) because it contains 4,352 words.

This motion was prepared using Microsoft Word in Book Antiqua, 14-point

font, a proportionally spaced typeface.



                                          s/ Derek Weiss
                                          Derek Weiss
                       CERTIFICATE OF SERVICE

     I hereby certify that on February 19, 2025, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. Participants in the case are registered CM/ECF users and service

will be accomplished by the appellate CM/ECF system.



                                           s/ Derek Weiss
                                           Derek Weiss
ADDENDUM
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Relevant Record Materials, Pursuant to FRAP 8(a)(2)(B)(iii) and
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Memorandum Opinion (Feb. 5, 2025) (Dkt. 65)....................................... Add. 4

Declaration of George Escobar, Chief of Programs and Services for
     CASA, Inc. (Jan. 21, 2025) (Dkt. 2-2).............................................. Add. 36

Declaration of Swapna C. Reddy, Co-Executive Director of the
     Asylum Seeker Advocacy Project, (“ASAP”) (Jan. 21, 2025)
     (Dkt. 2-3) ............................................................................................ Add. 47

Complaint (Jan. 21, 2025) (Dkt. 1) ............................................................ Add. 60



Previous Applications for Relief and Their Outcome, Pursuant to
     Local Rule 8:

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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

CASA, INC., et al.,                                *

      Plaintiffs,                                  *

v.                                                 *                    Civ. No. DLB-25-201

DONALD J. TRUMP, et al.,                           *

      Defendants.                                  *

                                               ORDER

        On January 20, 2025, President Donald J. Trump signed Executive Order 14160,

“Protecting the Meaning and Value of American Citizenship” (“Executive Order”). CASA, Inc.,

Asylum Seeker Advocacy Project, and five individuals proceeding under the pseudonyms Maribel,

Juana, Trinidad Garcia, Monica, and Liza filed a lawsuit against President Trump, the Secretary

of the U.S. Department of State, the U.S. Attorney General, the Secretary of the U.S. Department

of Homeland Security, the Director of U.S. Citizenship and Immigration Services, the

Commissioner of the Social Security Administration, and the United States of America. The

plaintiffs allege that the Executive Order violates the Citizenship Clause of the Fourteenth

Amendment to the Constitution and the Immigration and Nationality Act. The plaintiffs moved for

a preliminary injunction that enjoins the defendants from implementing and enforcing the

Executive Order. Upon consideration of the plaintiffs’ motion for a preliminary injunction, the

defendants’ opposition, the plaintiffs’ reply, and the briefs filed by three amici, the Court finds that

the plaintiffs have shown they are entitled to a preliminary injunction.

        The plaintiffs have established that they are likely to succeed on the merits of their claim

that the Executive Order violates the Fourteenth Amendment. The Executive Order contradicts the




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plain language of the Citizenship Clause of the Fourteenth Amendment and conflicts with binding

Supreme Court precedent, United States v. Wong Kim Ark, 169 U.S. 649 (1898).

       The plaintiffs also have shown that they will suffer irreparable harm without injunctive

relief. The unborn children of the individual plaintiffs and the organizational plaintiffs’ members

will be denied the rights and privileges of U.S. citizenship. The plaintiffs will face uncertainty

about their children’s citizenship status, and some of their children may be stateless.

       The balance of the equities and the public interest weigh in favor of a preliminary

injunction. The government will not be harmed because a preliminary injunction will maintain the

status quo. Enjoining implementation and enforcement of the Executive Order during litigation

will preserve constitutional rights and prevent administrative and financial burdens on local

governments.

       For the reasons state above and those stated in the memorandum opinion issued today, it is

this 5th day of February, 2025 hereby ORDERED that

       1.      The plaintiffs’ motion for a preliminary injunction and temporary restraining order,

               ECF 2, is GRANTED in part and DENIED in part as follows:

               a. The motion for a preliminary injunction is GRANTED; and

               b. The motion for a temporary restraining order is DENIED as moot;

       2.      The Secretary of the U.S. Department of State, the U.S. Attorney General, the

               Secretary of the U.S. Department of Homeland Security, the Director of U.S.

               Citizenship and Immigration Services, the Commissioner of the Social Security

               Administration, and their officers, agents, servants, employees, and attorneys, and

               any other persons who are in active concert or participation with them are




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

CASA, INC., et al.,                             *

     Plaintiffs,                                *

v.                                              *                   Civ. No. DLB-25-201

DONALD J. TRUMP, et al.,                        *

     Defendants.                                *

                                 MEMORANDUM OPINION

       In 1868, the United States Congress ratified the Fourteenth Amendment to the United

States Constitution. The Citizenship Clause of the Fourteenth Amendment states:

       All persons born or naturalized in the United States, and subject to the jurisdiction
       thereof, are citizens of the United States and of the State wherein they reside.

U.S. Const. amend. XIV, § 1, cl. 1.

       More than 150 years after the Fourteenth Amendment was ratified, the newly-sworn-in

President of the United States Donald J. Trump signed an Executive Order called “Protecting the

Meaning and Value of American Citizenship.” See Exec. Order No. 14,160, 90 Fed. Reg. 8449

(Jan. 29, 2025) (the “Order” or “Executive Order”). The Executive Order interprets the Citizenship

Clause of the Fourteenth Amendment in a manner that the Supreme Court has resoundingly

rejected and no court in the country has ever endorsed. If the Order is allowed to take effect, it

would deny citizenship by birth to U.S.-born persons whose mothers are in the country unlawfully

or temporarily and whose fathers are not citizens or lawful permanent residents at the time of the

person’s birth.

       The day after the Executive Order was issued, CASA, Inc. and Asylum Seeker Advocacy

Project, two nonprofit organizations that provide services to immigrants, and five pregnant women




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without permanent legal status who expect to give birth in the United States in the coming months

filed this lawsuit against President Trump, the Secretary of the U.S. Department of State, the U.S.

Attorney General, the Secretary of the U.S. Department of Homeland Security, the Director of

U.S. Citizenship and Immigration Services, the Commissioner of the Social Security

Administration, and the United States of America. The plaintiffs allege that the Executive Order

violates the Fourteenth Amendment to the Constitution and the Immigration and Nationality Act.

They request a preliminary injunction that enjoins implementation and enforcement of the

Executive Order until the merits of their claims are resolved. The government opposes preliminary

injunctive relief.

        The plaintiffs easily have met the standard for a preliminary injunction. There is a very

strong likelihood of success on the merits. The plaintiffs will face irreparable harm without

injunctive relief. And the balance of the equities and the public interest strongly weigh in favor of

a preliminary injunction. The motion for a preliminary injunction is granted. The defendants are

enjoined from implementing and enforcing the Executive Order.

        I.      Background

        At noon on January 20, 2025, President Trump took the oath of office of the President of

the United States. Later that day, President Trump signed an Executive Order called “Protecting

the Meaning and Value of American Citizenship.” The Executive Order purports to interpret the

clause “subject to the jurisdiction thereof” in the Citizenship Clause of the Fourteenth Amendment.

In Section 1 of the Order, titled “Purpose,” the Order explains that “[t]he Fourteenth Amendment

has always excluded from birthright citizenship persons who were born in the United States but

not ‘subject to the jurisdiction thereof.’” Exec. Order § 1. Section 1 continues:

        Among the categories of individuals born in the United States and not subject to
        the jurisdiction thereof, the privilege of United States citizenship does not



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       automatically extend to persons born in the United States: (1) when that person’s
       mother was unlawfully present in the United States and the father was not a United
       States citizen or lawful permanent resident at the time of said person’s birth, or (2)
       when that person’s mother’s presence in the United States at the time of said
       person’s birth was lawful but temporary (such as, but not limited to, visiting the
       United States under the auspices of the Visa Waiver Program or visiting on a
       student, work, or tourist visa) and the father was not a United States citizen or
       lawful permanent resident at the time of said person’s birth.

Id.

       Section 2 of the Order establishes the policy of the United States government. See id. § 2.

Under Section 2, no federal department or agency “shall issue documents recognizing United

States citizenship, or accept documents issued by State, local, or other governments or authorities

purporting to recognize United States citizenship” to a person whose mother was unlawfully

present or lawfully present with only temporary status and whose father was neither a United States

citizen nor lawful permanent resident at the time of that person’s birth. Id. § 2(a). The policy

applies only to persons who are born in the United States on or after February 19, 2025. Id. § 2(b).

It does not impact the ability of other people, including children of lawful permanent residents, to

get documentation of their American citizenship. Id. § 2(c).

       Section 3 of the Order discusses enforcement. Id. § 3. It instructs the Secretary of State, the

Attorney General, the Secretary of Homeland Security, and the Commissioner of Social Security

to “take all appropriate measures to ensure that the regulations and policies of their respective

departments and agencies are consistent with this order” and that their agencies’ officers,

employees, and agents act in accordance with the Order. Id. § 3(a). It also instructs the heads of

executive departments and agencies to issue public guidance regarding their implementation of the

Order within 30 days of its issuance. Id. § 3(b).

       On January 21, 2025, the plaintiffs filed this lawsuit against President Trump, the Secretary

of the U.S. Department of State, the U.S. Attorney General, the Secretary of the U.S. Department



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of Homeland Security, the Director of U.S. Citizenship and Immigration Services, the

Commissioner of the Social Security Administration, and the United States of America. ECF 1,

¶¶ 50–56. Each individual defendant is sued in their official capacity. Id. The plaintiffs claim that

the Executive Order violates the Fourteenth Amendment, id. ¶¶ 101–08, and the Immigration and

Nationality Act (“INA”), id. ¶¶ 109–14. They seek declaratory and injunctive relief. Id. at 37–38.

       The two organizational plaintiffs are CASA, Inc. (“CASA”) and Asylum Seeker Advocacy

Project (“ASAP”). CASA is a nonprofit organization headquartered in Prince George’s County,

Maryland. Id. ¶ 19. It “is the largest membership-based immigrant rights organization in the mid-

Atlantic region, with more than 175,000 members.” Id. Its mission “is to create a more just society

by building power and improving the quality of life in working-class Black, Latino/a/e, Afro-

descendent, Indigenous, and immigrant communities.” Id. ¶ 20. It helps members apply for public

benefits and offers free legal consultations. Id. ¶ 22. CASA does not issue formal membership to

anyone under the age of 15, though it does provide services to young people and their families. Id.

¶ 24. CASA’s members include women without lawful status who are pregnant or plan to give

birth in the United States. Id. ¶ 25. Under the Order, their children born in the United States would

no longer be U.S. citizens.

       ASAP is a nonprofit organization headquartered in New York, New York. Id. ¶ 31. It “is

the largest membership-based organization of asylum-seekers in the United States, with over

680,000 members from more than 175 countries who reside in all 50 states and several U.S.

territories.” Id. “ASAP’s mission is to help its members—individuals seeking asylum—to build a

more welcoming United States.” Id. ¶ 32. To that end, it provides members with community and

legal support. Id. ASAP does not extend formal membership to people under the age of 14, but the

benefits of ASAP membership may extend to them through their parents’ membership. Id. ¶ 35.




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Most ASAP members have applied for asylum and cannot be deported while their asylum

applications are pending. Id. ¶ 36. ASAP expects that “[h]undreds or even thousands of [its]

members will give birth to children in the United States over the coming weeks and months[.]” Id.

¶ 37. Despite being born in the United States, those children would not be U.S. citizens under the

Order.

         The individual plaintiffs—Maribel, Juana, Trinidad Garcia, Monica, and Liza—are

proceeding under pseudonyms. 1 ECF 3. Maribel is a member of CASA. ECF 1, ¶ 45. She is

undocumented and has lived in the United States for 18 years. Id. She is pregnant and due in July

2025. Id. Juana is also a CASA member. Id. ¶ 46. She has a pending asylum claim. Id. She is two

months pregnant. Id. Trinidad Garcia is a member of ASAP. Id. ¶ 47. She and her partner came to

the United States on tourist visas in 2017 and filed affirmative asylum applications. Id. They are

awaiting their asylum interview. Id. Trinidad Garcia is pregnant and due in August 2025. Id. She

and her partner are citizens of Venezuela. Id. Venezuela does not provide consular services in the

United States, so she fears that her child would be rendered stateless by the Order. Id. Monica is

also an ASAP member from Venezuela. Id. ¶ 48. She has Temporary Protected Status and has filed

an application for asylum. Id. She is pregnant and due in August 2025. Id. Like Trinidad Garcia,

she fears that her child would be rendered stateless by the Order. Id. Liza is married to an ASAP

member who is seeking asylum. Id. ¶ 49. Liza is currently in lawful status on a student visa. Id.

She is pregnant and due in May 2025. Id. She and her husband are Russian citizens who fear



1
  The individual plaintiffs have asked to proceed under pseudonyms because they “fear that the
U.S. government and members of the public could retaliate against them or their minor children
because of their participation in this lawsuit.” ECF 3, at 1. The government does not oppose the
motion “provided that [p]laintiffs provide the identities of those individuals on request if necessary
to permit [it] to fully defend this case.” ECF 39, at 1. The motion to proceed under pseudonyms is
granted. If the government needs to know the identities of the individual plaintiffs to defend this
case, it may file a request for relief from the Court.


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persecution from the Russian government. Id. They are afraid to apply for Russian citizenship for

their child and are worried their child will be rendered stateless by the Order. 2

       The plaintiffs filed a motion for a temporary restraining order and preliminary injunction.

ECF 2. The government opposed the preliminary injunction. ECF 40. The plaintiffs filed a reply.

ECF 46. Three amici filed briefs: a group of local governments and local government officials,

ECF 37; the Immigration Reform Law Institute, ECF 63; and the State of Tennessee, ECF 50. The

Court heard argument on the motion on February 5, 2025.

       II.     Discussion

       The plaintiffs seek a preliminary injunction that enjoins the implementation and

enforcement of the Executive Order. The government argues that the plaintiffs do not have a cause

of action and that preliminary injunctive relief is unwarranted. The Court finds that the plaintiffs

do have a cause of action and that preliminary injuctive relief is warranted.

               A.      Reviewabilty of the Executive Order

       As a threshold matter, the Court must decide if the plaintiffs’ constitutional claim is subject

to judicial review. See Am. Forest Res. Council v. United States, 77 F.4th 787, 796 (D.C. Cir.

2023) (“Before [the court] turn[s] to the merits, [it] must decide whether the plaintiffs’ claims are

reviewable.”). 3




2
  Unless otherwise noted, the “plaintiffs” refers to the individual plaintiffs and members of the
organizational plaintiffs who are pregnant.
3
  The Court need not decide whether it may review the plaintiffs’ statutory claim because the
plaintiffs are entitled to a preliminary injunction on their constitutional claim. The claims are
essentially coterminous because the statute mirrors the Citizenship Clause. Although the Court has
a “duty to avoid deciding constitutional questions presented unless essential to proper disposition
of a case,” Harmon v. Brucker, 355 U.S. 579, 581 (1958), the constitutional question presented
here is essential to the proper disposition of the issues before the Court.


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        The plaintiffs claim the Executive Order violates the Fourteenth Amendment’s Citizenship

Clause. There is no question that the Court may review the constitutionality of the Executive Order

and grant injunctive relief. The Supreme Court consistently has “sustain[ed] the jurisdiction of

federal courts to issue injunctions to protect rights safeguarded by the Constitution.” See Bell v.

Hood, 327 U.S. 678, 684 (1946); see also Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001)

(“[I]njunctive relief has long been recognized as the proper means for preventing entities from

acting unconstitutionally.”). The Supreme Court has affirmed that “the President’s actions may . .

. be reviewed for constitutionality.” See Franklin v. Massachusetts, 505 U.S. 788, 801 (1992); see

also Dalton v. Specter, 511 U.S. 462, 473–74 (1994). And it is “well established that ‘[r]eview of

the legality of Presidential action can ordinarily be obtained in a suit seeking to enjoin the officers

who attempt to enforce the President’s directive.’” Chamber of Commerce v. Reich, 74 F.3d 1322,

1328 (D.C. Cir. 1996) (quoting Franklin, 505 U.S. at 815 (Scalia, J., concurring)); see also id. at

1326 (“[A]n independent claim of a President’s violation of the Constitution would certainly be

reviewable.”). In Armstrong v. Exceptional Child Center, Inc., the Supreme Court explained that

“[t]he ability to sue to enjoin unconstitutional actions by state and federal officers is the creation

of courts of equity, and reflects a long history of judicial review of illegal executive action, tracing

back to England.” 575 U.S. 320, 327 (2015). Pursuant to this authority, the Supreme Court has

reviewed constitutional challenges to executive orders. See, e.g., Youngstown Sheet & Tube Co. v.

Sawyer, 343 U.S. 579, 582 (1952); Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S.

788, 795–96 (1985). During President Trump’s first term, the Supreme Court decided a

constitutional challenge to one of his proclamations. See Trump v. Hawaii, 585 U.S. 667, 697–99

(2018) (reaching the merits of an Establishment Clause challenge to a Presidential Proclamation).




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       The government insists the plaintiffs have an “available and exclusive mechanism to

challenge disputes about citizenship under the INA.” ECF 40, at 9. According to the government,

the plaintiffs must pursue their claims through a declaratory action under 8 U.S.C. § 1503(a) of

the INA. Section 1503(a) allows “any person who is within the United States” and who “claims a

right or privilege as a national of the United States and is denied such right or privilege by any

department or independent agency, or official thereof, upon the ground that he is not a national of

the United States” to seek declaratory relief after “the final administrative denial of such right or

privilege.” 8 U.S.C. § 1503(a).

       This INA provision does not prevent the plaintiffs from bringing a facial constitutional

challenge to the Executive Order. The text of the INA does not indicate that § 1503(a) is the

exclusive remedy for challenging the denial of a right to citizenship under the Fourteenth

Amendment. The Supreme Court has cautioned against reading a statutory right to judicial review

“as an exclusive route to review” when the text neither “expressly” nor “implicitly” limits the

Court’s jurisdiction. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 489

(2010) (statute permitting judicial review of the Securities and Exchange Commission’s rules and

orders was not the “exclusive route to review” constitutional claims against a government board

subject to the Commission’s good-cause removal power); see also Axon Enter., Inc. v. FTC, 598

U.S. 175, 185 (2023) (concluding federal statutes allowing courts of appeal to review an agency

order “d[id] not displace district court jurisdiction over . . . far-reaching constitutional claims”).

Indeed, judicial review under the INA is not the exclusive mechanism to challenge policies that

deny citizenship. See, e.g., Tuaua v. United States, 788 F.3d 300, 302–03 (D.C. Cir. 2015).

       Further, the plaintiffs cannot pursue their constitutional challenge to the Executive Order

under § 1503(a). The statute provides a cause of action to “any person who is within the United




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States” who “claims a right or privilege as a national of the United States.” 8 U.S.C. § 1503(a).

The plaintiffs are not seeking “a judgment declaring [their children] to be [] national[s] of the

United States” after the denial of a particular right or privilege, id., such as the denial of a passport,

see, e.g., Cambranis v. Blinken, 994 F.3d 457, 465 (5th Cir. 2021) (reviewing challenge under §

1503(a) brought after denial of passport application); Kiviti v. Pompeo, 467 F. Supp. 3d 293, 303

(D. Md. 2020) (same). Instead, the plaintiffs seek immediate injunctive relief from the Executive

Order because the Order is facially unconstitutional and denies citizenship to their unborn children.

So the government is incorrect: Section 1503(a) of the INA does not offer the plaintiffs an

exclusive and available remedy for their constitutional challenge to the Executive Order.

        The plaintiffs can seek protection from unconstitutional executive action in this Court. As

the Supreme Court has explained:

        “The very essence of civil liberty . . . certainly consists in the right of every
        individual to claim the protection of the laws, whenever he receives an injury. One
        of the first duties of government is to afford that protection.” Traditionally,
        therefore, “it is established practice for this Court to sustain the jurisdiction of
        federal courts to issue injunctions to protect rights safeguarded by the Constitution
        and to restrain individual state officers from doing what the 14th Amendment
        forbids the State to do.”

Davis v. Passman, 442 U.S. 228, 242 (1979) (first quoting Marbury v. Madison, 5 U.S. (1 Cranch)

137, 163 (1803); and then quoting Bell, 327 U.S. at 684). The Court can review the plaintiffs’

claim that the Executive Order violates the Fourteenth Amendment.

                B.      Motion for Preliminary Injunction

        To obtain a preliminary injunction, the plaintiffs must establish four factors: (1) that they

are likely to succeed on the merits; (2) that they are likely to suffer irreparable harm if preliminary

relief is not granted; (3) that the balance of equities favors them; and (4) that an injunction is in

the public interest. See Frazier v. Prince George’s County, 86 F.4th 537, 543 (4th Cir. 2023) (citing




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       The President’s novel interpretation of the Citizenship Clause contradicts the plain

language of the Fourteenth Amendment and conflicts with 125-year-old binding Supreme Court

precedent. At the turn of the twentieth century, the Supreme Court in United States v. Wong Kim

Ark, 169 U.S. 649 (1898), resolved any debate about the scope of the Citizenship Clause and the

meaning of “subject to the jurisdiction thereof.” Wong Kim Ark forecloses the President’s

interpretation of the Citizenship Clause.

       The case arose when Wong Kim Ark, who was born in San Francisco to parents who were

Chinese citizens, traveled to China for a temporary visit and was denied re-entry into the United

States “upon the sole ground that he was not a citizen of the United States.” Id. at 653. Wong Kim

Ark insisted he was a U.S. citizen because he was born in California. Id. If he was a citizen, the

“Chinese Exclusion Acts,” which prohibited “persons of the Chinese race, and especially Chinese

laborers, from coming into the United States,” would not apply to him. Id.

       The Supreme Court framed “the question presented” like this:

       whether a child born in the United States, of parents of Chinese descent, who at the
       time of his birth are subjects of the emperor of China, but have a permanent
       domicile and residence in the United States, and are there carrying on business, and
       are not employed in any diplomatic or official capacity under the emperor of China,
       becomes at the time of his birth a citizen of the United States, by virtue of the first
       clause of the fourteenth amendment of the constitution: ‘All persons born or
       naturalized in the United States, and subject to the jurisdiction thereof, are citizens
       of the United States and of the state wherein they reside.’

Id.

       To answer this question, the Supreme Court began with the text of the Constitution and

determined that the “constitution nowhere defines the meaning of these words.” Id. at 654. It then

interpreted the Citizenship Clause “in the light of the common law, the principles and history of

which were familiarly known to the framers of the constitution.” Id. The Court observed that “[t]he

language of the constitution . . . could not be understood without reference to [English] common



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law.” Id.; see id. at 655 (“The interpretation of the constitution of the United States is necessarily

influenced by the fact that its provisions are framed in the language of the English common law,

and are to be read in the light of its history.” (quoting Smith v. Alabama, 124 U.S. 465, 478

(1888))).

        The Court prefaced its review of English common law as follows:

        The fundamental principle of the common law with regard to English nationality
        was birth within the allegiance—also called ‘ligealty,’ ‘obedience,’ ‘faith,’ or
        ‘power’— of the king. The principle embraced all persons born within the king’s
        allegiance, and subject to his protection. Such allegiance and protection were
        mutual,—as expressed in the maxim, ‘Protectio trahit subjectionem, et subjection
        protectionem,’—and were not restricted to natural-born subjects and naturalized
        subjects, or to those who had taken an oath of allegiance; but were predicable of
        aliens in amity, so long as they were within the kingdom. Children, born in England,
        of such aliens, were therefore natural-born subjects. But the children, born within
        the realm, of foreign ambassadors, or the children of alien enemies, born during
        and within their hostile occupation of part of the king’s dominions, were not
        natural-born subjects, because not born within the allegiance, the obedience, or the
        power, or, as would be said at this day, within the jurisdiction, of the king.

Id. at 655. That principle, as the Court explained, pervaded English common law cases. See id. at

655–58.

        After a lengthy discussion of common law cases, the Court concluded:

        It thus clearly appears that by the law of England for the last three centuries,
        beginning before the settlement of this country, and continuing to the present day,
        aliens, while residing in the dominions possessed by the crown of England, were
        within the allegiance, the obedience, faith or loyalty, the protection, the power, and
        the jurisdiction of the English sovereign; and therefore every child born in England
        of alien parents was a natural-born subject, unless the child of an ambassador, or of
        an alien enemy in a hostile occupation of the place where the child was born.

Id. at 658.

        The Court found that this “same rule was in force in all the English colonies upon this

continent down to the time of the Declaration of Independence, and in the United States afterwards,

and continued to prevail under the constitution as originally established.” Id. In cases decided after




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the Declaration of Independence, courts in the United States “assumed . . . that all persons born in

the United States were citizens of the United States.” Id. (citing Murray v. Schooner Charming

Betsy, 6 U.S. (2 Cranch) 64, 119 (1804)). The Court noted that, in Levy’s Lessee v. McCartee, 31

U.S. (6 Pet.) 102 (1832), Justice Story “treated it as unquestionable that by [the principles of

common law] a child born in England of alien parents was a natural-born subject.” 169 U.S. at

662. And in United States v. Rhodes, Justice Swayne also relied on English common law:

       All persons born in the allegiance of the king are natural-born subjects, and all
       persons born in the allegiance of the United States are natural-born citizens. Birth
       and allegiance go together. Such is the rule of the common law, and it is the
       common law of this country, as well as of England. We find no warrant for the
       opinion that this great principle of common law has ever been changed in the United
       States. It has always obtained here, with the same vigor, and subject only to the
       same exceptions, since as before the Revolution.

Id. at 662–63 (quoting United States v. Rhodes, 27 F. Cas. 785, 790 (C.C.D. Ky. 1866) (Swayne,

Cir. J.)). Justice Sewall of the Supreme Court of Massachusetts stated in Kilham v. Ward:

       The doctrine of common law is that every man born within its jurisdiction is a
       subject of the sovereign of the country where he is born; and allegiance is not
       personal to the sovereign in the extent that it has been contended for; it is due to
       him in his political capacity of sovereign of the territory where the person owing
       the allegiance was born.

Id. (quoting Kilham v. Ward, 2 Mass. (1 Tyng) 236, 264–65 (Mass. 1806)).

       After an extensive review of English common law, decisions of courts in the United States,

and recent acts of Congress, the Supreme Court concluded: “Here is nothing to countenance the

theory that a general rule of citizenship by blood or descent has displaced in this country the

fundamental rule of citizenship by birth within its sovereign.” Id. at 674. The Court concluded that

the Fourteenth Amendment and the Civil Rights Act of 1866, enacted two years before the

Fourteenth Amendment, “finally put at rest” any “doubt” that before their enactment, “all white

persons, at least, born within the sovereignty of the United States, whether children of citizens or




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of foreigners, excepting only children of ambassadors and public ministers of a foreign

government, were native-born citizens of the United States.” Id. at 674–75.

       With their enactment, the Fourteenth Amendment and the Civil Rights Act of 1866

“reaffirmed in the most explicit and comprehensive terms . . . the fundamental principle of

citizenship by birth within the dominion.” Id. at 675. Enacted first, the Civil Rights Act of 1866

states, in part: “All persons born in the United States, and not subject to any foreign power,

excluding Indians not taxed, are hereby declared to be citizens of the United States.” Id. (quoting

Civil Rights Act of 1866, ch. 31, § 1, 14 Stat. 27, 27). Soon after Congress enacted the Civil Rights

Act of 1866, the “same congress . . . evidently thinking it unwise, and perhaps unsafe, to leave so

important a declaration of rights to depend upon an ordinary act of legislation, which might be

repealed by a subsequent congress, framed the fourteenth amendment of the constitution.” Id. After

reciting the text of the Fourteenth Amendment’s Citizenship Clause, the Court stated:

       As appears on the face of the amendment, as well as from the history of the times,
       this was not intended to impose any new restrictions upon citizenship, or to prevent
       any persons from becoming citizens by the fact of birth within the United States,
       who would thereby have become citizens according to the law existing before its
       adoption.

Id. at 676. The “main purpose [of the Citizenship Clause] doubtless was . . . to establish the

citizenship of free negroes, which had been denied” in Dred Scott v. Sandford, 60 U.S. 393 (1857),

and “to put it beyond all doubt that all blacks, as well as whites, born or naturalized within the

jurisdiction of the United States, are citizens of the United States.” Id. The amendment’s “opening

words, ‘All persons born,’ are general, not to say universal, restricted only by place and

jurisdiction, and not by color or race.” Id.

       The Court then interpreted the clause “subject to the jurisdiction thereof.” Id. at 676–82.

At the time, the only case that had decided the meaning of the clause was Elk v. Wilkins, 112 U.S.




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94 (1884). Wong Kim Ark, 169 U.S. at 680. Justice Gray, the author of Wong Kim Ark, authored

Elk only four years earlier. As Justice Gray stated in Wong Kim Ark, the Elk Court held that “an

Indian born a member of one of the Indian tribes within the United States . . . was not a citizen of

the United States, as a person born in the United States, ‘and subject to the jurisdiction thereof,’

within the meaning of the clause in question.” Id. The Wong Kim Ark Court stated the rationale for

the Elk holding:

       Indian tribes, being within the territorial limits of the United States were not, strictly
       speaking, foreign states, but were alien nations, distinct political communities, the
       members of which owed immediate allegiance to their several tribes, and were not
       part of the people of the United States . . . Indians born within the territorial limits
       of the United States, members of, and owing immediate allegiance to, one of the
       Indian tribes (an alien, though dependent, power), although in a geographical sense
       born in the United States, are no more “born in the United States, and subject to the
       jurisdiction thereof,” within the meaning of the first section of the fourteenth
       amendment, than the children of subjects of any foreign government born within
       the domain of that government, or the children born within the United States of
       ambassadors or other public ministers of foreign nations.

Id. at 681. Justice Gray then explained why Elk did not apply to the case at bar: “The decision in

Elk v. Wilkins concerned only members of the Indian tribes within the United States, and had no

tendency to deny citizenship to children born in the United States of foreign parents of Caucasian,

African, or Mongolian descent, not in the diplomatic service of a foreign country.” Id. at 682.

       Having distinguished Elk as a unique case that “concerned only members of the Indian

tribes within the United States,” the Wong Kim Ark Court determined that:

       [t]he real object of the fourteenth amendment of the constitution, in qualifying the
       words ‘all persons born in the United States’ by the addition ‘and subject to the
       jurisdiction thereof,’ would appear to have been to exclude, by the fewest and fittest
       words (besides children of members of the Indian tribes, standing in a peculiar
       relation to the national government, unknown to the common law), the two classes
       of cases—children born of alien enemies of hostile occupation, and children of
       diplomatic representatives of a foreign state—both of which . . . by the law of
       England and by our own law, from the time of the first settlement of the English
       colonies in America, had been recognized exceptions to the fundamental rule of
       citizenship by birth within the country.



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Id. at 682.

        Ultimately, the Wong Kim Ark Court made these “irresistibl[e] . . . conclusions”:

        The fourteenth amendment affirms the ancient and fundamental rule of citizenship
        by birth within the territory, in the allegiance and under the protection of the
        country, including all children here born of resident aliens, with the exceptions or
        qualifications (as old as the rule itself) of children of foreign sovereigns or their
        ministers, or born on foreign public ships, or of enemies within and during a hostile
        occupation of part of our territory, and with the single additional exception of
        children of members of the Indian tribes owing direct allegiance to their several
        tribes. The amendment, in clear words and in manifest intent, includes the children
        born within the territory of the United States of all other persons, of whatever race
        or color, domiciled within the United States. Every citizen or subject of another
        country, while domiciled here, is within the allegiance and the protection, and
        consequently subject to the jurisdiction, of the United States.

Id. at 693. Except in rare instances, the Fourteenth Amendment guarantees U.S. citizenship to any

child born on U.S. soil. See id.

        The Wong Kim Ark Court then applied these holdings to the facts before it. Recall that

Wong Kim Ark was denied re-entry into the United States because it was believed he was not a

citizen, and if he was not a citizen, the Chinese Exclusion Acts barred his entry into the United

States. Id. at 653. The Court determined that no legislation to exclude Chinese citizens could apply

to a person “born in the United States of Chinese parents.” Id. at 694–99. Yet the United States

could “exclude” or “expel from the country persons of the Chinese race, born in China, and

continuing to be subjects of the emperor, though having acquired a commercial domicile in the

United States . . . .” Id. at 699. The Supreme Court had upheld the Acts previously based on “the

right to exclude or to expel all aliens,” id., including “Chinese persons not born in this country’”—

a population of people who had “‘never been recognized as citizens of the United States, nor

authorized to become such under the naturalization laws,” id. at 702 (quoting Fong Yue Ting v.

United States, 149 U.S. 698, 716 (1893)). The Acts could lawfully exclude someone born in China

“who had acquired a commercial domicile in the United States” but “voluntarily left . . . with the


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intention of returning.” See id. at 700 (citing Lem Moon Sing v. United States, 158 U.S. 538

(1895)).

       The Wong Kim Ark Court acknowledged that Congress could deny naturalization to

someone born in China. Id. But the Fourteenth Amendment “contemplates two sources of

citizenship . . . birth and naturalization.” Id. Congress’s “power of naturalization . . . is a power to

confer citizenship, not a power to take it away.” Id. at 703. The Court affirmed that “citizenship

by birth is established by the mere fact of birth under the circumstances defined in the

constitution.” Id. at 702. So although “[a] person born out of the jurisdiction of the United States

can only become a citizen by being naturalized,” “[e]very person born in the United States, and

subject to the jurisdiction thereof, becomes at once a citizen of the United States, and needs no

naturalization.” Id.

       In the end, the Court answered the initial question presented—“whether a child born in the

United States, of parents of Chinese descent, who at the time of his birth, are subjects of the

emperor of China, but have a permanent domicile and residence in the United States . . . and are

not employed in any diplomatic or official capacity under the emperor of China, becomes at the

time of his birth a citizen of the United States”—“in the affirmative.” Id. at 705.

       The government does not dispute that Wong Kim Ark is binding precedent. Nor does it

argue that Wong Kim Ark was wrongly decided or should be overturned. Instead, the government

claims that, under Wong Kim Ark, to be “subject to the jurisdiction” of the United States, a person’s

parents must, at the time of the person’s birth, be lawfully domiciled in the United States, ECF 40,

at 14, 24–26, and bear “‘direct and immediate allegiance’ to this country, unqualified by an

allegiance to any other foreign power,” id. at 4. Nothing in Wong Kim Ark remotely supports the

government’s narrow reading of the decision.




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        To address the government’s arguments, the Court first must clarify Wong Kim Ark’s

holding. Wong Kim Ark held that, under the Fourteenth Amendment, “[e]very person born . . . in

the United States” is “subject to the jurisdiction thereof” and thus a citizen by birth, id. at 702,

unless they fall into one of the recognized exceptions to citizenship by birth, id. at 693. See also

id. at 657–58 (describing exceptions to citizenship by birth for children of hostile occupiers or

diplomats under English common law); id. at 658 (“[T]herefore every child born in England of

alien parents was a natural-born subject, unless the child of an ambassador or other diplomatic

agent of a foreign state, or of an alien enemy in hostile occupation of the place where the child was

born.”); id. at 682 (finding “subject to the jurisdiction thereof” excludes “by the fewest and fittest

words (besides children of members of the Indian tribes . . .), the two classes of cases,—children

born of alien enemies of hostile occupation, and children of diplomatic representatives of a foreign

state”); id. at 693 (“The fourteenth amendment affirms the ancient and fundamental rule of

citizenship by birth within the territory . . . with the exceptions . . . of children of foreign sovereigns

or their ministers, or born on foreign public ships, or of enemies within and during a hostile

occupation of part of our territory, and . . . children of members of the Indian tribes owing direct

allegiance to their several tribes.”).

        The government seems to dismiss Wong Kim Ark’s holding, and the lengthy analysis that

supports it, as dicta. On the government’s account, Wong Kim Ark’s holding was limited to the

specific facts of the case: A person born in the United States whose foreign-born parents were

“domiciled” in the United States at the time of his birth is “subject to the jurisdiction of” the United

States. ECF 40, at 24–26. Wong Kim Ark cannot reasonably be read that narrowly. However, even

if not part of the Court’s holding, Wong Kim Ark’s statements that every person born in the United

States is “subject to the jurisdiction thereof” and thus a citizen by birth (with certain exceptions)




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certainly are not dicta. “Dictum is a ‘statement in a judicial opinion that could have been deleted

without seriously impairing the analytical foundations of the holding—that, being peripheral, may

not have received the full and careful consideration of the court that uttered it.’” Payne v. Taslimi,

998 F.3d 648, 654–55 (4th Cir. 2021) (quoting Pittston Co. v. United States, 199 F.3d 694, 703

(4th Cir. 1999)). If “a precedent’s reasoning” is “necessary to the outcome,” it “must be followed.”

Id. at 655.

        Wong Kim Ark’s statement that the “fourteenth amendment affirms the ancient and

fundamental rule of citizenship by birth” with certain recognized exceptions, 169 U.S. at 693,

could not “have been deleted without seriously impairing the analytical foundations of the

holding,” see Payne, 998 F.3d at 654. Even a cursory review of the decision reveals that this

statement and similar statements were not “peripheral” to the holding. They were central to it. And

there can be no question that the Court gave them “full and careful consideration.” See id. at 655.

The Court thoroughly discussed the history of citizenship by birth at English common law, the

decisions of U.S. courts applying the common law, and the history and text of the Fourteenth

Amendment. See Wong Kim Ark, 169 U.S at 655–82. A more “full and careful consideration” is

hard to imagine. And these statements and the Court’s reasoning were “necessary to the outcome”

of the case. See Payne, 998 F.3d at 655. Without them, the Court could not have determined that

Wong Kim Ark was a U.S. citizen under the Fourteenth Amendment and not excludable from the

country under the Chinese Exclusion Acts. They “must be followed.” Id.

        Even if they were dicta, this Court is not free to ignore them. “[C]arefully considered

language of the Supreme Court, even if technically dictum, generally must be treated as

authoritative.” Wynne v. Town of Great Falls, 376 F.3d 292, 298 n.3 (4th Cir. 2004) (quoting

Sierra Club v. EPA, 322 F.3d 718, 724 (D.C. Cir. 2003)). This Court “is ‘bound by Supreme Court




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dicta almost as firmly as by the Court’s outright holdings, particularly when the dicta is recent and

not enfeebled by later statements.’” See United States v. Fareed, 296 F.3d 243, 247 (4th Cir. 2002)

(quoting Gaylor v. United States, 74 F.3d 214, 217 (10th Cir. 1996)). Though Wong Kim Ark can

hardly be considered “recent,” the Supreme Court’s continual recognition that people born in the

United States are citizens by birth confirms that this Court must, at the very least, treat Wong Kim

Ark’s interpretation of the Fourteenth Amendment “as authoritative.” See Wynne, 376 F.3d at 298

n.3.

       Return to the government’s arguments. The government argues that, under Wong Kim Ark,

a person’s parents must, at the time of the person’s birth, be lawfully domiciled in the country for

the person to be “subject to the jurisdiction” of the United States. ECF 40, at 14, 24–26. The

government insists Wong Kim Ark imposes a parental domicile requirement for citizenship under

the Fourteenth Amendment because the Court mentioned “domicile” or “domiciled” throughout

the opinion. True, the Court included in the question presented at the beginning of the opinion, and

in the answer at the end of the opinion, that Wong Kim Ark’s parents “at the time of his birth” had

“a permanent domicile and residence in the United States.” Id. at 653, 705. Also true, the Court

stated: “The amendment, in clear words and in manifest intent, includes the children born within

the territory of the United States of all other persons, of whatever race or color, domiciled within

the United States.” Id. at 693 (emphasis added). However, the fact that Wong Kim Ark’s parents

were domiciled and resided in the United States was not essential to the holding or outcome. And

even though the Court described the parents of “children born within the territory of the United

States” as “domiciled within the United States,” the word “domicile” does not appear in the text

of the Fourteenth Amendment. And English common law did not impose a parental domicile

requirement. In fact, under English common law and the decisions of United States courts that




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followed it, the right to citizenship by birth included children of non-citizen parents not domiciled

in the country. Wong Kim Ark, 169 U.S. at 657 (noting the English common law rule that “every

person born within the dominions of the crown” was an English subject—“no matter whether of

English or of foreign parents, and, in the latter case, whether the parents were settled, or merely

temporarily sojourning, in the country”); Calvin’s Case, 77 Eng. Rep. 377, 384 (1608) (“[L]ocal

obedience being but momentary and uncertain, is yet strong enough to make a natural subject, for

if he hath issue here, that issue is . . . a natural born subject . . . .”); Lynch v. Clarke, 1 Sand. Ch.

583, 683 (N.Y. Ch. 1844) (applying English common law and holding plaintiff was an American

citizen because she was born in the United States even though her parents were only temporarily

sojourning in the United States when she was born). These cases were part of the common law that

the Fourteenth Amendment affirmed. Wong Kim Ark, 169 U.S. at 693. To be a “person[] born . . .

in the United States” and “subject to the jurisdiction thereof” does not require the person’s parents

to be domiciled in the United States at the time of birth. 4

        Next, the government argues that, under Wong Kim Ark, a person born in the United States

is “subject to the jurisdiction” of the United States only if he is “born ‘in the allegiance and under

the protection of this country,’” ECF 40, at 13 (quoting Wong Kim Ark, 169 U.S. at 693), and his

allegiance is “unqualified by ‘allegiance to any alien power,” id. (quoting Elk, 112 U.S. at 101–

02). The government misconstrues the language in Wong Kim Ark. As the Court explained: “The

fundamental principle of the common law with regard to English nationality was birth within the




4
  The government cites Benny v. O’Brien, which suggested that the Fourteenth Amendment
exempted from citizenship “those born in this country of foreign parents who are temporarily
traveling here, and children born of persons resident here in the diplomatic service of foreign
governments.” 32 A. 696, 698 (N.J. Sup. Ct. 1895). Benny, a decision from an intermediary New
Jersey court that came down before Wong Kim Ark, has no precedential value.



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allegiance—also called ‘ligealty,’ ‘obedience,’ ‘faith,’ or ‘power’—of the king. The principle

embraced all persons born within the king’s allegiance . . . .” 169 U.S. at 655 (emphasis added).

Put differently, “[a]ll persons born in the allegiance of the king are natural-born subjects, and all

persons born in the allegiance of the United States are natural-born citizens.” Id. at 662 (quoting

Rhodes, 27 F. Cas. at 790). That is to say, “every man born within its jurisdiction is a subject of

the sovereign of the country where he is born.” Id. at 663 (quoting Kilham, 2 Mass. at 265).

“[A]llegiance is not personal to the sovereign in the extent that it has been contended for; it is due

to him in his political capacity of sovereign of the territory where the person owing the allegiance

was born.” Id. (quoting Kilham, 2 Mass. at 265). At common law, the only people born within the

kingdom without allegiance to the king were children of diplomatic representatives or hostile

occupiers. Id. at 659–60. That is because they were not entitled to the king’s protection under

common law. Children of diplomatic representatives were “born under the actual protection and

in the dominions of a foreign prince.” Id. at 660 (quoting Inglis v. Trs. of Sailor’s Snug Harbor,

28 U.S. 99, 155 (1830) (opinion of Story, J.)). Children of hostile occupiers certainly were not

entitled to any protection of the sovereign. Id. All this is to say: if a person is born in the United

States and does not belong to one of the traditional classes of excepted persons, the person is born

“within the allegiance” of the United States and “subject to the jurisdiction” of the United States.

Wong Kim Ark did not hold, as the government maintains, that a person born in the United States

is only “subject to the jurisdiction of” the United States if the person bears exclusive allegiance to

the United States at the time of birth.

       Contrary to the government’s positions, Wong Kim Ark did not interpret “subject to the

jurisdiction thereof” in the Citizenship Clause of the Fourteenth Amendment to exclude persons




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born in the United States whose parents are not domiciled in the United States or persons who hold

allegiance to another country.

       The Executive Order directly conflicts with Wong Kim Ark. Under Wong Kim Ark, a person

“born in the United States” and “subject to the jurisdiction thereof” encompasses every person

born in this country save specific classes of people. The Executive Order purports to expand the

classes of people that are not “subject to the jurisdiction thereof” and thus to deny citizenship by

birth to people who are entitled to it under the Constitution. The children targeted by the Executive

Order do not fit within any of the limited exceptions to citizenship by birth identified in Wong Kim

Ark. They are not children of ambassadors, children of enemies in the country during a hostile

occupation, children born on foreign seas, or children born into Indian tribes. 5 They are children

whose citizenship by birth has been recognized in this country since the ratification of the

Fourteenth Amendment. When the children described in the Executive Order are born, they will

be United States citizens under the Fourteenth Amendment and long-standing Supreme Court



5
  On the same day the President issued the Executive Order at issue here, he issued another
Executive Order that describes “an unprecedented flood of illegal immigration” in which “millions
of illegal aliens” who “present significant threats to national security and public safety” have
entered the country illegally. Exec. Order § 1 (quoting Exec. Order No. 14159, “Protecting the
American People Against Invasion” (Jan. 20, 2025)). In its briefing, the government suggests that
a broad, inclusive reading of the Citizenship Clause’s “subject to the jurisdiction thereof” will
result in citizenship by birth “to the children of individuals who present such threats, including
even unlawful enemy combatants who enter this country in an effort to create sleeper cells or other
hostile threats.” ECF 40, at 21. The government seems to advocate for a broader reading of one of
the exceptions to citizenship by birth—“children born of alien enemies in hostile occupation”—to
include the children described in the Executive Order. See id. (quoting Wong Kim Ark, 169 U.S.
at 682). The meaning of the clause “subject to the jurisdiction thereof” was explained clearly in
Wong Kim Ark. It is meant to be expansive. See Wong Kim Ark, 169 U.S. at 682. The exception
for “children born of alien enemies in hostile occupation” applies during a hostile occupation “of
part of the king’s dominions.” Id. A “hostile occupation” entails the “firm possession” of a territory
that enables the occupier “to exercise the fullest rights of sovereignty over that place.” United
States v. Rice, 17 U.S. (4 Wheat.) 246, 254 (1819). This exception to citizenship by birth plainly
does not apply to the children described in the Executive Order.



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precedent. The President does not have the authority to strip them of their constitutional right to

citizenship by birth.

         The government cites no case decided after Wong Kim Ark that supports the President’s

interpretation of the Fourteenth Amendment. And there is none. Instead, the government relies

principally on two cases decided before Wong Kim Ark: Elk v. Wilkins, 112 U.S. 94 (1884), and

The Slaughter-House Cases, 83 U.S. (16 Wall.) 36 (1872). Elk and the The Slaughter-House Cases

are no help to the government. Wong Kim Ark discussed both cases at length and distinguished

them. See 169 U.S. at 676–82. It found that Elk’s interpretation of “subject to the jurisdiction

thereof” did not apply outside the context of Indian tribes because Elk “concerned only members

of the Indian tribes within the United States, and had no tendency to deny citizenship to children

born in the United States of foreign parents of Caucasian, African, or Mongolian descent, not in

the diplomatic service of a foreign country.” Id. at 682. Thus, Elk’s holding is confined to members

of Indian tribes. The children identified in the Executive Order are not akin to members of Indian

tribes, who, in the nineteenth century, enjoyed a unique political status and quasi-sovereignty. 6 See

Elk, 112 U.S. at 119–20 (Harlan, J., dissenting) (“[I]t would be obviously inconsistent with the

semi-independent character of such a tribe, and with the obedience they are expected to render to

their tribal head, that they should be vested with the complete rights—or, on the other, subjected

to the full responsibilities—of American citizens.”). Elk does not apply to this case. Nor do The

Slaughter-House Cases. The government relies on the following language from The Slaughter-

House Cases: “The phrase ‘subject to its jurisdiction’ was intended to exclude from its operation

children of ministers, consuls, and citizens or subjects of foreign states, born within the United

States.” 83 U.S. at 73. The government argues “subjects of foreign states” includes the children



6
    Congress gave members of Indian tribes citizenship by birth in 1924. 8 U.S.C. § 1401(b).


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described in the Executive Order. ECF 40, at 18. The problem for the government is that Wong

Kim Ark repudiated this language from The Slaughter-House Cases because it was “wholly aside

from the question in judgment, and from the course of reasoning bearing upon that case,” and “[i]t

was unsupported by any argument, or by any reference to authorities.” Id. at 678. 7 The government

has not identified any case that supports the President’s interpretation of the Fourteenth

Amendment.

       In the 125 years since Wong Kim Ark, the Supreme Court has never questioned whether a

child born in the United States—whose parents did not have lawful status or were in the country

temporarily—was an American citizen. In United States ex rel. Hintopoulos v. Shaughnessy, the

petitioners, who were married to each other, worked as crew members on foreign ships that came

into port in the United States. 353 U.S. 72, 73 (1957). They entered the United States lawfully and

remained in the country after their 29-day visas expired. Id. at 73. The wife gave birth three months

after her permission to stay expired and two months after her husband’s permission to stay expired.

Id. Half a year later, deportation proceedings were instituted against both parents, and they asked

to suspend deportation “on the ground of the economic detriment that would befall their minor son

in the event they were deported.” Id. at 74. The Court remarked that their child was, “of course, an



7
  The only other cases the government says support its position that parental domicile is necessary
to be “subject to the jurisdiction” of the United States are Chin Bak Kan v. United States, 186 U.S.
193 (1902), and Kwock Jan Fat v. White, 253 U.S. 454 (1920). In Chin Bak Kan, the Court stated
the ruling in Wong Kim Ark and included the fact that Wong Kim Ark’s parents “ha[d] a permanent
domicil[e] and residence in the United States.” 186 U.S. at 200 (quoting Wong Kim Ark, 169 U.S.
at 649). In Kwock Jan Fat, the petitioner claimed to be a U.S. citizen by birth, but a government
investigation concluded that he was born in China and entered the United States as a minor. 253
U.S. at 455–56. The parties did not dispute that if the petitioner’s parents were who he said they
were, he would have been born to them “when they were permanently domiciled in the United
States” and would be a U.S. citizen. Id. at 457 (citing Wong Kim Ark). Both cases reference Wong
Kim Ark only in passing. Neither case held that a person’s parents must be domiciled in the United
States for their U.S.-born children to be “subject to the jurisdiction” of the United States.


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American citizen by birth.” Id. at 73; see also id. at 79 (Douglas, J., dissenting) (“The citizen is a

five-year-old boy who was born here and who, therefore, is entitled to all the rights, privileges,

and immunities which the Fourteenth Amendment bestows on every citizen.”). Similarly, in INS

v. Errico, the Supreme Court considered two appeals of deporation orders. 385 U.S. 214, 214

(1966). Both petitioners entered the United States by making fraudulent misrepresentations to

immigration officials, and after entry, each had a child in the United States. Id. at 215–16. Even

though the children’s parents had procured entry into the country by fraud, the Court did not

question that the children were American citizens by virtue of their birth in the United States. See

id. (stating first petitioner’s child “acquired United States citizenship at birth” and second

petitioner’s child “became an American citizen at birth”). And in Hamdi v. Rumsfeld, the Supreme

Court “consider[ed] the legality of the Government’s detention of a United States citizen on United

States soil as an ‘enemy combatant.’” 542 U.S. 507, 509 (2004) (plurality). An amicus brief urged

the Court to find that the enemy combatant was not a citizen because his parents were in the United

States on temporary visas when he was born. See Br. for The Claremont Inst. Ctr. for Constitutional

Jurisprudence as Amicus Curiae Supporting Respondents, Hamdi v. Rumsfeld, 542 U.S. 507

(2004) (No. 03-6696), 2004 WL 871165. Despite this urging, the Court recognized that the person

detained was an American citizen because he was born in the United States. 542 U.S. at 509–10.

       In other cases, the Supreme Court never has intimated that the immigration status of parents

might affect whether their U.S.-born children are citizens at birth. See, e.g., INS v. Rios-Pineda,

471 U.S. 444, 446 (1985) (noting that the undocumented respondent—who had entered the country

without permission—“had given birth to a child, who, born in the United States, was a citizen of

this country”); Vance v. Terrazas, 444 U.S. 252, 255 (1980) (“Appellee . . . was born in this

country, the son of a Mexican citizen. He thus acquired at birth both United States and Mexican




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citizenship.”); Rogers v. Bellei, 401 U.S. 815, 828 (1971) (acknowledging that American

citizenship law “follows English concepts with an acceptance of the jus soli”); Nishikawa v.

Dulles, 356 U.S. 129, 131 (1958) (“Petitioner was born in Artesia, California, in 1916. By reason

of that fact, he was a citizen of the United States, and because of the citizenship of his parents, he

was also considered by Japan to be a citizen of that country.”); Kawakita v. United States, 343

U.S. 717, 720 (1952) (noting that petitioner was born in the United States to Japanese citizen

parents and “was thus a citizen of the United States by birth”); Hirabayashi v. United States, 320

U.S. 81, 96 (1943) (confirming that people of Japanese descent were citizens because they were

“born in the United States”); Perkins v. Elg, 307 U.S. 325, 327, 329 (1939) (citing Wong Kim Ark

and finding that the plaintiff was still an American citizen because of her birth in the United States,

even though she had moved abroad as a minor and acquired Swedish citizenship); Morrison v.

California, 291 U.S. 82, 85 (1934) (“A person of Japanese race is a citizen of the United States if

he was born within the United States.”); Weedin v. Chin Bow, 274 U.S. 657, 670 (1927) (discussing

Wong Kim Ark and noting that a child born in the United States “was nevertheless, under the

language of the Fourteenth Amendment, a citizen of the United States by virtue of the jus soli

embodied in the amendment”); Ah How v. United States, 193 U.S. 65, 65 (1904) (stating petitioners

offered evidence that they were born in the United States “and therefore each was a citizen”).

       The government’s only response to these Supreme Court cases: “[I]t is not unusual for the

Supreme Court, after fully exploring a legal issue, to reach a conclusion that conflicts with earlier

assumptions.” ECF 40, at 28. That is no response at all.

       The Executive Order flouts the plain language of the Fourteenth Amendment to the United

States Constitution, conflicts with binding Supreme Court precedent, and runs counter to our




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nation’s 250-year history of citizenship by birth. The plaintiffs have shown an extremely strong

likelihood that they will succeed on the merits of their constitutional claim.

                       2. Irreparable Harm

       “Citizenship is a most precious right[,] . . . expressly guaranteed by the Fourteenth

Amendment to the Constitution . . . .” Kennedy v. Mendoza-Martinez, 372 U.S. 144, 159 (1963);

see also Perez v. Brownell, 356 U.S. 44, 64 (1958) (Warren, J., dissenting) (“Citizenship is man’s

basic right for it is nothing less than the right to have rights.”). The right to American citizenship

is “a right no less precious than life or liberty.” Klapprott v. United States, 335 U.S. 601, 616

(1949) (Rutledge, J., concurring in result). The “deprivation of a constitutional right, ‘for even

minimal periods of time, unquestionably constitutes irreparable injury.’” Miranda v. Garland, 34

F.4th 338, 365 (4th Cir. 2022) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976))); accord Leaders

of a Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (en banc) (“Because

there is a likely constitutional violation, the irreparable harm factor is satisfied.”); Ross v. Meese,

818 F.2d 1132, 1135 (4th Cir. 1987) (“[T]he denial of a constitutional right . . . constitutes

irreparable harm for purposes of equitable jurisdiction”).

       Here, the plaintiffs have established a strong likelihood of success of the merits on their

claim that the Executive Order violates the Fourteenth Amendment. The denial of the precious

right to citizenship for any period of time will cause them irreparable harm.

       The government argues that any harm is “speculative” because the plaintiffs’ children will

have “other routes of obtaining status,” such as seeking asylum. ECF 40, at 29. This argument is

callous and wrong. The irreparable harm to the plaintiffs and their unborn children is concrete and

imminent. If the Court does not enjoin enforcement of the Executive Order, children born in the

United States who are subject to the Order immediately will be denied the benefits and rights of




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U.S. citizenship. The benefits of citizenship include access to certain government public benefit

programs such as health care through the Children’s Health Insurance Program and food assistance

through the Supplemental Nutrition Assistance Program. See ECF 37, at 10. The rights of

citizenship include the right to live in the United States lawfully and without fear of deportation.

Without an injunction, all U.S.-born children subject to the Executive Order will have no legal

status in this country when they are born. Without legal status at birth, children could be placed in

removal proceedings and deported. Many of the plaintiffs have pending asylum applications or

temporary legal status and are not subject to removal. If the Order goes into effect, their children

will be without legal status and may be subject to removal even if they are not. The Order may

cause some plaintiffs to be separated from their children. See Wanrong Lin v. Nielsen, 377 F. Supp.

3d 556, 564–65 (D. Md. 2019) (finding plaintiff would be irreparably harmed if deported and

separated from his wife and children in the United States).

       Additionally, some of the children of the plaintiffs will be stateless if the Order goes into

effect. See ECF 2-5, ¶ 4 (statement of plaintiff Liza that her child would be stateless without

American citizenship as she and her husband cannot safely apply for Russian citizenship for their

child); ECF 2-7, ¶¶ 7–9 (statement of plaintiff Monica that her child would be stateless without

American citizenship because there is no Venezuelan consulate in the United States where she

could apply for her child’s Venezuelan citizenship). For stateless newborns, their “very existence

[will be] at the sufferance of the country in which [they] happen[] to find [themselves].” Trop v.

Dulles, 356 U.S. 86, 101 (1958).

       Without an injunction, the plaintiffs will face instability and uncertainty about the

citizenship status of their newborn babies, and their children born on U.S. soil will be denied the




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rights and benefits of U.S. citizenship. The Executive Order, if not enjoined, will cause the

plaintiffs and their children grave, irreparable harm.

                       3. Balance of Equities and Public Interest

        The final two factors are the balance of the equities and the public interest. The balance of

the equities and the public interest “merge when the Government is the opposing party.” Miranda,

34 F.4th at 365 (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). To balance the equities, the

Court considers “the relative harms to the applicant and respondent, as well as the interests of the

public at large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305

(1991) (Scalia, J., in chambers) (quoting Rostker v. Goldberg, 448 U.S. 1306, 1308 (1980)

(Brennan, J., in chambers)). The equities and the public interest weigh very strongly in the

plaintiffs’ favor.

        Today, virtually every baby born on U.S. soil is a U.S. citizen upon birth. That is the law

and tradition of our country. That law and tradition will remain the status quo pending the

resolution of this case. The government will not be harmed if enforcement of the Executive Order

is enjoined. “[A] state is in no way harmed by issuance of a preliminary injunction which prevents

the state from enforcing restrictions likely to be found unconstitutional. If anything, the system is

improved by such an injunction.” Centro Tepeyac v. Montgomery County, 722 F.3d 184, 191 (4th

Cir. 2013) (quoting Giovani Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002)). And

“upholding constitutional rights surely serves the public interest.” Id. (quoting Giovani, 303 F.3d

at 521); accord Legend Night Club v. Miller, 637 F.3d 291, 303 (4th Cir. 2011) (“[U]pholding

constitutional rights is in the public interest.”). If the Executive Order is not enjoined, local

governments will face significant harm. Local governments are responsible for issuing birth

certificates, which, under the Order, will no longer automatically prove citizenship. See ECF 37,




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at 14. The Order would require local governments to either change the information provided on

birth certificates or develop an entirely new process to verify citizenship. Id. at 15. Additionally,

localities will bear a financial burden if the Order takes effect. Currently, local governments

receive federal funding for foster care expenses and health care for children who “qualif[y]” for

assistance. 8 U.S.C. § 1641(b)–(c). A noncitizen “qualifie[s]” if they are a lawful permanent

resident or have received one of several forms of humanitarian relief, such as asylum or refugee

status. Id. People with only temporary legal status, such as student or work visas, or people without

any legal status are generally not considered “qualified” for these programs. See 8 U.S.C.

§ 1611(a). If children born in the U.S. are not citizens upon birth, they will not be entitled to federal

benefits, and local governments will bear the financial burden for public services. ECF 37, at 9–

12. These collateral consequences on local municipalities and taxpayers surely do not serve the

public interest.

        The balance of the equities and the public interest strongly weigh in favor of a preliminary

injunction that maintains the status quo during litigation.

        All four factors weigh in favor of a preliminary injunction.

                        4. Nationwide Injunction

        “District courts have broad discretion to craft remedies based on the circumstances of a

case, but likewise must ensure that ‘a preliminary injunction is no more burdensome to the

defendant than necessary to provide complete relief to the plaintiffs.’” HIAS, Inc. v. Trump, 985

F.3d 309, 326 (4th Cir. 2021) (quoting Roe v. Dep’t of Def., 947 F.3d 207, 231 (4th Cir. 2020)).

Indeed, “[a] district court may issue a nationwide injunction so long as the court ‘mold[s] its decree

to meet the exigencies of the particular case.’” Id. (alteration in original) (quoting Trump v. Int’l

Refugee Assistance Project, 582 U.S. 571, 580 (2017)).




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                Plaintiffs,

        v.
                                                        Case No.: ____________________
 DONALD J. TRUMP et al.,

                Defendants.




 DECLARATION OF GEORGE ESCOBAR, CHIEF OF PROGRAMS AND SERVICES
                         FOR CASA, INC.


       I, George Escobar, hereby submit this declaration pursuant to 28 U.S.C. § 1746 and declare

as follows:

       1.      I am the Chief of Programs and Services of CASA, Inc. (“CASA”). I have

worked at CASA for fourteen years.

       2.      I make this statement based upon personal knowledge, files and documents of

CASA that I have reviewed (such as case files, reports, and collected case metrics), as well as

information supplied to me by employees of CASA whom I believe to be reliable. These files,

documents, and information are of a type that is generated in the ordinary course of our business

and that I would customarily rely upon in conducting CASA business.

       3.      CASA is a nonprofit membership organization headquartered in Langley Park,

Maryland, with offices in Maryland, Virginia, Pennsylvania, and Georgia.

       4.      Founded in 1985, CASA is the largest membership-based immigrant rights




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organization in the mid-Atlantic region, with more than 175,000 lifetime members from across

the United States. CASA’s members are predominantly noncitizens in a variety of immigration

statuses.

        5.     A CASA member is a person who shares CASA’s values, envisions a future

where we can achieve full human rights for all, and is convinced that, when united and

organized, we can create a more just society by building power in our working-class and

immigrant communities. CASA members play an important role in deciding what campaigns we

work on and how CASA serves the community.

        6.     CASA membership is voluntary. In order to become a member, an individual

must apply for membership, pay dues, and subscribe to the principles of CASA. CASA members

also must self-identify as members of an immigrant or working-class community. Although

CASA does not issue formal membership directly to individuals under 15 years of age, we

routinely provide services to youth and families in a variety of areas described below.

        7.     Currently, the annual fee for CASA membership is $35. Alternatively, individuals

may pay a recurring membership fee of $5 per month. The membership fee can be waived for

individuals who experience financial hardship or are otherwise unable to pay. Members are also

offered the opportunity, for an additional $5, to obtain a CASA ID. This is a physical, picture

identification card that contains basic information about the member. For many of our immigrant

members, this card may be the only type of picture identification they have, other than

documents from their home country. In certain jurisdictions, CASA IDs are recognized for the

purposes of engaging with certain government agencies, including the police.

        8.     CASA’s mission is to create a more just society by building power and improving

the quality of life in working-class Black, Latino/a/e, Afro-descendent, Indigenous, and




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immigrant communities. From CASA’s beginnings in a church basement, we have envisioned a

future with diverse and thriving communities living free from discrimination and fear, working

together with mutual respect to achieve human rights for all.

       9.      In furtherance of this mission, CASA offers a wide variety of social, health, job

training, employment, and legal services to immigrant communities, with a particular focus in

Maryland, Washington, D.C., Virginia, Pennsylvania, and Georgia. CASA also offers a more

limited suite of services remotely to our members across the United States. Those individuals

who are not geographically close to a physical CASA office are offered the opportunity to join a

national organizing committee, whose members are entitled to vote on CASA’s organizational

priorities and integrated into our member-led system of internal democratic governance. CASA

also conducts campaigns to inform members of immigrant communities of their rights and assists

individuals in applying a variety of government benefits.

       10.     In my role as Chief of Programs and Services, I oversee CASA’s portfolio of

community-facing direct services, including its health, legal, and educational services;

employment and workforce development programs; financial literacy and tax programs; and

parent engagement programs. An important part of my role is to understand the needs and

experiences of our members so that I can work with my staff to design appropriate interventions

to address those needs. I therefore speak frequently with community members and receive

feedback from my staff regarding CASA members’ fears, concerns, and decisions.

       11.     Noncitizens residing in the United States who have already had children in this

country and who plan to have more children while living in this country represent a substantial

portion of our membership. We also have many members who have not yet had children born in

the United States but who plan to have children while living in this country in the future.




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       12.     Because of the services that we provide our members, we are acutely aware of the

harms that ending birthright citizenship will cause to children born in the United States to

noncitizen parents and to their entire families. The harm will be especially severe for noncitizen

parents who rely on benefits to which their citizen children are entitled.

       13.     CASA operates a public benefits outreach and enrollment program that assists

community members with understanding and enrolling in various government assistance and

health insurance programs. CASA offers assistance with registration for government benefits

such as the Supplemental Nutrition Assistance Program (“SNAP”), Temporary Assistance for

Needy Families (“TANF”), Medicaid, and programs connected to the Affordable Care Act

(“ACA”). Between our case management assistance, which connects members with social

services to improve physical and mental health; our multilingual health hotline and medical

interpreter program; and our comprehensive public benefits outreach and enrollment program,

CASA is one of the leading and most trusted organizations providing health support to the

immigrant community.

       14.     Here in Maryland, the CASA health team helps thousands of families and

pregnant women navigate the Health and Human Services System each year. CASA also assists

pregnant members in Maryland with accessing benefits under the State’s Healthy Babies Equity

Act, which was passed in 2022 after a CASA member-led campaign. This law mandated the

Maryland Department of Health’s Medical Assistance Program provide comprehensive prenatal

and postpartum coverage to noncitizen pregnant Marylanders with income up to 250 percent of

the federal poverty level who would otherwise be eligible for Medicaid but for their immigration

status. The law went into effect July 1, 2023, and currently over 15,000 pregnant Marylanders

have benefited from the program. Through CASA’s advocacy on this particular issue and the




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stories shared by our members during the associated campaign and subsequent legislative

process, we became extremely familiar with the numerous challenges experienced by immigrant

parents with mixed status households. CASA has assisted over 100 expectant parents apply for

prenatal coverage, which was made possible by the Heathy Babies Equity Act. CASA has also

helped many immigrant parents with follow up assistance postpartum, including helping the

family secure their birth certificate, apply for a Social Security Card, US passport, etc. In part

due to the availability of our services to expecting families, which aligns with our mission to

empower low-income, predominantly immigrant communities, our membership includes many

pregnant women who plan to deliver their babies in this country and who expect those babies to

be citizens of this country.

        15.        Other states do not provide the same level of healthcare benefits to some families

based on their immigration status. For example, in Virginia, a child without lawful status is not

eligible for health care coverage. Therefore, we partner with medical providers like Kaiser and

Advanced Ophthalmology to offer free medical services to members in Virginia. We also host

vaccine clinics, support the work of local food pantries, and provide clothing vouchers for

eligible members through Goodwill’s Good Samaritan program.

        16.        Many of our members who are parents seek our help with enrolling their citizen

children in public benefits to which they are entitled. For many of our low-income members, the

ability to enroll citizen children in public benefit programs is an essential lifeline that keeps their

families afloat.

        17.        Medicaid and ACA enrollment are of especially great interest to our members.

The number one advocacy and service provision priority for our members has always been

access to healthcare. Over the last 18 months (July 2023 through December 2024), we have




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provided 134, 294 services to 54,031 individuals including assisting: 4,953 CASA members with

navigating and enrolling into a public benefit or social service they are eligible to receive; 2,100

members with getting enrolled in an ESOL or accredited vocational training course; 2,174

members in applying for citizenship; and 3,528 members with a legal consult on a housing,

employment, or immigration matter. We also provided assistance to 2,354 individuals with

navigating the process of enrolling in an ACA Qualified Health Plan, Medicaid, or CHIP

coverage option.

        18.     Eliminating birthright citizenship would cut off access to these programs for the

children of many of our members. As citizens by birth, children born in this country are

immediately eligible for a Social Security number. That number, in turn, allows them to apply

for a host of benefits. If, however, those children born in the United States were instead

considered undocumented, they would not be eligible for those same benefits.

        19.     The 1996 Personal Responsibility and Work Opportunity Reconciliation Act

(“PRWORA”) introduced restrictions for federal means-tested benefits programs, including

SNAP, TANF, Medicaid, and CHIP, based on immigration status. Under PRWORA, these

benefits are available only to citizens and noncitizens with certain immigration statuses, such as

lawful permanent residents (“LPRs”), refugees, and asylees. Undocumented noncitizens, those

with Temporary Protected Status (“TPS”), Deferred Action for Childhood Arrivals (“DACA”)

recipients, and those with most visas, including H-1B, U, tourist, and student visas, are generally

not eligible.

        20.     Noncitizens who arrived after PRWORA’s enactment must generally wait five

years after entering the United States in a qualified status before they are eligible for benefits,

with limited exceptions.




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       21.     The Executive Order threatens to undermine the ability of CASA’s members to

rely on government benefit programs to support their families. For instance, crucial healthcare

programs like CHIP, Medicaid, and the ACA provide coverage to citizen children of noncitizen

parents, including the children of CASA members. Those programs require disclosure of the

citizenship or immigration status only of the person for whom the benefits are sought. If a parent

is seeking benefits on behalf of only her child, the child is considered the sole applicant and is

the only individual who must establish citizenship or eligible immigration status.

       22.     SNAP provides critical nutrition support for low-income citizen children of

CASA’s noncitizen members. Although SNAP eligibility is based on the circumstances of all

household members, a State may not deny SNAP benefits just because a noncitizen member of

the household is ineligible. Instead, the state agency must determine eligibility for any remaining

household members seeking assistance. A noncitizen may therefore apply for and receive SNAP

benefits on behalf of her minor U.S. citizen children.

       23.     The same is true of welfare programs like TANF. Although eligibility is based on

the circumstances of an entire household, states may elect to have policies that exclude family

members who are ineligible because of their immigration status. Some states have adopted

“child-only” rules that allow children to receive TANF benefits even if the adults in their

household are ineligible.

       24.     Because of the Executive Order, children born to CASA’s noncitizen members

will no longer be U.S. citizens and may have no status at all. Many of them will therefore be

ineligible for these programs, depriving them and their families of much-needed nutrition and

health benefits.

       25.     CASA provides its members with free remote legal assistance, including free




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legal consultations on immigration issues. CASA also operates a comprehensive citizenship

initiative, which includes citizenship education, mentoring and interview preparation, application

assistance, and post-naturalization support. Among the services provided through this program is

eligibility analysis for citizenship, in which CASA members meet with a specialist to complete a

prescreening form and discuss their immigration cases. CASA also offers assistance with

completing citizenship applications and completing applications for renewing and replacing

green cards.

       26.     If children born to noncitizen parents in the United States cannot obtain American

citizenship by birth, they may be left in legal limbo. Other than citizenship by birth, there is no

clear path for children born in the United States to noncitizen parents to obtain U.S. citizenship.

And such children may not have access to citizenship from any other country.

       27.     If children born to noncitizen parents in the United States cannot obtain American

citizenship by birth, their parents may also face immigration consequences. One basis on which

CASA members apply for green cards and eventually for citizenship is that their children are

citizens. Eliminating birthright citizenship would also close this pathway to legal immigration

status and ultimately citizenship for CASA members. Some CASA members also apply for

cancellation of deportation based on a showing that deportation would work an “exceptional and

extremely unusual hardship” to their children “who [are] citizen[s] of the United States.”

8 U.S.C. § 1229b(b)(1). The end of birthright citizenship would similarly remove this important

protection for the parents of children who are no longer considered citizens.

       28.     CASA has long prioritized the need of its members to obtain proper identification.

As mentioned above, CASA’s members and their families frequently request CASA’s assistance

in obtaining a picture identification to prove their identities, which is why CASA members are




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offered the opportunity to receive a picture ID when becoming members. Similarly, CASA has

long provided assistance to new citizens in obtaining proper government-issued identification.

Over the years, we have helped thousands of families with newborns properly secure their birth

certificates, apply for a Social Security card or apply for their first US passport. Should this

population lose the right to qualify for this type of identification, we anticipate that our members

will face many challenges. Foremost among these will be a significant increase in demand for

identification documents generated from the consulates and embassies of the countries of origin

of those impacted. However, these entities have historically experienced many challenges

meeting the existing demand for their services, and some of our most vulnerable members are

unwilling or unable to access such services from their countries of origin.

       29.     Many CASA members have made personal and financial decisions in reliance on

the Fourteenth Amendment’s guarantee of birthright citizenship. The Executive Order unsettles

those expectations. Many CASA members will now have to change their personal goals and will

experience anxiety and economic uncertainty about the future of their families. CASA members

would be immediately and irreparably harmed. Below are a few illustrative examples of CASA

members who face immediate harm from the Executive Order. This declaration describes each

member using a pseudonym rather than their legal name.

       30.     Marta* is a CASA member who lives in Maryland and is currently three months

pregnant. Both Marta and the father of her unborn child are undocumented. Marta came to the

United States from Guatemala seeking a better future and opportunity. When she found out that

she was pregnant, she envisioned the life that her unborn child would have, free from the

hardships she experienced in Guatemala. Marta deeply understands how important being a

citizen of the United State is, and although she is not currently able to adjust her status in this




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country, she took solace from the fact that her child would be born a U.S. citizen. She wants her

child to be born happy and healthy, and with the opportunity to access a quality education, and

believes that the best chance for her child’s future is if her child is considered a U.S. citizen upon

birth.

          31.   Adelina * is a CASA member living in Maryland who has been in the United

States for seven years and is currently six months pregnant. Both Adelina and her partner are

currently undocumented. Adelina has one other child, who was born in the United States and is a

U.S. citizen. She wants her unborn child to have the same rights and opportunities that she has

seen her five-year-old child enjoy in this country. It pains her to think that one of her children

will have more benefits than the other, even though they were both born here. She is concerned

that if her unborn child is not considered a United States citizen, they will experience significant

hardship and not have the same opportunity as their sibling.

          32.   Rita* is a CASA member who lives in Maryland and has been in the United

States for five years. Both Rita and her partner are currently undocumented. Rita is seven

months pregnant with her first child and she thanks God that her child will be born here. If her

child were born in Rita’s home country of Guatemala, they would not have access to a good

education, adequate healthcare or other basic services. It would be a struggle just to survive,

without any realistic prospect of a brighter future. In light of the Executive Order, Rita fears that

her first child will face more hardship, unable to access their full rights as a U.S. citizen. Rita

herself was deeply impacted by the Coronavirus pandemic and she doesn’t want her child to go

through the pain and struggles that she has endured. It is important to her that her child is fully

recognized as a citizen of the U.S. so they can receive the benefits they deserve.



*
    These names are pseudonyms.



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       33.      Georgina* is a CASA member currently living in Maryland and originally from

El Salvador. She is two months pregnant. Georgina has lived in the United States for six years,

but neither she nor the father of her unborn child have lawful immigration status. She is a single

mother, with very limited financial resources and is fearful that if her unborn child isn’t granted

the benefits of U.S. citizenship she won’t be able to support the baby. Georgina fears that her

child will not have access to good food and quality education in the same way her two other

children born in the United States will. Georgina is also afraid that her child will be subject to

discrimination, because she has seen how noncitizens are treated poorly in this country.

       34.      Andrea* is a CASA member originally from Mexico, who lives in Georgia and is

currently pregnant, expecting to give birth in late mid-March. Andrea wants her future child to

enjoy the full dignity of citizenship in the United States and fears that they will be denied

educational opportunities and suffer from a lack of opportunity if they are denied citizenship.

Andrea dreams that her children will lead a better life in the United States, a country she has long

viewed as a land of opportunity. Andrea is currently in removal proceedings and neither she nor

the father of her child have lawful immigration status. As an immigrant, Andrea is looking for a

better life for her children, and came here because the United States is a country of opportunity.

She is thankful for this country for giving her opportunities that she never would have had in

Mexico, and only asks that her children are given the opportunities that they are entitled to by the

constitution.



I hereby declare under penalty of perjury that the foregoing is true and correct.

Dated: January 21, 2025                            Respectfully submitted,


                                                   __________________________
                                                   George Escobar



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/0A07:;809? :1 ,77 >D>?08> 1:= /424?,7 .:88@94.,?4:9 B4?3 %" 808-0=>  3,A0 /0?,470/

69:B70/20 ,-:@? %"L> 808-0=>34; /08:2=,;34.> 808-0=>34; .=4?0=4, 808-0= 900/> ,9/

;=4:=4?40> ,9/ ?30 =:70 808-0=> ;7,D 49 >0??492 ,9/ /4=0.?492 %"L> 84>>4:9 ,9/ ,/A:.,.D

               8,60 ?34> >B:=9 >?,?0809? -,>0/ @;:9 ;0=>:9,7 69:B70/20 1470> ,9/ /:.@809?>

:1 %" ?3,?  3,A0 =0A40B0/ >@.3 ,> .,>0 1470> =0;:=?> ,9/ .:770.?0/ .,>0 80?=4.> ,> B077 ,>




                                            Add. 47
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491:=8,?4:9 >@;;740/ ?: 80 -D 08;7:D00> :1 %" B3:8  -0740A0 ?: -0 =074,-70 49.7@/492

%"L> 8,9,20809? ,??:=90D> ,9/ ,/8494>?=,?4A0 >?,11 &30>0 1470> /:.@809?> ,9/

491:=8,?4:9 ,=0 :1 , ?D;0 ?3,? 4> 2090=,?0/ 49 ?30 :=/49,=D .:@=>0 :1 :@= -@>490>> ,9/ ?3,?  B:@7/

.@>?:8,=47D =07D @;:9 49 .:9/@.?492 %" -@>490>>

 &#,*/)! *) 

              %" 4> , 9,?4:9,7 A:7@9?,=D 808-0=>34; :=2,94E,?4:9 :1 ,>D7@8 >0060=>

49.:=;:=,?0/ ,> ,  .  9:9;=:14? :=2,94E,?4:9 49 0B *:=6

              > :1 ,9@,=D       %" 3,> :A0=  808-0=> ,9/ 4> ?30 7,=20>?

808-0=>34; :=2,94E,?4:9 :1 ,>D7@8 >0060=> 49 ?30 '94?0/ %?,?0>

             %" 808-0=> .:80 1=:8 :A0=  .:@9?=40> ,9/ =0>4/0 49 ,77  >?,?0> ,9/

>0A0=,7 '% ?0==4?:=40> %" ;=:A4/0> 4?> 808-0=> ?30 >,80 -09014?> ,9/ ,..0>> ?: =0>:@=.0>

=02,=/70>> :1 B30=0 ?30D ,=0 7:.,?0/ 49 ?30 '94?0/ %?,?0>

             %" 808-0=> ,=0 49 A,=4:@> >?,20> :1 ?304= 48842=,?4:9 ;=:.00/492> %:80

%" 808-0=> 3,A0 1470/ ,9 ,>D7@8 ,;;74.,?4:9 ,114=8,?4A07D -01:=0 '94?0/ %?,?0> 8842=,?4:9

,9/ 4?4E09>34; %0=A4.0> '%% B3470 :?30= %" 808-0=> 3,A0 1470/ ,9 ,>D7@8 ,;;74.,?4:9

/0109>4A07D ,9/ ,=0 49 48842=,?4:9 .:@=? ;=:.00/492> //4?4:9,77D >:80 %" 808-0=> ,=0 49

48842=,?4:9 .:@=? ;=:.00/492> ,9/ 49?09/ ?: 1470 ,9 ,>D7@8 ,;;74.,?4:9 >:80 3,A0 .,>0> ,? ?30

:,=/ :1 8842=,?4:9 ;;0,7>  :9 ,;;0,7 >:80 3,A0 7:>? ,>D7@8 ,9/ >:80 3,A0 B:9

,>D7@8 ,9/ ,=0 ,>D700> := 0A09 2=009 .,=/ 3:7/0=>

             )0 ,=0 ,7>: ,B,=0 :1 %" 808-0=> ,9/ ?304= .347/=09 B3: 3,A0 := 3,A0 3,/

&08;:=,=D "=:?0.?0/ %?,?@> ;,=:70 >?@/09? A4>,> ?:@=4>? A4>,> ,9/ %;0.4,7 8842=,9? @A09470

%?,?@>

             %"L> 84>>4:9 4> ?: B:=6 B4?3 :@= 808-0=> ?: -@47/ , 8:=0 B07.:8492 '94?0/




                                            Add. 48
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%?,?0> %" ;=:A4/0> :@= 808-0=>34; :1 ,>D7@8 >0060=> B4?3 702,7 ,9/ .:88@94?D >@;;:=?

9/ B0 B:=6 B4?3 :@= 808-0=> ?: 8,60 2=0,? .3,920 -D >?,9/492 ?:20?30= )0 ,=0 .=0,?4A0

.:77,-:=,?4A0 ,9/ 9:9;,=?4>,9 9/ B0 -0740A0 ,77 ,>D7@8 >0060=> /0>0=A0 ?: 149/ >,10 3,A09 49

?30 '94?0/ %?,?0>

              !@= 808-0=> A:7@9?,=47D ,11474,?0 ?308>07A0> B4?3 %" >D7@8 >0060=> ,;;7D

?: 5:49 %" -D 1477492 :@? , A:7@9?,=D :97490 808-0=>34; 1:=8 %" B07.:80> 90B 808-0=>

B3: ,=0 ,>D7@8 >0060=> ,20      := :A0= B3: -0740A0 49 %"L> 84>>4:9

               %" 4>>@0> 0,.3 808-0= , /424?,7 808-0=>34; .,=/ ,9/ 808-0=  ?3,? ?30D

.,9 @>0 ?: 4/09?41D ?308>07A0> ?: %" ,9/ ,..0>> ?30 1@77 =,920 :1 808-0= -09014?>

               %" 808-0=>34; 4> 1=00 :1 .3,=20 ,9/ %" 3,> 90A0= .:770.?0/ ,9D 100> :=

808-0=>34; /@0> 1=:8 4?> 808-0=>

               7?3:@23 %" /:0> 9:? 4>>@0 >0;,=,?0 808-0=>34; .,=/> ?: ,9D:90 @9/0= ?30

,20 :1      ?30 -09014?> :1 %" 808-0=>34; ,7>: 0C?09/ ?: ?30 .347/=09 :1 %" 808-0=> ,>

/0=4A,?4A0 :1 ?304= ;,=09?>L 808-0=>34;

               %" 4> 49 =02@7,= .:9?,.? B4?3 :@= 808-0=> ?3=:@23 ?0C? 80>>,20 ,9/ 08,47

               %" >?,11 ;=:/@.0 3:B?:2@4/0> 1=0<@09?7D ,>60/ <@0>?4:9> J#>K ,9/

A4/0:> ?3,? 0C;7,49 3:B ?: 9,A42,?0 ?30 48842=,?4:9 >D>?08 49.7@/492 3:B ?: ,;;7D 1:= ,>D7@8

3:B ?: ,;;7D 1:= , B:=6 ;0=84? ,9/ 8:=0 %" ,7>: ;=:/@.0> 2@4/,9.0 ,9/ #> ,-:@? ,..0>>

?: 30,7?3.,=0 1::/ ,>>4>?,9.0 ,9/ :?30= >:.4,7 >0=A4.0> ?3,? ,=0 ,..0>>0/ -D 808-0=> ,9/ :?30=>

:97490 0.,@>0 4?> =0>:@=.0> ,=0 >: 1=0<@09?7D ,..0>>0/ :97490 ,9/ /@0 ?: ?30 >4E0 :1 %"L>

808-0=>34; :@= =0>:@=.0> :9 ?30>0 4>>@0> ,=0 >:80 :1 ?30 8:>? 4917@09?4,7 ,9/ B4/07D =0,/ -D

48842=,9? .:88@94?40> 49 ?30 '94?0/ %?,?0>

              )3470 808-0=> 3,A0 .:9?49@:@> ,..0>> ?: %".=0,?0/ 491:=8,?4:9 ,9/




                                           Add. 49
      Case 8:25-cv-00201-DLB           Document 2-3       Filed 01/21/25      Page 4 of 13



=0>:@=.0> >3,=0/ :97490 %" ,7>: >09/> 808-0=> @;/,?0> -D ?0C? 80>>,20 ,9/ 08,47 ,? 70,>?

:9.0 0,.3 8:9?3 &30>0 @;/,?0> 49.7@/0 48842=,?4:9 90B> ,70=?> ?3,? 49.7@/0 491:=8,?4:9 ,-:@?

;:74.D .3,920> :1 49?0=0>? ?: ,>D7@8 >0060=>

             %" ,9>B0=> :@= 808-0=>L 702,7 <@0>?4:9> ?3=:@23 :@= A4=?@,7 307; /0>6 %"

>?,11 ,9/ .:9?=,.?:=> ,9>B0= 808-0=>L <@0>?4:9> ,-:@? ,>D7@8 ,9/ ?30 48842=,?4:9 .:@=?

;=:.0>> ,> B077 ,> <@0>?4:9> =07,?0/ ?: B:=6 ,@?3:=4E,?4:9 ,..0>> ?: 30,7?3 49>@=,9.0 0/@.,?4:9

>:.4,7 >0=A4.0> 1::/ ,>>4>?,9.0 ,9/ 8:=0

             %" ,7>: 092,20> 49 342348;,.? ,/A:.,.D .,8;,429> @?474E492 74?42,?4:9

;:74.D ,9/ .:88@94.,?4:9> B:=6

             %" 808-0=> /0?0=8490 ?30 :=2,94E,?4:9L> ,/A:.,.D ,209/, ,9/ ;:74.D

;=4:=4?40> )309 808-0=> 5:49 %" ?30D 3,A0 ?30 :;?4:9 ?: B=4?0 ,-:@? B3,? ?30D B:@7/

.3,920 49 ?30 48842=,?4:9 >D>?08 %" >?,11 =0A40B ?30>0 ,9>B0=> .:/0 ,9/ ?309 .:8;470

?308 ?: /0?0=8490 808-0=>L .:770.?4A0 ;=4:=4?40> &30>0 ;=4:=4?40> ?309 /0?0=8490 B3,? 74?42,?4:9

;:74.D ,9/ .:88@94.,?4:9> B:=6 ?30 :=2,94E,?4:9 ?,60> :9

             //4?4:9,77D %" 2,?30=> 100/-,.6 1=:8 808-0=> ?3=:@23 , .:8-49,?4:9 :1

>@=A0D> ,9/ :90:9:90 808-0= 49?0=,.?4:9> &34> 100/-,.6 4> @>0/ ?: 307; /0A07:; =0>;:9>4A0

3:B?:=0>:@=.0> ,9/ ?: 307; >3,;0 ?30 :=2,94E,?4:9L> ,/A:.,.D 011:=?>

              %" 808-0=> A:?0 :9 B30?30= %" .,9 -=492 , 7,B>@4? ,7702492 ,>>:.4,?4:9,7

>?,9/492 ,> , A:7@9?,=D 808-0=>34; :=2,94E,?4:9 %" B477 :97D ,77020 ,>>:.4,?4:9,7 >?,9/492

49 , 7,B>@4? 41 808-0=> 3,A0 A:?0/ ,9/ ,2=00/ ?: ?30 :=2,94E,?4:9 /:492 >:




$" 2" /.%0" ,!", %'' (+ . 8- "(",-




                                              Add. 50
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                %" 808-0=> 3,A0 0C;=0>>0/ ?: %" ?3,? ;=:?0.?492 -4=?3=423? .4?4E09>34; 4> ,

;=4:=4?D

                )309 ,>60/ 49 , =0.09? >@=A0D :1 %" 808-0=> B30?30= %" >3:@7/ 1470 ,

7,B>@4? /0109/492 -4=?3=423? .4?4E09>34;  :1 ?30 %" 808-0=> B3: =0>;:9/0/ A:?0/ D0>

,9/ @=20/ %" ?: ;=0>0=A0 -4=?3=423? .4?4E09>34; 1:= ?30 .347/=09 :1 %" 808-0=> ,9/ :?30=

48842=,9?>

                > :1 ?:/,D %" >0=A0>   808-0=> ..:=/492 ?: ?30 ,?4:9,7 09?0=

1:= 0,7?3 %?,?4>?4.> ,? ?30 09?0= 1:= 4>0,>0 :9?=:7  ?30 .@==09? '% -4=?3 =,?0 4>

-4=?3> ;0=  ;0:;70 49 ?30 '94?0/ %?,?0> ;0= D0,= D , .:9>0=A,?4A0 0>?48,?0 %" 808-0=>

B477 3,A0       .347/=09 49      := ,9 ,A0=,20 :1 8:=0 ?3,9  '%-:=9 .347/=09 ;0= /,D &34>

0>?48,?0 4> .:9>0=A,?4A0 -0.,@>0 :@= 808-0=> ?09/ ?: -07:92 ?: 0?394. 2=:@;> ,9/ .:80 1=:8

.:@9?=40> B4?3 34230= -4=?3=,?0>

                 =0.09? >@=A0D :1 808-0=> .:914=8> ?3,? 8,9D 808-0=> ,=0 0C;0.?492 ?: 3,A0

.347/=09 49        &: 8D 69:B70/20 ,? 70,>?   %" 808-0=> ,=0 0C;0.?492 , .347/ :=

.347/=09 ?34> D0,= ,9/ ,=0 B:==40/ ?304= 1@?@=0 .347/ := .347/=09 B477 9:? -0 ,-70 ?: .7,48

-4=?3=423? .4?4E09>34; /0>;4?0 -0492 -:=9 49 ?30 '94?0/ %?,?0>

               %" 808-0=> 3,A0 ,7=0,/D 0C;=0>>0/ .:9.0=9> ,-:@? ?30 ?3=0,?090/ ,.?4:9 ?:

/09D -4=?3=423? .4?4E09>34; ?: .347/=09 -:=9 49 ?30 '94?0/ %?,?0> ?: 9:9.4?4E09 ;,=09?> ,9/ 3,A0

,>60/ <@0>?4:9> ,-:@? 3:B 4? .:@7/ 48;,.? ?308 ,> ,>D7@8 >0060=> )0 3,A0 70,=90/ 1=:8 %"

808-0=> ?3,? 09/492 -4=?3 =423? .4?4E09>34; ;:>0> @94<@0 .3,770920> 1:= ,>D7@8 >0060=> ,9/ ?304=

.347/=09




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  *1 .$" 2" /.%0" ,!", (+ .- 8- "(",-

             %" 4> ,.@?07D ,B,=0 :1 ?30 3,=8> ?3,? 09/492 -4=?3=423? .4?4E09>34; B477 .,@>0

?: .347/=09 -:=9 49 ?30 '94?0/ %?,?0> ?: 9:9.4?4E09 ;,=09?> ,9/ ?: ?304= 09?4=0 1,84740> &30 3,=8

B477 -0 >0A0=0 1:= 9:9.4?4E09 ;,=09?> ,9/ ?304= '%-:=9 .347/=09 B3: ,=0 /0940/ '%

.4?4E09>34;

             %" 808-0=> 3,A0 0C;=0>>0/ ?3,? ?30 /094,7 :1 -4=?3=423? .4?4E09>34; B:@7/

.=0,?0 2=0,? ;>D.3:7:24.,7 /4>?=0>> ,9/ 08:?4:9,7 ;,49 &30 /094,7 :1 ?34> >?,?@> B34.3 ;,=09?>

,>>@80/ B:@7/ ,;;7D ?: ?304= @9-:=9 .347/=09 B477 /4>=@;? ;7,9> =02,=/492 48842=,?4:9 >?,?@>

,..0>> ?: 0/@.,?4:9 ,9/ -09014?> ;=:2=,8>

             ",=09?> B3: ,=0 0C;0.?492 .347/=09 B3: .:@7/ -0 /0940/ '% .4?4E09>34; ,=0

0C?=0807D B:==40/ ,-:@? B30?30= ?30D B477 3,A0 ?: 307; ?304= .347/=09 ,;;7D 1:= :?30= 1:=8> :1

'% 48842=,?4:9 =07401 49.7@/492 >006492 ,>D7@8 49 ?30 '94?0/ %?,?0> ",=09?> ,=0 B:==40/ ?3,?

B4?3:@? , ;09/492 48842=,?4:9 ,;;74.,?4:9 ?304= .347/=09 .:@7/ -0 >@-50.? ?: /0;:=?,?4:9 I 0A09

41 ?30D ,> ;,=09?> ,=0 9:? ;;7D492 1:= '% 48842=,?4:9 >?,?@> 1:= , '%-:=9 .347/ B:@7/ 9:?

:97D -0 49.=0/4-7D ?480 .:9>@8492 ,9/ >?=0>>1@7 1:= ;,=09?> -@? 4? .:@7/ ,7>: -0 0C;09>4A0 41 ?30D

3,A0 ?: ;,D 2:A0=9809? 147492 100> := 41 ?30D 8@>? 34=0 ,9 ,??:=90D 49 :=/0= ?: 9,A42,?0 ?34>

.:8;74.,?0/ ,9/ @9;=0.0/09?0/ 48842=,?4:9 ;=:.0>>

             9/492 -4=?3=423? .4?4E09>34; 1:= ?30 .347/=09 :1 ,>D7@8 >0060=> 4> ;,=?4.@7,=7D

.:9.0=9492 -0.,@>0 8,9D ,>D7@8 >0060=> 3,A0 -009 ;0=>0.@?0/ ,9/ ?:=?@=0/ -D ?30 2:A0=9809?>

:1 ?304= 3:80 .:@9?=40> ,9/ ,> >@.3 /: 9:? 3,A0 ,..0>> ?: := 1007 >,10 >006492 >0=A4.0> 1=:8 ,

.:9>@7,= :114.0 :1 ?304= .:@9?=D :1 :=4249 49 ?30 '94?0/ %?,?0> @=?30=8:=0 4? 4> .:88:9 ;=,.?4.0

1:= 48842=,?4:9 ,??:=90D> ?: ,/A4>0 ?304= .7409?> ?3,? ,A,47492 ?308>07A0> :1 .:9>@7,= >0=A4.0>

1=:8 ?304= .:@9?=D :1 :=4249 .:@7/ 3,=8 ?304= ,>D7@8 .,>0 -0.,@>0 ?30>0 49?0=,.?4:9> .:@7/ -0



                                                 

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49?0=;=0?0/ ,> /08:9>?=,?492 , 7,.6 :1 10,= :1 ?304= .:@9?=D :1 :=4249 > , =0>@7? 8,9D ,>D7@8

>006492 ;,=09?> B477 -0 1:=.0/ ?: /0.4/0 -0?B009 902,?4A07D 48;,.?492 ?304= :B9 48842=,?4:9

.,>0> := 0>>09?4,77D =09/0=492 ?304= .347/=09 >?,?070>> B4?3:@? ;=::1 :1 .4?4E09>34; 1=:8 ,9D

.:@9?=D

                !@= 808-0=> 1=:8 (090E@07, 3,A0 ?:7/ @> ?3,? ?30D .,99:? ,..0>> .:9>@7,=

>0=A4.0> 1=:8 ?304= .:@9?=D :1 :=4249 1=:8 B4?349 ?30 '94?0/ %?,?0> I 0A09 41 ?30D B,9?0/ ?: /:

>: &34> 4> :90 =0,>:9 B3D :@= 808-0=> 1=:8 (090E@07, 3,A0 0C;=0>>0/ ,9C40?D ,=:@9/ ?304=

1@?@=0 '%-:=9 .347/=09 9:? -0492 ,-70 ?: .7,48 ,9D .4?4E09>34; ,9/ ;:?09?4,77D -0.:8492

>?,?070>>

                %" 808-0=> ,9/ :?30= ,>D7@8 >0060=> ,=0 ,7=0,/D 1,.492 .3,770920> 3,A492 ?:

1700 ?304= 3:80 .:@9?=D /@0 ?: ;0=>0.@?4:9 ,9/ .:8492 ?: , 90B .:@9?=D B30=0 ?30D 8,D 9:?

>;0,6 ?30 7,92@,20 %" 808-0=> 3,A0 .:88@94.,?0/ ?3,? ?34> ,//0/ .:9.0=9 :1 :-?,49492

.4?4E09>34; 2090=,77D ,9/ >:80 ?D;0 :1 '% 48842=,?4:9 >?,?@> 1:= ?304= '%-:=9 .347/=09 4> ,

>@//09 >3:.6 ,9/ , >:@=.0 :1 ?=0809/:@> >?=0>> ,9/ ,9C40?D

                ,9D %" 808-0=> 3,A0 =0;:=?0/ ?: %" ?3,? ?30D ,=0 >?@.6 49 ,>D7@8

-,.67:2> B,4?492 1:= ?304= .,>0> ?: -0 ;=:.0>>0/ 1:= >:80?480> 0A09 8:=0 ?3,9 , /0.,/0 &34>

80,9> 49/4A4/@,7> B4?3 ;09/492 ,>D7@8 ,;;74.,?4:9> ,=0 74607D ?: -0 49 ?30 '% 1:= 8,9D D0,=> ?:

.:80 > >@.3 ?30 .347/=09 :1 ,>D7@8 >0060=> B477 9:? :97D -0 -:=9 49 ?30 '94?0/ %?,?0> -@? B477

2: ?: >.3::7 49 ?30 '% 70,=9 9274>3 ,9/ -0.:80 ;,=? :1 ?30 1,-=4. :1 '% 7:.,7 .:88@94?40>

-01:=0 ?304= ;,=09?>L 48842=,?4:9 .,>0 4> /0.4/0/

                1 ?30D ,=0 /0940/ .4?4E09>34; .347/=09 -:=9 ?: 8,9D %" 808-0=> B477 3,A0 9:

>?,?@> 49 ?30 '% ,? ,77 ,9D :1 ?308 B477 ?30=01:=0 -0 4907424-70 1:= 48;:=?,9? ;=:2=,8> ?3,?

1,84740> =07D :9 1:= 9@?=4?4:9 ,9/ 30,7?3 -09014?> := 0C,8;70 41 /0940/ .4?4E09>34; %"



                                                 

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808-0=>L '%-:=9 .347/=09 B477 9:? -0 ,-70 ?: ,..0>> .=@.4,7 30,7?3.,=0 ;=:2=,8> 7460 ?30

347/=09L> 0,7?3 9>@=,9.0 "=:2=,8 " 0/4.,4/ ,9/ ?30 11:=/,-70 ,=0 .? 

B34.3 ;=:A4/0 .:A0=,20 ?: .4?4E09 .347/=09 :1 9:9.4?4E09 ;,=09?> &34> B:@7/ ,7>: ;7,.0

,//4?4:9,7 >?=0>> :9 ;,=09?>

                  :=0:A0= %" 808-0=> B:==D ,-:@? ?30 >0=4:@> /4294?,=D ,9/ >?,?@> 3,=8> ?:

?304= .347/=09 B3: B477 -0 /0940/ .4?4E09>34; >?,?@> 347/=09 -:=9 49 ?30 '94?0/ %?,?0> -@?

/0;=4A0/ :1 4?> .4?4E09>34; 8,D 1,.0 9:? :97D >?,?070>>90>> -@? ,7>: >:.4,7 0C.7@>4:9 ,9/

/4>.=4849,?4:9 -D -0492 0C.7@/0/ 1=:8 '% .4?4E09>34; ,? -4=?3 9 ?30 7:92 =@9 9:9.4?4E09 '%

-:=9 .347/=09 B477 ,7>: -0 /0940/ 80,94921@7 :;;:=?@94?40> ?: 092,20 49 ,9/ 09=4.3 ?30 .4A4. 7410

:1 ?304= -4=?3.:@9?=D -D -0492 /0;=4A0/ :1 A:?492 =423?> 0/@.,?4:9,7 :;;:=?@94?40> ?30 ,-474?D ?:

>0=A0 :9 5@=40> ,9/ :?30= 80.3,94>8> ?: ;,=?4.4;,?0 49 .4A4. 49>?4?@?4:9> ,> .4?4E09>



 "(",- (+ ."! 3 .$" 2" /.%0" ,!",

                 )0 69:B :1 ,? 70,>?   %" 808-0=> B3: ,=0 .@==09?7D 0C;0.?492 ?: 3,A0

.347/=09 -:=9 49 ?30 '94?0/ %?,?0> 49         07:B ,=0 , 10B =0;=0>09?,?4A0 0C,8;70> :1 %"

808-0=> B3:>0 '%-:=9 .347/=09 ?30 C0.@?4A0 !=/0= B477 @97,B1@77D /0.7,=0 ?: -0 9:9

.4?4E09>

                   %) 4> ,9 %" 808-0= 74A492 49 ),>3492?:9 %?,?0 %30 4> ;=029,9? ,9/ /@0 49

@7D :1          %30 ,9/ 30= ;,=?90= ,=0 -:?3 1=:8 09D, ,9/ ?30D ,=0 >006492 ,>D7@8 49 ?30

'94?0/ %?,?0> 49, ,9/ 30= ;,=?90= 3,A0 -009 74A492 49 ?30 '94?0/ %?,?0> >49.0   49, .,80

?: ?30 '94?0/ %?,?0> :9 , >?@/09? A4>, ?309 ,;;740/ 1:= ,>D7@8 ,114=8,?4A07D B4?3 '%% %30





 %:80 :1 ?30 808-0=> 49.7@/492 49, ,=0 4/09?4140/ @>492 , ;>0@/:9D8 =,?30= ?3,9 ?30
808-0=L> =0,7 9,80

                                                    

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,9/ 30= ;,=?90= 3,A0 -009 B:=6492 702,77D 49 ?30 '94?0/ %?,?0> 1:= 8:=0 ?3,9      D0,=> 49, 3,> ,

/02=00 49 .D-0=>0.@=4?D ,9/ B:=6> ,> ,9 & 8,9,20= 0= ;,=?90= B:=6> 1:= ?30 .:@9?D

2:A0=9809? ,> ,9 & %;0.4,74>? %30 ,9/ 30= ;,=?90= ,=0 B:==40/ ?3,? ?304= .347/ B477 9:? -0 ,-70

?: =0.04A0 '% .4?4E09>34; 0492 ,9 48842=,9? 49 ?30 '94?0/ %?,?0> 3,> -009 A0=D >?=0>>1@7 1:=

4,9, ,9/ 30= ;,=?90= ,9/ ?30D /: 9:? B,9? ?304= >:9 ?: 2: ?3=:@23 ?30 >,80 >?=@2270> ?30D 3,A0

3,/ ?: 2: ?3=:@23

             %/,& 4> ,9 %" 808-0= 74A492 49 7:=4/, %30 4> ;=029,9? ,9/ /@0 49 ,=.3

:1      4@=6, ,9/ 30= ;,=?90= ,=0 -:?3 1=:8 @-, ,9/ ?30D ,=0 .@==09?7D >006492 ,>D7@8 49 ?30

'94?0/ %?,?0> &30D .=:>>0/ ?30 0C4.:'% -:=/0= ,9/ B0=0 ;7,.0/ 49 /0;:=?,?4:9 ;=:.00/492>

-01:=0 ?30 '% 48842=,?4:9 .:@=?> 4@=6, ,9/ 30= ;,=?90= 3,A0 , ;09/492 ,>D7@8 ,;;74.,?4:9

,9/ , ;09/492 7,B1@7 ;0=8,909? =0>4/09.D ,;;74.,?4:9 @9/0= ?30 @-,9 /5@>?809? .? 4@=6,

B,> , 80/4.,7 /:.?:= 49 @-, -@? >30 4> 9:? B:=6492 ,? ?34> ?480 0= ;,=?90= >?@/40/ 1::/

>.409.0 ,9/ B,> , -4:;3,=8,.4>? 49 @-, 0 4> 9:B , 1::/ >,10?D ,9/ <@,74?D ,>>@=,9.0 8,9,20=

49 ?30 1::/ ;=:/@.?4:9 49/@>?=D %30 ,9/ 30= ;,=?90= ,=0 A0=D B:==40/ ?304= .347/ B477 9:? =0.04A0

'% .4?4E09>34; B309 30 4> -:=9 &30D B,9? ?304= >:9 ?: ,.340A0 >@..0>> 49 ?30 '94?0/ %?,?0> ,9/

B:==D ,-:@? 3:B 9:? =0.04A492 .4?4E09>34; ,? -4=?3 B477 48;,.? 34> 1@?@=0 4@=6, ,9/ 30= ;,=?90=

3,A0 9: 49?09?4:9 :1 0A0= 2:492 -,.6 ?: @-, -0.,@>0 :1 ?30 /4.?,?:=>34; B:@7/ 90A0= B,9? ?304=

.347/ ?: -0 , @-,9 .4?4E09 ,9/ /: 9:? B,9? ?304= .347/ ?: 0A0= 3,A0 ?: >0? 1::? 49 @-, 1 30 4>

/0940/ '% .4?4E09>34; ?30D ,=0 B:==40/ ?3,? ?304= >:9 B:@7/ -0 49 , >?,?0 :1 748-: ,9/ B:@7/

9:? 3,A0 .4?4E09>34; 1=:8 ,9D .:@9?=D

             #*, 4> ,9 %" 808-0= 74A492 49 &0C,> 0 ,9/ 34> B410 4E, ,=0 0C;0.?492 ,

.347/ 49 ,D :1       2:= ,9/ 4E, ,=0 1=:8 $@>>4, 2:= ,;;740/ 1:= ,>D7@8 B4?3 ?30 '%

48842=,?4:9 .:@=?> 4E, .,80 ?: ?30 '94?0/ %?,?0> :9 , >?@/09? A4>, ,9/ 4> =0.04A492 30=



                                                 

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,>?0=L> /02=00 2:= ,9/ 4E, B,9? ?: ,;;7D 1:= ?304= .347/L> '% ;,>>;:=? ,> >::9 ,> ;:>>4-70

-@? ?30D ,=0 B:==40/ ?304= .347/ B477 9:? =0.04A0 '% .4?4E09>34; 04?30= 2:= 9:= 4E, 1007 ?30D

.,9 =0?@=9 ?: $@>>4, B4?3:@? -0492 ;0=>0.@?0/ ,9/ -0.,@>0 :1 ?3,? /: 9:? 1007 ?30D .,9 ,;;7D 1:=

$@>>4,9 .4?4E09>34; 1:= ?304= .347/ 0.,@>0 :1 ?3,? 2:= ,9/ 4E, ,=0 B:==40/ ?304= .347/ B477 -0

>?,?070>>

               !,%) 4> ,9 %" 808-0= 74A492 49 0B *:=6 %30 4> ;=029,9? ,9/ /@0 49

,=.3 :1         /=4,9, ,9/ 30= ;,=?90= ,=0 -:?3 .@==09?7D >006492 ,>D7@8 49 ?30 '94?0/ %?,?0>

&30D .,80 ?: ?30 '94?0/ %?,?0> ,> ?:@=4>?> ,9/ >@->0<@09?7D ,;;740/ 1:= ,>D7@8 B4?3 '%%

/=4,9, 3,> ;=0A4:@>7D B:=60/ ,> ,9 ,/8494>?=,?4A0 ,9/ 149,9.0 ,>>4>?,9? ,-=:,/ -@? >30 4> 9:?

.@==09?7D B:=6492 -0.,@>0 >30 3,> 3,/ , /4114.@7? ;=029,9.D /=4,9,L> ;,=?90= B:=6> ,> , /=4A0=

1:= , .:8;,9D ?3,? 3,9/70> ?=,9>;:=?,?4:9 1:= >094:= .4?4E09> ,9/ .347/=09 /=4,9, ,9/ 30=

;,=?90= ,=0 B:==40/ ?3,? ?304= /,@23?0= B477 1,.0 /4>.=4849,?4:9 49 ?30 '94?0/ %?,?0> 41 >30 4> 9:?

8,/0 , '% .4?4E09 ,? -4=?3

                %0%! 4> ,9 %" 808-0= 74A492 49 :@4>4,9, %30 4> ;=029,9? ,9/ /@0 49 ;=47

:1      4A4/, 4> 1=:8 :9/@=,> ,9/ >:@23? ,>D7@8 49 ?30 '94?0/ %?,?0> 49   %30 3,/ 1470/

30= ,>D7@8 ,;;74.,?4:9 B4?3 ?30 '% 48842=,?4:9 .:@=?> :B0A0= 30= .,>0 B,> =0.09?7D

/4>84>>0/ 4A4/,L> ;,=?90= 4> 1=:8 0C4.: ,9/ 30 3,> ,9 ,;;74.,?4:9 ;09/492 1:= , 'A4>,

  4A4/, ,9/ 30= ;,=?90= -0740A0 4? 4> A0=D 48;:=?,9? ?3,? ?304= .347/ -0.:80> , '% .4?4E09 ,? -4=?3

1 ?304= .347/ /:0> 9:? 3,A0 '% .4?4E09>34; ,? -4=?3 4A4/, ,9/ 30= ;,=?90= ,=0 ,1=,4/ :1 348

3,A492 ?: 74A0 49 04?30= :9/@=,> := 0C4.: -0.,@>0 ?30D 10,= A4:709.0 ,9/ ;0=>0.@?4:9 49 -:?3

.:@9?=40> 4A4/, ,9/ 30= ;,=?90= B:==D ,-:@? ?304= >:9L> 1@?@=0 41 30 4> 9:? , -4=?3=423? .4?4E09 :1

?30 '94?0/ %?,?0> ,9/ 3:B 4? .:@7/ .3,920 34> 7410 ?=,50.?:=D 34> /0A07:;809? ,9/ ?30

0/@.,?4:9,7 :;;:=?@94?40> ,11:=/0/ ?: 348 4A4/, ,9/ 30= ;,=?90=L> /,@23?0= 3,> '% .4?4E09>34;



                                                   

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1=:8 -4=?3 ,7=0,/D B34.3 ,7>: 80,9> ?304= >:9 B:@7/ 3,A0 , /4110=09? >?,?@> ?3,9 34> >4>?0=

/0>;4?0 -:?3 :1 ?308 -0492 -:=9 49 ?30 '94?0/ %?,?0>

               "-'3 4> ,9 %" 808-0= 74A492 49 0B 0=>0D %30 4> ;=029,9? ,9/ /@0 49 @7D

:1      %30 .=:>>0/ ,? ?30 0C4.:'% -:=/0= @>492 ?30 " !90 ,;; ,9/ >@->0<@09?7D

,;;740/ 1:= ,>D7@8 49 ?30 '% 48842=,?4:9 .:@=?> 0= 90C? 30,=492 4> 9:? @9?47   0>7D 3,>

B:=60/ ,> , .70,90= 49 ?30 '% ,9/ 3,> , B:=6 ;0=84? 04?30= 0>7D 9:= 30= ;,=?90= ,=0 '%

.4?4E09> := 7,B1@7 ;0=8,909? =0>4/09?> 0>7D ,9/ 30= ;,=?90= B,9? ?: ,;;7D 1:= ?304= .347/L> '%

;,>>;:=? ,> >::9 ,> ;:>>4-70 -@? ?30D ,=0 B:==40/ ?304= .347/ B477 9:? =0.04A0 '% .4?4E09>34;

&30D ,=0 .:9.0=90/ ?3,? B4?3:@? -4=?3=423? .4?4E09>34; ?304= .347/ B477 9:? 3,A0 ,> 8,9D

:;;:=?@94?40> I 04?30= 0/@.,?4:9,7 := ;=:10>>4:9,7 0>7D 4> A0=D >?=0>>0/ -0.,@>0 >30 4> 9:? >@=0 41

>30 4> 2:492 ?: 3,A0 ?: >?,=? , '% 48842=,?4:9 ;=:.0>> 1:= 30= .347/ B3: B477 -0 -:=9 49 ?30

'94?0/ %?,?0> 0>7D 4> B:==40/ -0.,@>0 ,9 48842=,?4:9 ,??:=90D .:@7/ .:>? , 7:? :1 8:90D ,9/

>30 /:0> 9:? 69:B 41 >30 B:@7/ 3,A0 ?: 34=0 ,9 48842=,?4:9 ,??:=90D := ;,D ,;;74.,?4:9 100>

                   -.$", 4> ,9 %" 808-0= 74A492 49 07,B,=0 %30 4> ;=029,9? ,9/ /@0 49

0-=@,=D :1         >?30= ,9/ 30= ;,=?90= ,=0 .@==09?7D >006492 ,>D7@8 49 ?30 '94?0/ %?,?0> 49 ?30

'% 48842=,?4:9 .:@=?> >?30= B:=60/ ,> , 3:@>0 .70,90= 49 07,B,=0 @9?47 >30 1:@9/ :@? >30

B,> ;=029,9? 0= 3@>-,9/ B:=6> ,? , 7:.,7 ;4EE, >3:; %30 ,9/ 30= ;,=?90= B,9? ?: ,;;7D 1:=

?304= .347/L> '% ;,>>;:=? ,> >::9 ,> ;:>>4-70 -@? ?30D ,=0 B:==40/ ?304= .347/ B477 9:? =0.04A0

'% .4?4E09>34;

               *$"'%(, 4> ,9 %" 808-0= 74A492 49 ,741:=94, %30 4> ;=029,9? ,9/ /@0 49

,=.3 :1       %30 ,9/ 30= ;,=?90= .,80 ?: ?30 '94?0/ %?,?0> >006492 >,10 3,A09 :30748,=L>

;,=?90= 3,> ,;;740/ 1:= ,>D7@8 -@? >30 3,> 9:? -009 ,-70 ?: D0? :30748,= >?@/40/ .=4849,74>?4.>

,-=:,/ -@? >30 4> 9:? B:=6492 -0.,@>0 >30 3,> 9:? D0? =0.04A0/ 30= B:=6 ;0=84? :30748,= ,9/




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30= ;,=?90= ,=0 B:==40/ ?3,? ?304= .347/ B477 9:? -0 ,-70 ?: =0.04A0 '% .4?4E09>34; :30748,=

-0740A0> ?3,? 41 30= >:9 -0.:80> , '% .4?4E09 30 B477 3,A0 , -0??0= 1@?@=0 1 30 4> /0940/ '%

.4?4E09>34; >30 4> .:91@>0/ ,9/ >.,=0/ ,-:@? B3,? ?30 ;=:.0>> B:@7/ -0 1:= 30= ?: 20? 30= >:9

.4?4E09>34; 1=:8 ,9D :?30= .:@9?=D ,9/ >30 B:@7/ -0 B:==40/ ,-:@? 30= >:9L> 1@?@=0 49 ?30

'94?0/ %?,?0>

                ,, 4> ,9 %" 808-0= 74A492 49 09?@.6D %30 4> ;=029,9? ,9/ /@0 49 @7D

:1      ,=-,=, ,9/ 30= ;,=?90= ,=0 -:?3 1=:8 @-, ,9/ ?30D ,=0 .@==09?7D >006492 ,>D7@8 49

?30 '94?0/ %?,?0> &304= 2=009 .,=/ ,;;74.,?4:9 @9/0= ?30 @-,9 /5@>?809? .? 3,> -009

;09/492 1:= 8:=0 ?3,9 , D0,= ,9/ ?30D 3:;0 ?: 3,A0 ?304= 7,B1@7 ;0=8,909? =0>4/09.D >::9 &30D

3,A0 -009 49 ?30 '94?0/ %?,?0> >49.0         ,=-,=, B,> , 7,BD0= 49 @-, %30 4> 9:B B:=6492 ,?

, >.3::7 ,> , >.3::7 .@>?:/4,9 0= ;,=?90= 4> ,7>: , >.3::7 .@>?:/4,9 ,=-,=, ,9/ 30= ;,=?90= ,=0

A0=D B:==40/ ?304= .347/ B477 9:? =0.04A0 '% .4?4E09>34;

               ")3 4> ,9 %" 808-0= 74A492 49 ,741:=94, %30 4> ;=029,9? ,9/ /@0 49 @7D :1

     %30 ,9/ 30= ;,=?90= -:?3 3,A0 ,114=8,?4A0 ,>D7@8 ,;;74.,?4:9> ;09/492 ,? '%% 09DL>

;=:10>>4:9,7 -,.62=:@9/ 4> ,> ,9 0/@.,?:= 1:= ;0:;70 B4?3 /4>,-474?40> 09D ,9/ 30= ;,=?90=

B,9? ?: ,;;7D 1:= ?304= .347/L> '% ;,>>;:=? ,> >::9 ,> ;:>>4-70 -@? ?30D ,=0 B:==40/ ?304= .347/

B477 9:? =0.04A0 '% .4?4E09>34; &30D 1007 ?304= .347/ >3:@7/ 3,A0 ?30 .4?4E09>34; :1 ?30 .:@9?=D

30 4> -:=9 49 0>;0.4,77D >49.0 4? 4> , .:9>?4?@?4:9,7 =423?

               ",4)%  4> ,9 %" 808-0= 74A492 49 :990.?4.@? %30 4> ;=029,9? ,9/ /@0 49

@90 :1       %30 ,9/ 30= ;,=?90= ,=0 -:?3 :=4249,77D 1=:8 "0=@ (0=F94., ,9/ 30= ;,=?90= 3,A0

1470/ 1:= ,>D7@8 ,> , /0109>0 ?: /0;:=?,?4:9 ,9/ /4/ >: @>492 %"L> >071307; =0>:@=.0> ,9/

3:B?: A4/0:> (0=F94.,L> ;=:10>>4:9,7 ?=,49492 49 "0=@ 4> ,> ,9 ,..:@9?,9? (0=F94., ,9/ 30=

;,=?90= B,9? ?: ,;;7D 1:= ?304= .347/L> '% ;,>>;:=? ,> >::9 ,> ;:>>4-70 -@? ?30D ,=0 B:==40/




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?304= .347/ B477 9:? =0.04A0 '% .4?4E09>34;

               ,*'%) 4> ,9 %" 808-0= 74A492 49 7:=4/, %30 4> ;=029,9? ,9/ /@0 49 @90

:1      %30 ,9/ 30= ;,=?90= ,=0 -:?3 1=:8 3470 -@? 30= ;,=?90= 4> :1 ,4?4,9 ,9/ 3470,9

/0>.09? 04?30= ,=:749, 9:= 30= ;,=?90= ,=0 '% .4?4E09> := 7,B1@7 ;0=8,909? =0>4/09?>

,=:749, .,80 ?: ?30 '94?0/ %?,?0> :9 , A4>, ,9/ ?309 >@->0<@09?7D ,;;740/ 1:= ,>D7@8

,114=8,?4A07D B4?3 '%% ,=:749, ,9/ 30= ;,=?90= B,9? ?: ,;;7D 1:= ?304= .347/L> '% ;,>>;:=?

,> >::9 ,> ;:>>4-70 -@? ?30D ,=0 B:==40/ ?304= .347/ B477 9:? =0.04A0 '% .4?4E09>34; &30D ,=0

;,=?4.@7,=7D .:9.0=90/ ?304= .347/ B477 1,.0 /4>.=4849,?4:9 41 ?30D ,=0 9:? >009 ,> ?30 >,80 ,>

:?30= .347/=09 B3: B0=0 -:=9 49 ?30 '94?0/ %?,?0>


 30=0-D /0.7,=0 @9/0= ;09,7?D :1 ;0=5@=D ?3,? ?30 1:=02:492 4> ?=@0 ,9/ .:==0.?

,?0/ ,9@,=D                                     $0>;0.?1@77D >@-84??0/




                                                     ++++++++++++++++++++++++++
                                                     %B,;9,  $0//D




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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             GREENBELT DIVISION




CASA, INC.,
8151 15th Avenue
Hyattsville, MD 20528;

ASYLUM SEEKER ADVOCACY
PROJECT, INC.,                                    Case No.: __________
228 Park Ave. S #84810
New York, NY 10003-1502;
                                                  COMPLAINT
MARIBEL, individually and as next friend
to her future child,
c/o CASA, Inc.,
8151 15th Avenue
Hyattsville, MD 20528;

JUANA, individually and as next friend to
her future child,
c/o CASA, Inc.,
8151 15th Avenue
Hyattsville, MD 20528;

TRINIDAD GARCIA, individually and as
next friend to her future child,
c/o Asylum Seeker Advocacy Project,
228 Park Ave. S #84810
New York, NY 10003-1502;

MONICA, individually and as next friend to
her future child,
c/o Asylum Seeker Advocacy Project,
228 Park Ave. S #84810
New York, NY 10003-1502; and




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LIZA, individually and as next friend to her
future child,
c/o Institute for Constitutional
Advocacy and Protection
Georgetown University Law Center
600 New Jersey Ave NW
Washington, DC 20001;

               Plaintiffs,

       v.

DONALD J. TRUMP, in his official
capacity as President of the United States,
c/o Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001;

SECRETARY OF THE UNITED STATES
DEPARTMENT OF STATE, in their
official capacity,
The Executive Office of the Legal Adviser
and Bureau of Legislative Affairs
600 19th Street NW
Suite 5.600
Washington DC 20522;

ATTORNEY GENERAL OF THE
UNITED STATES, in their official
capacity,
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001;

SECRETARY OF THE UNITED STATES
DEPARTMENT OF HOMELAND
SECURITY, in their official capacity,
c/o Office of the General Counsel
U.S. Department of Homeland Security
245 Murray Lane, SW
Mail Stop 0485
Washington, DC 20528-0485;




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 DIRECTOR OF UNITED STATES
 CITIZENSHIP AND IMMIGRATION
 SERVICES, in their official capacity,
 c/o Office of the Chief Counsel
 5900 Capital Gateway Drive
 Mail Stop 2120
 Camp Springs, MD 20588-0009;

 COMMISSIONER OF THE SOCIAL
 SECURITY ADMINISTRATION, in their
 official capacity,
 c/o Office of the General Counsel
 Social Security Administration
 6401 Security Boulevard
 Baltimore, MD 21235; and

 UNITED STATES OF AMERICA,
 c/o Attorney General of the United States
 U.S. Department of Justice
 950 Pennsylvania Avenue, NW
 Washington, DC 20530-0001;

                Defendants.


                                        INTRODUCTION

       1.      This complaint challenges the Executive Order entitled “Protecting the Meaning

and Value of American Citizenship,” which purports to end birthright citizenship in the United

States for the children of many immigrants living and working in the United States.

       2.      The Executive Order is a flagrant violation of the Fourteenth Amendment, a

federal statute, and the history underlying the text of those enactments, all of which guarantee the

fundamental right to citizenship for all children born in the United States. The President has no

unilateral authority to override rights recognized in the Constitution or in federal statutes.

       3.      Founded as a nation of immigrants, the United States of America has always

recognized the common-law principle of jus soli (or “right of the soil”), under which children

born in the United States, whether to citizen or noncitizen parents, are United States citizens


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from birth. The principle of birthright citizenship is a foundation of our national democracy, is

woven throughout the laws of our nation, and has shaped a shared sense of national belonging

for generation after generation of citizens.

       4.      Although the nation departed from the principle of jus soli in Dred Scott v.

Sandford, 60 U.S. (19 How.) 393 (1857), denying citizenship to African-Americans born in the

United States, the people of this country ratified the Fourteenth Amendment to right that wrong

and express the nation’s commitment to the principle of birthright citizenship for all. Section 1 of

the Fourteenth Amendment therefore begins, “All persons born or naturalized in the United

States, and subject to the jurisdiction thereof, are citizens of the United States and of the state

wherein they reside.” By enshrining the guarantee of birthright citizenship in the Constitution,

the people of this country ensured that citizenship could not be withheld from disfavored classes

of native-born persons by mere legislation or executive action. The President has no power to

eliminate a right guaranteed by the Constitution.

       5.      The 14th Amendment’s language is clear. Over a century ago, the U.S. Supreme

Court confirmed that the Fourteenth Amendment’s Citizenship Clause means that people born in

the United States are U.S. citizens at birth without regard to their immigration status, except for

children born to foreign diplomats, on foreign ships, to occupying armies, or to Indian tribes. 1

See United States v. Wong Kim Ark, 169 U.S. 649, 693 (1898). The Court has adhered to that

understanding time and again in the ensuing decades.

       6.      Congress has reaffirmed and implemented the Fourteenth Amendment’s

guarantee by codifying birthright citizenship into a federal statute, which, in its current form,



1
 Congress has overridden the last of these exceptions by statute, extending territorial birthright
citizenship to all Native Americans. See Act of June 2, 1924, ch. 233, 43 Stat. 253 (current
version at 8 U.S.C. § 1401(b)).

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reiterates that everyone “born in the United States and subject to the jurisdiction thereof” “shall

be nationals and citizens of the United States at birth.” 8 U.S.C. § 1401(a). The President has no

power to unilaterally abrogate an Act of Congress.

        7.      The Executive Order violates this long-settled law. It denies citizenship to

children born to mothers whose presence in the country is either “unlawful[]” or “lawful but

temporary” and whose father is neither a citizen nor a lawful permanent resident, even though

those children are plainly “subject to the jurisdiction” of the United States and entitled to

citizenship by birth.

        8.      Organizational Plaintiffs are two membership-based immigrants-rights

organizations, CASA, Inc. (“CASA”) and Asylum Seeker Advocacy Project (“ASAP”), whose

members include noncitizens who reside in the United States, who have immigration statuses

covered by the Executive Order, and who are either pregnant or plan to have children while they

are living within the United States (collectively, “Members”).

        9.      Individual Plaintiffs are two members of CASA, Maribel and Juana; two members

of ASAP, Trinidad Garcia and Monica; and one additional individual, Liza. All five Individual

Plaintiffs are pregnant, reside in the United States, and fear that their children will be denied

United States citizenship under the Executive Order based on their immigration status and that of

their children’s fathers.

        10.     The Executive Order will cause immediate and irreparable harm to Individual

Plaintiffs and Members. Every day, babies are being born in the United States whose

constitutionally guaranteed citizenship will be called into doubt under the Executive Order.

These include many babies whose parents are Members of ASAP or CASA. Indeed, thousands of

Members will give birth to children in the United States in the coming months. Those children




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will be born in the United States and will be subject to its jurisdiction. They will therefore be

entitled to citizenship under the Fourteenth Amendment and 8 U.S.C. § 1401(a) regardless of

their parents’ immigration status.

        11.     “Citizenship is a most precious right.” Kennedy v. Mendoza-Martinez, 372 U.S.

144, 159 (1963). “It would be difficult to exaggerate [the] value and importance” of United

States citizenship. Schneiderman v. United States, 320 U.S. 118, 122 (1943). Citizenship

signifies that a person is a full member of the United States community and is entitled to all of

the privileges, benefits, and freedoms that citizenship guarantees. As citizens, individuals born in

the United States enjoy an unqualified right to enter and remain in their homeland. Moreover,

citizens are ensured the opportunity to pursue the American dream and participate fully in the

civic and political life of the United States. They are allowed to vote, travel under a United States

passport, hold certain public offices, and qualify for many public benefits that noncitizens do not.

        12.     If allowed to go into effect, the Executive Order would throw into doubt the

citizenship status of thousands of children across the country, including the children of

Individual Plaintiffs and Members. The Executive Order threatens these newborns’ identity as

United States citizens and interferes with their enjoyment of the full privileges, rights, and

benefits that come with U.S. citizenship, including calling into question their ability to remain in

their country of birth.

        13.     That deprivation of the benefits of citizenship is a grave injury not only to those

children but to their entire families, who will be directly harmed by the denial of the benefits of

citizenship to their children. The children deprived of citizenship have no status or right to

remain in the United States with their family, even as their older siblings will often be United

States citizens and as their parents will often be authorized to live in the United States. Indeed,




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these children may not have access to citizenship in any country, leaving them stateless, living

forever at the temporary sufferance of wherever they find themselves.

       14.     Parents will face significant harm, including increased stress and anxiety that

comes from the U.S. government treating their children differently from other U.S.-born

children, and from the prospect of their children facing statelessness and an uncertain fate in the

land of their birth. Immigrant parents, including those who cannot be deported because of a

pending asylum claim or other immigration application, will also face the reality that their U.S.

born child could be subject to deportation.

       15.     This country would, in literal terms, be poorer for the elimination of birthright

citizenship to the covered children. Research shows that birthright citizenship has contributed to

economic growth and prosperity in the United States.

       16.     Plaintiffs therefore seek a declaration that the Fourteenth Amendment and 8

U.S.C. § 1401(a) protect the right to birthright citizenship and that the constitutional guarantee of

birthright citizenship cannot be eradicated by Executive Order, as well as a preliminary and

permanent injunction prohibiting Defendants from implementing the Executive Order to deny

any child born in the United States the benefits of their constitutionally guaranteed birthright

citizenship.

                                 JURISDICTION AND VENUE

       17.     The Court has jurisdiction under the United States Constitution and 28 U.S.C.

§§ 1331 and 1346.

       18.     Venue is proper in this District under 28 U.S.C. § 1391(e) and in this division

because Defendants are officers and employees of the United States or an agency thereof acting

in their official capacities, Plaintiff CASA has its principal place of business in this division and




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District, a Defendant resides in this division and District, and a substantial part of the events or

omissions giving rise to this action are occurring in this division and District.

                                             PARTIES

       19.     Plaintiff CASA, Inc. (“CASA”) is a nonprofit membership organization

headquartered in Prince George’s County, Maryland, with offices in Maryland, Virginia,

Pennsylvania, and Georgia. Founded in 1985, CASA is the largest membership-based immigrant

rights organization in the mid-Atlantic region, with more than 175,000 members. Many of

CASA’s members have children who were born in the United States, and many plan to grow

their families in the future while living in the United States.

       20.     CASA’s mission is to create a more just society by building power and improving

the quality of life in working-class Black, Latino/a/e, Afro-descendent, Indigenous, and

immigrant communities. In furtherance of this mission, CASA offers a wide variety of social,

health, job training, employment, and legal services to immigrant communities in Maryland,

Washington, D.C., Virginia, Pennsylvania, and Georgia, as well as a more limited suite of

remote services to Members across the United States.

       21.     In order to become a CASA member, an individual must apply for membership,

pay dues (or have the dues requirement waived), and subscribe to the principles of CASA. A

CASA member shares CASA’s values, envisions a future where we can achieve full human

rights for all, and is convinced that, when united and organized, we can create a more just society

by building power in working- class and immigrant communities. CASA members play an

important role in deciding what campaigns CASA works on and how CASA serves the

community.




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       22.     CASA provides comprehensive services to its members, including a public

benefits outreach and enrollment program that assists community members with understanding

and enrolling in various government aid and health insurance programs. CASA also counsels

members who are seeking to become U.S. citizens, including through citizenship education,

mentoring and interview preparation, application assistance, and post-naturalization support. And

CASA provides free legal consultation to its members regarding, among other topics,

immigration matters.

       23.     CASA members have the opportunity to obtain a CASA ID. This is a physical,

picture identification card that contains basic information about the member. For many members,

this card may be the only type of picture identification they have, other than documents from

their home country. In certain jurisdictions, CASA IDs are recognized for the purposes of

engaging with certain government agencies, including the police.

       24.     Although CASA does not issue formal membership directly to individuals under

15 years of age, CASA routinely provides services to youth and their families.

       25.     CASA’s membership includes many individuals who are pregnant or planning to

give birth, and whose U.S.-born children would be denied U.S. Citizenship under the Executive

Order. The following are illustrative examples of such CASA members, who are identified in

CASA’s declaration and in this complaint using pseudonyms.

       26.     Marta is a CASA member who lives in Maryland and is currently three months

pregnant. Both Marta and the father of her unborn child are undocumented. Marta came to the

United States from Guatemala seeking a better future and opportunity. When she found out that

she was pregnant, she envisioned the life that her unborn child would have, free from the

hardships she experienced in Guatemala. Marta deeply understands how important being a




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citizen of the United State is, and although she is not currently able to adjust her status in this

country, she took solace from the fact that her child would be born a U.S. citizen. She wants her

child to be born happy and healthy, and with the opportunity to access a quality education, and

believes that the best chance for her child’s future is if her child is considered a U.S. citizen upon

birth.

         27.    Adelina is a CASA member living in Maryland who has been in the United States

for seven years and is currently six months pregnant. Both Adelina and her partner are currently

undocumented. Adelina has one other child, who was born in the United States and is a U.S.

citizen. She wants her unborn child to have the same rights and opportunities that she has seen

her five-year-old child enjoy in this country. It pains her to think that one of her children will

have more benefits than the other, even though they were both born here. She is concerned that if

her unborn child is not considered a United States citizen, they will experience significant

hardship and not have the same opportunity as their sibling.

         28.    Rita is a CASA member who lives in Maryland and has been in the United States

for five years. Both Rita and her partner are currently undocumented. Rita is seven months

pregnant with her first child and she thanks God that her child will be born here. If her child were

born in Rita’s home country of Guatemala, they would not have access to a good education,

adequate healthcare or other basic services. It would be a struggle just to survive, without any

realistic prospect of a brighter future. In light of the Executive Order, Rita fears that her first

child will face more hardship, unable to access their full rights as a U.S. citizen. Rita herself was

deeply impacted by the Coronavirus pandemic and she doesn’t want her child to go through the

pain and struggles that she has endured. It is important to her that her child is fully recognized as

a citizen of the U.S. so they can receive the benefits they deserve.




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        29.     Georgina is a CASA member currently living in Maryland and originally from El

Salvador. She is two months pregnant. Georgina has lived in the United States for six years, but

neither she nor the father of her unborn child have lawful immigration status. She is a single

mother, with very limited financial resources and is fearful that if her unborn child isn’t granted

the benefits of U.S. citizenship she won’t be able to support the baby. Georgina fears that her

child will not have access to good food and quality education in the same way her two other

children born in the United States will. Georgina is also afraid that her child will be subject to

discrimination, because she has seen how noncitizens are treated poorly in this country.

        30.     Andrea is a CASA member originally from Mexico, who lives in Georgia and is

currently pregnant, expecting to give birth in late mid-March. Andrea wants her future child to

enjoy the full dignity of citizenship in the United States and fears that they will be denied

educational opportunities and suffer from a lack of opportunity if they are denied citizenship.

Andrea dreams that her children will lead a better life in the United States, a country she has long

viewed as a land of opportunity. Andrea is currently in removal proceedings and neither she nor

the father of her child have lawful immigration status. As an immigrant, Andrea is looking for a

better life for her children, and came here because the United States is a country of opportunity.

She is thankful for this country for giving her opportunities that she never would have had in

Mexico, and only asks that her children are given the opportunities that they are entitled to by the

constitution.

        31.     Plaintiff Asylum Seeker Advocacy Project (“ASAP”) is a nonprofit organization

headquartered in New York, New York. ASAP is the largest membership organization of asylum

seekers in the United States, with over 680,000 members from more than 175 countries who

reside in all 50 U.S. states and several U.S. territories.




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       32.    ASAP is a national voluntary membership-based 501(c)(3) nonprofit organization

incorporated in New York. ASAP’s mission is to help its members—individuals seeking

asylum—to build a more welcoming United States. ASAP provides members with community

and legal support and advocates for nationwide systemic reform based on the priorities identified

by its membership.

       33.    Asylum seekers apply to join ASAP by filling out a voluntary online membership

form. ASAP welcomes new members who are asylum seekers age 14 or over who believe in

ASAP’s mission.

       34.    ASAP issues each member a digital membership card and member ID that they

can use to identify themselves to ASAP and access the full range of member benefits.

       35.     Although ASAP does not issue separate membership cards to anyone under the

age of 14, the benefits of ASAP membership also extend to the children of ASAP members as

derivative of their parents’ membership.

       36.    ASAP’s members have fled persecution to seek safe haven in the United States.

Most members have applied for asylum in accordance with federal law. Federal law provides

that immigrants with a pending asylum application are not subject to removal while their claims

are pending. Many ASAP members have access to a Social Security number and are authorized

to work, for example, because they are waiting for their asylum application to be processed, have

already won asylum, have Temporary Protected Status, have a pending green card application, or

have other pending immigration applications.

       37.     Many of ASAP’s members have children who were born in the United States, and

many plan to have children while they are living in the United States. Hundreds or even

thousands of ASAP members will give birth to children in the United States over the coming




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weeks and months, and the Executive Order threatens the citizenship status of these U.S.-born

children. The following are a few illustrative examples of members who will be harmed by the

Executive Order. ASAP’s members are identified using pseudonyms (or using only part of their

full names).

       38.     Dina is an ASAP member living in Washington State. She is pregnant and due in

July of 2025. She and her partner are both from Kenya, and they are seeking asylum in the

United States. Diana and her partner have been living in the United States since 2018. Diana

came to the United States on a student visa, then applied for asylum affirmatively with USCIS.

She and her partner have been working legally in the United States for more than 5 years. Diana

has a degree in cybersecurity and works as an IT manager. Her partner works for the county

government as an IT Specialist. She and her partner are worried that their child will not be able

to receive U.S. citizenship. Being an immigrant in the United States has been very stressful for

Diana and her partner, and they do not want their son to go through the same struggles they have

had to go through.

       39.     Niurka is an ASAP member living in Florida. She is pregnant and due in March

of 2025. Niurka and her partner are both from Cuba, and they are currently seeking asylum in the

United States. They crossed the Mexico-U.S. border, and were placed in deportation proceedings

before the U.S. immigration courts. Niurka and her partner have a pending asylum application

and a pending lawful permanent residency application under the Cuban Adjustment Act. Niurka

was a medical doctor in Cuba, but she is not working at this time. Her partner studied food

science and was a biopharmacist in Cuba. He is now a food safety and quality assurance manager

in the food production industry. She and her partner are very worried their child will not receive

U.S. citizenship when he is born. They want their son to achieve success in the United States and




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worry about how not receiving citizenship at birth will impact his future. Niurka and her partner

have no intention of ever going back to Cuba because of the dictatorship, would never want their

child to be a Cuban citizen, and do not want their child to ever have to set foot in Cuba. If he is

denied U.S. citizenship, they are worried that their son would be in a state of limbo and would

not have citizenship from any country.

       40.     Nivida is an ASAP member living in Louisiana. She is pregnant and due in April

of 2025. Nivida is from Honduras and sought asylum in the United States in 2020. She had filed

her asylum application with the U.S. immigration courts. However, her case was recently

dismissed. Nivida’s partner is from Mexico, and he has an application pending for a U-visa.

Nivida and her partner believe it is very important that their child becomes a U.S. citizen at birth.

If their child does not have U.S. citizenship at birth, Nivida and her partner are afraid of him

having to live in either Honduras or Mexico because they fear violence and persecution in both

countries. Nivida and her partner worry about their son’s future if he is not a birthright citizen of

the United States, and how it could change his life trajectory, his development, and the

educational opportunities afforded to him. Nivida and her partner’s daughter has U.S. citizenship

from birth already, which also means their son would have a different status than his sister,

despite both of them being born in the United States.

       41.     Lesly is an ASAP member living in New Jersey. She is pregnant and due in July

of 2025. She crossed at the Mexico-U.S. border using the CBP One app, and subsequently

applied for asylum in the U.S. immigration courts. Her next hearing is not until 2028. Lesly has

worked as a cleaner in the U.S. and has a work permit. Neither Lesly nor her partner are U.S.

citizens or lawful permanent residents. Lesly and her partner want to apply for their child’s U.S.

passport as soon as possible, but they are worried their child will not receive U.S. citizenship.




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They are concerned that without birthright citizenship, their child will not have as many

opportunities—either educational or professional. Lesly is very stressed because she is not sure if

she is going to have to start a U.S. immigration process for her child who will be born in the

United States. Lesly is worried because an immigration attorney could cost a lot of money, and

she does not know if she would have to hire an immigration attorney or pay application fees.

       42.       Nohelimar is an ASAP member living in California. She is pregnant and due in

March of 2025. She and her partner came to the United States seeking safe haven. Nohelimar’s

partner has applied for asylum, but she has not been able to yet. Nohelimar studied criminalistics

abroad, but she is not working because she has not yet received her work permit. Nohelimar and

her partner are worried that their child will not be able to receive U.S. citizenship. Nohelimar

believes that if her son becomes a U.S. citizen, he will have a better future. If he is denied U.S.

citizenship, she is confused and scared about what the process would be for her to get her son

citizenship from any other country, and she would be worried about her son’s future in the

United States.

       43.       Adriana is an ASAP member living in New York. She is pregnant and due in

March of 2025. Adriana and her partner are both currently seeking asylum in the United States.

They came to the United States as tourists, and subsequently applied for asylum with USCIS.

Adriana has previously worked as an administrative and finance assistant abroad, but she is not

currently working because she had a difficult pregnancy. Adriana’s partner works as a driver for

a company that handles transportation for senior citizens and children. Adriana and her partner

are worried that their daughter will face discrimination in the United States if she is not made a

U.S. citizen at birth. Adriana is using a pseudonym. She brings this lawsuit on behalf of herself

and her future child.




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       44.     CASA and ASAP bring this suit to vindicate the interests of their members and

the U.S.-born children their members will have over the upcoming weeks, months, and years.

       45.     Plaintiff Maribel is a CASA member who has lived in the U.S. for 18 years and

resides in Prince George’s County, Maryland. She is currently pregnant, expecting to give birth

in July of 2025. She lives with her husband and two young U.S. citizen daughters, who are 14

and 10 years old. She is an immigrant from El Salvador who was born in Guatemala. She is

undocumented despite having lived in the U.S. for nearly half her life. Her husband is also

undocumented. She fears her unborn child will not have the same rights to citizenship as the

future child’s older sisters, and could even be subject to deportation, separating the family. She is

afraid that her child won’t have access to healthcare because they won’t be eligible for federal

benefits. She feels it is deeply wrong to subject an innocent newborn to such cruelty. Maribel is

using a pseudonym. She brings this lawsuit on behalf of herself and her future child.

       46.     Plaintiff Juana is a CASA member who resides in Montgomery County,

Maryland. She is a native of Colombia. She moved the United States after fleeing from

Colombia and has a pending asylum claim. Her 12-year-old daughter is also in the United States

and is a derivative on her petition for asylum. She is currently two months pregnant. She is

worried that her child will be born without a country as a result of the Executive Order, since she

is afraid to return to Colombia. She wants her unborn child to be able to grow up without fear

and with a sense of belonging in the United States. The thought that her unborn child could be

denied U.S. citizenship and deported to Colombia without her is terrifying. It is important to her

that her unborn child be a U.S. citizen so they can have a better quality of life and fully engage

with all that the United States has to offer. She wants her child to have educational opportunities

and to be a good person who serves their country and community. She does not think it makes




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sense for her child to be denied the benefits of citizenship they deserve once they are born in the

U.S. Juana is using a pseudonym. She brings this lawsuit on behalf of herself and her future

child.

         47.   Plaintiff Trinidad Garcia is an ASAP member living in North Carolina. She is

pregnant and due in August of 2025. She and her partner are both from Venezuela, and they have

been living in the United States since 2017. She and her partner came to the United States on a

tourist visa. They have a pending affirmative asylum application with USCIS, and have not been

given an appointment for an interview in their case yet. She and her partner both have work

permits, and they have been working in their local community. She graduated with a degree in

business administration in Venezuela, and she worked in human resources before coming to the

United States. Upon arriving in the United States, Trinidad Garcia began to clean homes. She has

since started her own home cleaning business. Her partner was an environmental engineer in

Venezuela, but he now works in the U.S. as a technician to restore stone, tile, and grout in home

remodels. Trinidad Garcia and her partner are worried that there is no way for them to approach

the Venezuelan government regarding their child’s citizenship because there are no Venezuelan

consular services in the United States. They believe it would be impossible to get their child

Venezuelan citizenship. Because of that, both Trinidad Garcia and her partner want to get their

child a U.S. passport and proof of U.S. citizenship as soon as possible, but they are worried their

child will not be able to receive U.S. citizenship. If their U.S.-born child is not able to get U.S.

citizenship at birth, Trinidad Garcia is very stressed that their child will not be a citizen of any

country or be able to get important identity documents. She is worried that they will have to

apply for asylum for their child, is confused about what the process would like, and is worried

that they will have to hire someone to help them pay the government for application fees, which




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could cost them a significant amount of money. Trinidad Garcia is using a pseudonym. She

brings this lawsuit on behalf of herself and her future child.

        48.     Plaintiff Monica is an ASAP member living in South Carolina. She is pregnant

and due in August of 2025. She and her partner are both originally from Venezuela, and they

both have Temporary Protected Status (TPS) as well as a pending affirmative asylum application

with USCIS. They have been in the United States since 2019. Maria is a trained medical doctor

who is seeking to validate her medical degree in the United States. She is worried that it would

be next to impossible to get her child Venezuelan citizenship even if she tried. Because of that,

both Maria and her partner want to get their child a U.S. passport and proof of U.S. citizenship as

soon as possible, but they are worried their child will not be able to receive U.S. citizenship. If

that happens, they are very concerned that their child will not be a citizen of any country. Monica

is using a pseudonym. She brings this lawsuit on behalf of herself and her future child.

        49.     Plaintiff Liza is married to an ASAP member, Igor, and lives in Texas. Liza is

expecting a child in May of 2025. Liza and Igor are from Russia. Igor applied for asylum with

the U.S. immigration courts. Liza came to the United States on a student visa and is receiving her

master’s degree. Liza and Igor want to apply for their child’s U.S. passport as soon as possible,

but they are worried their child will not receive U.S. citizenship. Neither Liza nor Igor feel they

can return to Russia without being persecuted, and they therefore do not feel they can apply for

Russian citizenship for their child. Because of that, Liza and Igor are worried their child will be

stateless. She brings this lawsuit on behalf of herself and her future child.

        50.     Defendant Donald J. Trump is the President of the United States. He is sued in his

official capacity.




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       51.     Defendant Secretary of the U.S. Department of State (“Secretary of State”) is the

official exercising the power of the head of the federal agency responsible for, among other

things, issuing passports to U.S. citizens. Defendant Secretary of State is sued in their official

capacity. The Department of State is an executive department of the United States Government,

headquartered in Washington, D.C.

       52.     Defendant Attorney General of the United States (“Attorney General”) is the head

of the United States Department of Justice and is the chief law enforcement officer of the federal

government. Among other things, Defendant Attorney General is responsible for adjudicating

immigration cases. Defendant Attorney General is sued in their official capacity. The

Department of Justice is an executive department of the United States Government,

headquartered in Washington, D.C.

       53.     Defendant Secretary of the U.S. Department of Homeland Security (“Secretary of

DHS”) is the official exercising the power of the head of the federal agency responsible for,

among other things, naturalization of potential U.S. citizens and enforcement of immigration

laws against those in the country without authorization. Defendant Secretary of DHS is sued in

their official capacity. DHS is an executive department of the United States Government,

headquartered in Washington, D.C.

       54.     Defendant Director of the U.S. Citizenship and Immigration Services (“Director

of USCIS”) is the official exercising the power of the head of the federal sub-agency within DHS

responsible for, among other things, granting applications for naturalization. Defendant Director

of USCIS is sued in their official capacity. USCIS is a sub-agency of DHS, headquartered in

Camp Springs, MD.




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        55.     Defendant Commissioner of the Social Security Administration (“SSA”) is the

official exercising the power of the head of the federal agency responsible for, among other

things, issuing social security numbers. Defendant Commissioner of SSA is sued in their official

capacity. SSA is an agency of the United States Government, headquartered in Baltimore, MD.

        56.     Defendant United States of America is the sovereign whose power is delineated

by the United States Constitution. Although in violation of federal law, Defendants’ actions as

described in this complaint were taken under color of the United States’ authority.

                                                FACTS

                                         Legal Background

        57.     “Citizenship is a most precious right.” Mendoza-Martinez, 372 U.S. at 159. It is a

“cherished status” that “carries with it the privilege of full participation in the affairs of our

society.” Knauer v. United States, 328 U.S. 654, 658 (1946).

        58.     Under the ancient common-law principle of jus soli (or “right of the soil”), “every

child born in England of alien parents was a natural-born subject, unless the child of an

ambassador or other diplomatic agent of a foreign State, or of an alien enemy in hostile

occupation of the place where the child was born.” Wong Kim Ark, 169 U.S. at 658.

        59.     After the Constitution’s adoption, the United States continued to follow “the

established rule of citizenship by birth within the United States.” Id. at 660. This was so

regardless of whether a child was born of United States citizens or “of foreign parents.” Id. at

674. The Supreme Court’s decision in Dred Scott v. Sandford, 60 U.S. (19 How.) 393 (1857),

holding that African-Americans were ineligible to become citizens of the United States,

represented a notable and ultimately much-reviled departure from the principle of jus soli.




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       60.     Following the Civil War, Congress sought to repudiate forever the logic of Dred

Scott and guarantee that the citizenship of people born in the United States would never be

dependent on political whims. Recognizing that “an ordinary act of legislation” would not be

sufficient to ensure that “so important a declaration of rights” be preserved indefinitely, Congress

wrote birthright citizenship into the Fourteenth Amendment. Wong Kim Ark, 169 U.S. at 675; see

also James C. Ho, Defining “American,” 9 Green Bag 2d 359, 360, 368 (2006) (noting attempts

to undermine birthright citizenship and observing “Dred Scott II could be coming soon to a

federal court near you.”).

       61.     Section 1 of the Fourteenth Amendment opens with the guarantee that “[a]ll

persons born . . . in the United States, and subject to the jurisdiction thereof,” are U.S. citizens at

birth. U.S. Const. amend. XIV, § 1 (“Citizenship Clause”). This Amendment reaffirmed “the

fundamental rule of citizenship by birth within the dominion of the United States,

notwithstanding alienage of parents,” Wong Kim Ark, 169 U.S. at 688, doing so in “the most

explicit and comprehensive terms,” id. at 675.

       62.     By enshrining this protection in the Constitution with such clear language, the

framers “put citizenship beyond the power of any governmental unit to destroy.” Afroyim v.

Rusk, 387 U.S. 253, 263 (1967). The Fourteenth Amendment recognizes the sanctity of

citizenship and acknowledges that “[t]he very nature of our free government makes it completely

incongruous to have a rule of law under which a group of citizens temporarily in office can

deprive another group of citizens of their citizenship.” Id. at 268. In light of the Fourteenth

Amendment, the government has “no authority . . . to restrict the effect of birth, declared by the

constitution to constitute a sufficient and complete right to citizenship.” Wong Kim Ark, 169 U.S.

at 703. Never again would the government be permitted to discriminate against disfavored




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classes in deciding which children born in the United States are entitled to citizenship. Absent a

constitutional amendment, Dred Scott would never again be the law.

       63.     The only condition placed on this right of citizenship is that the person be “subject

to the jurisdiction” of the United States. At the time the Fourteenth Amendment was adopted,

“subject to the jurisdiction” was a commonly used phrase with “a clear meaning and scope.”

Michael D. Ramsey, Originalism and Birthright Citizenship, 109 Geo. L.J. 405, 437-40 (2020)

(collecting sources). And nearly everyone present in a sovereign’s territory, including

noncitizens, is subject to that sovereign’s power of “governing or legislating,” entitled to that

sovereign’s protection, and thus “subject to the jurisdiction” of that sovereign. Id.; accord, e.g.,

1 Blackstone’s Commentaries on the Laws of England 357 (1st ed. 1765) (“Natural allegiance is

such as is due from all men born within the king’s dominions immediately upon their birth. For,

immediately upon their birth, they are under the king’s protection; at a time too, when (during

their infancy) they are incapable of protecting themselves.”).

       64.     For centuries before the 14th Amendment was enacted, “beginning before the

settlement of this country, and continuing to the present day, aliens, while residing in the

dominions possessed by the crown of England, were within the allegiance, the obedience, the

faith or loyalty, the protection, the power, and the jurisdiction of the English sovereign; and

therefore every child born in England of alien parents was a natural-born subject.” Wong Kim

Ark, 169 U.S. at 658 (collecting sources). The Citizenship Clause preserved this ancient

understanding as a constitutional promise.

       65.     Consistent with this history and language, the U.S. Supreme Court held in Wong

Kim Ark that all persons born within the territorial United States are citizens of this Nation from

the moment of birth—regardless of their parents’ citizenship status—unless they fit into a




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historically recognized exception: (1) “foreign sovereigns or their ministers,” (2) noncitizens

serving on a “foreign public ship[],” (3) “enemies within and during a hostile occupation of part

of our territory,” or (4) “children of members of the Indian tribes owing direct allegiance to their

several tribes.” Wong Kim Ark, 169 U.S. at 693. These children, and these children alone, were

not “subject to the jurisdiction” of the United States despite being born within its territory.

        66.     The Court specifically rejected the view that children must be subject to the

jurisdiction only of the United States in order to enjoy territorial birthright citizenship. See id. at

693 (“Every citizen or subject of another country, while domiciled here, is within the allegiance

and the protection, and consequently subject to the jurisdiction, of the United States.”); id. at 694

(denying that the Fourteenth Amendment “excludes from citizenship the children, born in the

United States, of citizens or subjects of other countries”).

        67.     In addition to enshrining the principle of birthright citizenship, Section 1 of the

Fourteenth Amendment also prohibits each state from “deny[ing] to any person within its

jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1. The Supreme Court

has clarified that any person deemed to be “within [the] jurisdiction” of a state for purposes of

the Equal Protection Clause is necessarily “subject to the jurisdiction” of the United States for

purposes of the Citizenship Clause. See Wong Kim Ark, 169 U.S. at 687 (“It is impossible . . . to

hold that persons ‘within the jurisdiction’ of one of the States of the Union are not ‘subject to the

jurisdiction of the United States.’”).

        68.     In Plyler v. Doe, 457 U.S. 202 (1982), the Court held that undocumented aliens

are “within [the] jurisdiction” of any state in which they are physically present. “That a person’s

initial entry into a State, or into the United States, was unlawful . . . cannot negate the simple fact

of his presence within the State’s territorial perimeter.” Id. at 215. “Given such presence,” the




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Court explained, “he is subject to the full range of obligations imposed by the State’s civil and

criminal laws.” Id. In short, “no plausible distinction with respect to Fourteenth Amendment

‘jurisdiction’ can be drawn between resident aliens whose entry into the United States was

lawful, and resident aliens whose entry was unlawful.” Id. at 211 n.10; see also The Japanese

Immigrant Case, 189 U.S. 86, 101 (1903) (explaining that an alien who allegedly entered the

United States unlawfully “bec[a]me subject in all respects to its jurisdiction”); Yick Wo v.

Hopkins, 118 U.S. 356, 369 (1886) (concluding that the Equal Protection Clause protects “all

persons within the territorial jurisdiction” of a state).

        69.     Regardless of the immigration status of their parents, children born in the United

States are undoubtedly “subject to the jurisdiction of the United States” at the moment of their

birth. Both federal and state governments today extend to children born in the United States—as

well as their parents while physically present in the United States—the equal protection of the

laws and assert regulatory authority over them. E.g., 1 U.S.C. § 8 (clarifying that the use of the

term “person” in “any Act of Congress, or of any ruling, regulatory, or interpretation of the

various administrative bureaus and agencies of the United States” “shall include every infant

member of the species homo sapiens who is born alive”); see also Executive Order 13952,

Protecting Vulnerable Newborn and Infant Children, 85 Fed. Reg. 62187 (Sept. 25, 2020)

(“Every infant born alive, no matter the circumstances of his or her birth, has the same dignity

and the same rights as every other individual and is entitled to the same protections under

Federal law.”); Md. Code Ann., Health-Gen. § 13-111 (providing for screening of newborns);

Md. Code Ann., Fam. Law § 9.5-201 (providing that courts have authority to determine custody

of children living in the state); Md. Code Ann., Fam. Law § 5-525 (providing for care of children

when parents are unable to do so).




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       70.     Many other Supreme Court decisions have reiterated the understanding of the

Fourteenth Amendment that persons born in the United States of noncitizen parents nonetheless

attain citizenship at birth. See, e.g., Weedin v. Chin Bow, 274 U.S. 657, 670 (1927) (explaining

that “one born in the United States” becomes “a citizen of the United States by virtue of the jus

soli embodied in the [Fourteenth] Amendment”); Hirabayashi v. United States, 320 U.S. 81, 96

(1943) (noting tens of thousands of Americans of Japanese descent were “citizens because [they

were] born in the United States”); United States ex rel. Hintopoulos v. Shaughnessy, 353 U.S. 72,

73 (1957) (noting that a child born in the United States was “of course, an American citizen by

birth,” despite his parents’ “illegal presence”); INS v. Rios-Pineda, 471 U.S. 444, 446 (1985)

(noting a “child, who, born in the United States, was a citizen of this country,” even though

parents had “enter[ed] . . . without inspection”).

       71.     The same is true of Fourth Circuit decisions. See United States v. Carvalho, 742

F.2d 146, 148 (4th Cir. 1984) (describing a child as “a United States citizen by virtue of her birth

in the United States”); Herrera v. Finan, 709 F. App’x 741, 743 (4th Cir. 2017) (explaining that

the plaintiff “was born in the United States and, thus, is a United States citizen”).

       72.     A federal statute, 8 U.S.C. § 1401(a), safeguards birthright citizenship in language

closely resembling that of Section 1 of the Fourteenth Amendment. Section 1401(a) provides that

“a person born in the United States, and subject to the jurisdiction thereof,” is a “citizen[] of the

United States at birth.” This longstanding statutory provision traces its origins to the Civil Rights

Act of 1866 and was re-enacted as Section 301(a) of the Immigration and Nationality Act of

1952 (the INA), against the backdrop of Wong Kim Ark and the consensus interpretation it

engendered. See, e.g., S. Rep. 1137, 82d Cong., 2d Sess. 39 (1952) (“All persons born in the

United States, including Alaska, Hawaii, Puerto Rico, the Virgin Islands of the United States,




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and Guam, and subject to the jurisdiction of the United States, are citizens at birth. The only

exceptions are those persons born in the United States to alien diplomats.”). Section 1401(a)

therefore incorporates the meaning of Section 1’s Citizenship Clause expressed in Wong Kim Ark

and subsequent decisions.

       73.     The assumption of birthright citizenship permeates federal regulatory law as well,

treating proof of birth in the United States as sufficient to establish United States citizenship.

For example, the Social Security Administration assigns social security numbers upon proof of

U.S. citizenship, which can be established “by submitting a birth certificate or other evidence . . .

that shows a U.S. place of birth.” 20 C.F.R. § 422.107(d). The Department of State issues

passports to U.S. Citizens, a status that can be proved with evidence that the applicant was born

in the United States. 22 C.F.R. § 51.42. An employee can establish their authorization to work in

the United States by providing “An original or certified copy of a birth certificate issued by a

State, county, municipal authority or outlying possession of the United States bearing an official

seal.” 8 C.F.R. § 274a.2(c)(3). Numerous other provisions throughout the Code of Federal

Regulations similarly provide that proof of birth in the United States is sufficient evidence to

establish United States citizenship. E.g., 8 C.F.R. § 322.3(b)((iv) (providing that an United States

citizen parent seeking to establish citizenship for a child not born in the United States can

establish the parent’s citizenship by providing the parent’s birth certificate.); 20 C.F.R.

§ 416.1610(a) (“You can prove that you are a citizen or a national of the United States by giving

us (1) A certified copy of your birth certificate which shows that you were born in the United

States.”); 28 C.F.R. § 105.11(a)(2) (providing that a “birth certificate” that “establish[es] that the

person was born in the United States” is “proof of Untied States citizenship or nationality” for

purposes of aviation security screening); 33 C.F.R. § 125.23(a) (providing that a birth certificate




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is most desirable proof of U.S. citizenship for purposes of obtaining a Coast Guard Port Security

Card).

                                      The Executive Order

         74.   On January 20, 2025, President Trump signed an Executive Order entitled

“Protecting the Meaning and Value of American Citizenship.”

         75.   The Executive Order declares that “the privilege of United States citizenship does

not automatically extend to persons born in the United States” when the person’s mother “was

unlawfully present in the United States” or when the mother’s presence “was lawful but

temporary (such as, but not limited to, visiting the United States under the auspices of the Visa

Waiver Program or visiting on a student, work, or tourist visa),” unless the child’s father was a

United States citizen or lawful permanent resident at the time of the person’s birth. Order § 1.

         76.   The Executive Order provides that, starting with children born 30 days after the

date on which the Order was signed (i.e., starting with children born February 19, 2025), “no

department or agency of the United States government shall issue documents recognizing United

States citizenship, or accept documents issued by State, local, or other governments or authorities

purporting to recognize United States citizenship” to persons denied citizenship under the

Executive Order. Id. § 2.

         77.   The Executive Order further directs the Secretary of State, the Attorney General,

the Secretary of Homeland Security, and the Commissioner of Social Security to “take all

appropriate measures to ensure that the regulations and policies of their respective departments

and agencies are consistent with this order, and that no officers, employees, or agents of their

respective departments and agencies act, or forbear from acting, in any manner inconsistent with

this order.” Id. § 3. And the Order directs the heads of all executive departments and agencies to




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“issue public guidance . . . regarding this order’s implementation with respect to their operations

and activities.” Id. § 3.

                                         Effects of the Order

        78.     The Executive Order will have a devastating and chaotic impact.

        79.     To begin, the Executive Order calls into question the citizenship of countless

babies born every day in the United States, thrusting their entire families into turmoil.

        80.     As the Executive Order itself notes, “United States citizenship is a priceless and

profound gift.” Order § 1. Loss of citizenship may represent “the total destruction of the

individual’s status in organized society,” Trop v. Dulles, 356 U.S. 86, 102 (1958) (plurality); see

also id. at 124 (Frankfurter, J., dissenting) (“Loss of citizenship entails undoubtedly severe—and

in particular situations even tragic—consequences.”).

        81.     The Supreme Court has observed that “nowhere in the world today is the right of

citizenship of greater worth to an individual than it is in this country. It would be difficult to

exaggerate its value and importance. By many it is regarded as the highest hope of civilized

men.” Schneiderman v. United States, 320 U.S. 118, 122 (1943).

        82.     The tangible benefits of United States citizenship are “priceless.” Id. Denying

birthright citizenship to the children of noncitizens and depriving them of their constitutionally

guaranteed benefits of citizenship will have immediate and dire consequences for newborn

children and their families.

        83.     For example, natural-born citizens are “entitled as of birth to the full protection of

the United States, to the absolute right to enter its borders, and to full participation in the political

process.” Tuan Anh Nguyen v. I.N.S., 533 U.S. 53, 67 (2001). Citizens enjoy an unqualified

constitutional right to enter, reside, and stay in the United States. See, e.g., id.; Worthy v. United




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States, 328 F.2d 386, 394 (5th Cir. 1964) (“[I]t is inherent in the concept of citizenship that the

citizen, when absent from the country to which he owes allegiance, has a right to return, again to

set foot on its soil.”). Noncitizens do not share that right. See Harisiades v. Shaughnessy, 342

U.S. 580, 587 (1952) (“The Government’s power to terminate its hospitality [to noncitizens] has

been asserted and sustained by this Court since the question first arose.”).

        84.     “[I]n clear words and in manifest intent,” Wong Kim Ark, 169 U.S. at 693, the

Fourteenth Amendment protects those born in the United States from discriminatory and

differential treatment, providing everyone the same citizenship regardless of their race, color, or

the immigration status or national origin of their parents. Yet the Executive Order defies this

constitutional mandate, discriminating against countless children born in the United States based

solely on their parents’ immigration status. The Executive Order thus purports to impose second-

class status on a class of children born in the United States, harming not only them but their

entire families.

        85.     A newborn denied the guarantees of United States citizenship may have no right

to stay in or re-enter their native land. Absent citizenship, children born to noncitizens, including

the children of Individual Plaintiffs and of Members, may be subject to deportation. These

children may therefore be forced to leave the country of their birth to travel to a place where they

have never been, where they may have no family ties, and, in the worst cases, where they may

face torture, persecution, and death.

        86.        By denying citizenship—and the accompanying right to remain in the United

States—to newborn babies, the Executive Order threatens to tear families apart. Parents (such as

those with a pending asylum application) may have a legal basis to reside in the United States,

and a newborn’s older siblings will often be United States citizens by birth. But under the




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Executive Order, the newborn would not have that same status. This could lead to an

unconscionable situation in which some members of a family will have a right to remain in the

United States while a U.S.-born child will not. Parents could be separated from their children,

denied the ability to travel with their newborns, and forced to make life-changing financial and

logistical adjustments to protect their children from danger. Ultimately, parents may be forced to

make an impossible choice between returning to a country where they face persecution and

death, or remaining in the United States while their U.S.-born child is deported.

       87.     If denied United States citizenship, U.S.-born babies may lack citizenship in any

country, leaving them stateless, “a condition deplored in the international community of

democracies.” Trop, 356 U.S. at 101 (plurality). Without a homeland, a stateless person’s “very

existence is at the sufferance of the country in which he happens to find himself.” Id. at 101.

       88.     The risk of statelessness is particularly high for children born to parents who are

seeking asylum. Many asylum seekers have been persecuted and tortured by the governments of

their home countries, and as such do not have access to or feel safe seeking services from a

consular office of their country of origin in the United States. Furthermore, it is common practice

for immigration attorneys to advise their clients that availing themselves of consular services

from their country of origin could harm their asylum case. As a result, many asylum seekers feel

they cannot request citizenship for their children from their country of origin. This will have the

effect of rendering the children of many asylum seekers stateless, meaning they would not have

citizenship from any country. Parents will then have to seek additional immigration

representation and support for their children to explore alternative protections. This will increase

financial costs, create major logistical burdens, and disrupt their plans to assimilate their families

into the United States.




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         89.   Pregnant Individual Plaintiffs and other Members are experiencing stress and

anxiety knowing their children may not become U.S. citizens by birth. Immigration insecurity

leads mothers and pregnant women to experience significant stress and experience worse

physical and mental health outcomes. Such mothers give birth to babies with lower birthweight

and poorer health. Elizabeth U. Cascio, Paul Cornell, Ethan G. Lewis, The Intergenerational

Effects of Permanent Legal Status, NBER Working Paper No. 32635 (2024),

https://www.nber.org/system/files/working_papers/w32635/w32635.pdf. The threat of

deportation of loved ones also leads to worse mental health outcomes. Amy L. Johnson et al,

Deportation threat predicts Latino US citizens and noncitizens’ psychological distress, 2011 to

2018, 121 PNAS e2306554121 (2024), https://www.pnas.org/doi/10.1073/pnas.2306554121.

         90.   Beyond potential immigration consequences, the Executive Order will deny

children born in the United States to noncitizen parents, including children born to Individual

Plaintiffs and Members, other privileges and responsibilities of U.S. citizens. That denial will

harm not only the children, but their entire families.

         91.   Individual Plaintiffs and Members have spent time and energy planning for the

birth of their children; but those plans have been thrown into disarray by the Executive Order,

which creates legal uncertainty about their children’s immigration status. Individual Plaintiffs

and Members want their children to be able to pursue the American dream and participate in the

full civic and political life of this Nation, but those hopes have been replaced with fear and

doubt.

         92.   Ending birthright citizenship would also disqualify children born in the United

States to noncitizen parents, including children born to Individual Plaintiffs and Members, from

a host of federal, state, and local benefits provided to ensure that all citizens of this country can




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succeed. While noncitizens are often ineligible to obtain such benefits in their own right, see 8

U.S.C. § 1611(a), U.S. citizen children are generally eligible for such benefits and noncitizen

parents can apply for them on behalf of a citizen child.

        93.     For instance, the Supplemental Nutrition Assistance Program (“SNAP”) provides

critical nutrition support for low-income children who are citizens, even if their parents are

noncitizens. See U.S. Dep’t of Agric., Supplemental Nutrition Assistance Program: Guidance on

Non-Citizen Eligibility 22 (2011), https://perma.cc/LY4H-KUWJ. The same is true of welfare

programs like Temporary Assistance for Needy Families (“TANF”). See Dep’t of Health &

Hum. Servs., Policy Guidance Regarding Inquiries Into Citizenship, Immigration Status, and

Social Security Numbers in State Applications for Medicaid, State Children’s Health Insurance

Program (SCHIP), Temporary Assistance for Needy Families (TANF), and Food Stamp Benefits

5 (2006),

https://www.hhs.gov/sites/default/files/ocr/civilrights/resources/specialtopics/origin/triagencyq&

as_pdf.pdf. Crucial healthcare programs like the Children’s Health Insurance Program (“CHIP”),

the Affordable Care Act (“ACA”), and Medicaid also provide coverage to citizen children of

noncitizen parents. See, e.g., id. at 2-3 (parent citizenship “irrelevant” to child’s eligibility for

CHIP or Medicaid); 26 U.S.C. § 5000A(d)(3); 45 C.F.R. § 155.20 (ACA limited to those

“lawfully present”). The Executive Order undermines the ability of Individual Plaintiffs and

Members to rely on these programs and others to support their families.

        94.     As they grow up, children deprived of birthright citizenship will be unable to

exercise their right to vote and otherwise participate fully in U.S. democracy by, for example,

donating to a political campaign or political party whose policies they support. See 8 U.S.C.




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§ 611; 52 U.S.C. § 30121. And they will not have the opportunity to serve on a jury, removing

their voices from the representative community that makes important decisions in the courts.

       95.     Children denied birthright citizenship may be denied the legal authority to work in

the United States or go to certain universities, hampering their productivity and ability to

contribute to this country’s advances in science, technology, and industry. See Sam Fulwood III

& Marshall Fitz, Ctr. For Am. Progress, Less than Citizens: Abolishing Birthright Citizenship

Would Create A Permanent Underclass in our Nation 7 (May 2011),

https://www.americanprogress.org/wp-content/uploads/sites/2/2012/12/55174537-Less-than-

Citizens.pdf. “Repealing birthright citizenship would severely reduce the ability of the children

of immigrants to thrive educationally, and would make the idea of college graduation, let alone

job retention in critical fields such as science or engineering, virtually impossible.” Id.; accord,

e.g., Zachary Liscow and William G. Woolston, Does Legal Status Matter for Educational

Choices? Evidence from Immigrant Teenagers, 20 Am. L. & Econ. Rev. 318, 318 (2018),

(finding non-citizen children are more than twice as likely to drop out of high school as their

U.S. citizen siblings); Kalena E. Cortes, Achieving the DREAM: The Effect of IRCA on

Immigrant Youth Postsecondary Educational Access, 103 Am. Econ. Rev. 428, 432 (2013)

(finding children with stable, long-term immigration status are also more likely to attend

college). Parents of these children had every expectation and hope that their child will have full

access to the American dream, and these parents face psychological harm knowing that their

child may be deprived of the opportunities that other U.S.-born children have.

       96.     Indeed, “Americans whose parents were undocumented immigrants or in

temporary immigration status have joined the U.S. military, founded prosperous businesses,

served the United States as diplomats, and served in high political office. . . . [O]ne can fairly say




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that the birthright citizenship rule has been one of the factors in the rise of the United States to

superpower status, as birthright citizens have been a social and economic asset.” Margaret D.

Stock, Is Birthright Citizenship Good for America?, 32 Cato J. 139, 149 (2012),

https://www.cato.org/sites/cato.org/files/serials/files/cato-journal/2012/1/cj32n1-10.pdf.

       97.     In light of the importance of citizenship to a person’s status in both the national

and international community, and the many benefits that flow from that status, it is vital that a

person’s citizenship be clear and unmistakable. Yet the Executive Order purports to cloud the

certainty that the Constitution provides, inflicting serious costs of uncertainty on the newborns,

their families, and society as a whole. Families will be left fearful that the citizenship guaranteed

by federal law will not be honored by federal officers.

       98.     With its unprecedented departure from the well-settled understanding of birthright

citizenship, the Executive Order throws long-established systems into chaos, leaving families to

navigate a regime that is not equipped for determining citizenship of children born in the United

States. For example, United States citizens have long been able to use their birth certificate as

proof of U.S. citizenship, but the Executive Order now raises the specter that something more

will be needed—although it is not clear what. And all 50 states participate in the Social Security

Administration’s Enumeration at Birth program, which allows parents to complete applications

for their newborns’ Social Security numbers as part of the hospital birth registration process. See

Social Security Admin., Bur. of Vital Statistics, State Processing Guidelines for Enumeration at

Birth (Nov. 2024),

https://www.ssa.gov/dataexchange/documents/Updated%20State%20Processing%20Guidelines

%20for%20EAB.pdf. These processes are not designed to capture or determine the immigration

status of parents.




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          99.    The Executive Order departs from these settled regulatory practices, directing

Defendants to adopt “regulations and policies” consistent with the order within 30 days. This

requires agencies to disregard their existing regulations without complying with the process

required by the Administrative Procedure Act, 5 U.S.C § 553. The Executive Order places these

processes in doubt, leaving all new parents and expecting parents—regardless of their

immigration status—with an uncertain path for obtaining social security numbers or passports for

their newborns and otherwise proving or establishing their child’s citizenship status. Further,

eliminating the fact of U.S. birth as proof of citizenship will add billions of dollars a year in extra

bureaucratic costs as more complicated citizenship-verification methods will need to be designed

and followed. Stock, supra, at 153 (calculating it will cost an additional $2.4 billion per year).

          100.   Visiting all of these harms on children simply as a consequence of their birth to

noncitizen parents “does not comport with fundamental conceptions of justice.” Plyler, 457 U.S.

at 220.

                                       CAUSES OF ACTION

                                             Count I
                        Ultra Vires Action Under Fourteenth Amendment

          101.   Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth herein.

          102.   Executive actions, including Executive Orders issued by a President, can be

challenged as ultra vires when they violate the Constitution and the laws of the United States.

See, e.g., Trump v. Hawaii, 585 U.S. 667 (2018); Chamber of Commerce v. Reich, 74 F.3d 1322,

1327-28 (D.C. Cir. 1996).

          103.   The Constitution guarantees that “[a]ll persons born or naturalized in the United

States, and subject to the jurisdiction thereof, are citizens of the United States.”




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          104.   By virtue of this constitutional provision, all children who will be born to

Individual Plaintiffs and Members in the United States will be United States citizens.

          105.   The Executive Branch has no power to unilaterally amend or repeal the

Fourteenth Amendment and no power to disobey a clear constitutional command.

          106.   Specifically, Defendants lack the authority to interfere with, deny, or fail to

recognize citizenship that is granted by the United States Constitution, and they lack the

authority to deny any of the rights, benefits, and privileges that accompany that citizenship. By

refusing to recognize constitutionally granted citizenship, and by taking actions that are

inconsistent with that citizenship, Defendants’ actions described above violate the Constitution

and are ultra vires.

          107.   Defendants’ violation is causing ongoing, irreparable harm to Individual Plaintiffs

and Members, their family members, CASA, and ASAP, for which no other adequate remedy

exists.

          108.   Plaintiffs have no adequate remedy at law.

                                              Count II
                            Ultra Vires Action Under 8 U.S.C. § 1401(a)

          109.   Plaintiffs restate and re-allege all preceding paragraphs as if fully set forth herein.

          110.   Section 1401 of Title 8 of the United States Code provides that every “person

born in the United States, and subject to the jurisdiction thereof,” “shall be nationals and citizens

of the United States at birth.”

          111.   The Executive Branch has no power to unilaterally amend or repeal an Act of

Congress and no power to disobey a clear statutory command.




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        112.   This statute reinforces the Fourteenth Amendment and guarantees that all children

who will be born to Individual Plaintiffs and Members in the United States will be United States

citizens.

        113.   Defendants lack the authority to disregard an Act of Congress that recognizes

citizenship. By refusing to acknowledge citizenship that has been recognized by an Act of

Congress, and by taking actions that are inconsistent with that citizenship, Defendants actions

described above violate 8 U.S.C. § 1401 and are ultra vires.

        114.   Defendants’ violation is causing ongoing, irreparable harm to Plaintiffs, for which

no other adequate remedy exists.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their

favor and grant the following relief:

        a.     A declaration that the Executive Order entitled “Protecting the Meaning and

               Value of American Citizenship,” is unconstitutional and invalid on its face;

        b.     A declaration that the Executive Order is unconstitutional and invalid as applied

               to Plaintiffs;

        c.     A declaration that the Executive Order violates 8 U.S.C. § 1401(a) on its face;

        d.     A declaration that the Executive Order violates 8 U.S.C. § 1401(a) as applied to

               Plaintiffs;

        e.     A declaration that all children born in the United States to noncitizen parents

               covered by the Executive Order are citizens of the United States and are entitled

               to all of the rights and privileges that such status provides, regardless of the

               immigration status of their parents;




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       f.     A preliminary and permanent injunction enjoining Defendants from enforcing the

              Executive Order, or taking any other action that fails to recognize citizenship to

              individuals born within the United States to noncitizens covered by the Executive

              Order;

       g.     An award to Plaintiffs of reasonable costs and attorneys’ fees; and

       h.     Such other and further relief that this Court may deem fit and proper.


January 21, 2025
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 CASA, INC., et al.,

                        Plaintiffs,

        v.                                              Case No. 8:25-cv-00201-DLB

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

                        Defendants.


                  MOTION TO STAY INJUNCTION PENDING APPEAL

       Pursuant to Federal Rule of Civil Procedure 62, Defendants respectfully move for a partial

stay pending appeal of the Court’s February 5, 2025 Order, ECF No. 66, which preliminarily

enjoins Defendants on a nationwide basis from implementing and enforcing Executive Order No.

14160, Protecting the Meaning and Value of American Citizenship. Defendants request that the

Court stay the injunction’s nationwide application so the injunction provides relief only to the

individual plaintiffs and the members of the organizational plaintiffs who have been identified in

Plaintiffs’ complaint or preliminary injunction papers. The reasons for this motion are set forth in

the accompanying memorandum.


Dated: February 11, 2025                      Respectfully submitted,

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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


CASA, INC., et al.,

                       Plaintiffs,

        v.                                            Case No. 8:25-cv-00201-DLB

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

                       Defendants.


       DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO STAY
              PRELIMINARY INJUNCTION PENDING APPEAL




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                                              INTRODUCTION

         Pursuant to Federal Rule of Civil Procedure 62, Defendants respectfully move for a partial

stay pending appeal of the Court’s February 5, 2025 Order, ECF No. 66, which preliminarily

enjoins Defendants on a nationwide basis from implementing and enforcing Executive Order No.

14160, Protecting the Meaning and Value of American Citizenship (Jan. 20, 2025) (“EO”). In

particular, the Court should stay the injunction’s nationwide application so the injunction provides

relief only to the individual plaintiffs and the members of the organizational plaintiffs who have

been identified in Plaintiffs’ complaint or preliminary injunction papers. 1

         Defendants’ arguments that the Court’s injunction is overbroad are likely to succeed on

appeal because the extension of relief to individuals across the nation who are not properly before

the Court violates the well-established principle that judicial remedies “must be tailored to redress

the plaintiff’s particular injury.” Gill v. Whitford, 585 U.S. 48, 73 (2018). The equities similarly

weigh in favor of staying application of an injunction that intrudes into internal executive branch

affairs, preventing Defendants from even taking preparatory steps to implement the EO in the

event that it is eventually permitted to take effect, and extends to non-parties who have not

demonstrated a likelihood of irreparable harm or entitlement to injunctive relief.

         Defendants respectfully request a ruling by the close of business on February 18, 2025.

After that time, if relief has not been granted, Defendants intend to seek relief from the U.S. Court

of Appeals for the Fourth Circuit.




          1
            This includes individuals who have been identified by pseudonym. Consistent with the Court’s Order
granting leave for the individual plaintiffs to proceed under pseudonym, ECF No. 68, Defendants are not requesting
that the individual plaintiffs or members of the organizational plaintiffs described in Plaintiffs’ papers be publicly
identified, only that they be identified to the Court and Defendants for purposes of issuing and following a tailored
injunction, subject to the terms of an appropriate protective order.

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                                            ARGUMENT

        Courts consider four factors in assessing a motion for stay pending appeal: (1) the movant’s

likelihood of prevailing on the merits of the appeal, (2) whether the movant will suffer irreparable

harm absent a stay, (3) the harm that other parties will suffer if a stay is granted, and (4) the public

interest. See Hilton v. Braunskill, 481 U.S. 770, 776 (1987); Long v. Robinson, 432 F.2d 977, 979

(4th Cir. 1970).

I.      Defendants Are Likely To Prevail On The Merits Of Their Argument That The
        Preliminary Injunction Should Be Limited In Scope.

        1.      As Defendants have explained, nationwide injunctive relief is inappropriate in this

case. See Defs.’ Opp’n to Pls.’ Mot. for TRO and Prelim. Inj. at 29-30, ECF No. 40 (“Defs.’ PI

Opp’n”). A federal court may entertain a suit only by a plaintiff who has suffered a concrete “injury

in fact,” and the court may grant relief only to remedy “the inadequacy that produced [the

plaintiff’s] injury.” Gill, 585 U.S. at 66 (citation omitted). Principles of equity reinforce those

limitations, and “[u]niversal injunctions have little basis in traditional equitable practice.” Dep’t

of Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J., concurring). Indeed,

nationwide injunctions “take a toll on the federal court system,” and “prevent[] legal questions

from percolating through the federal courts.” Trump v. Hawaii, 585 U.S. 667, 713 (2018)

(Thomas, J., concurring).

        These general principles apply in challenges to “categorical [government] polic[ies],”

Mem. Op. at 32, ECF No. 65 (“PI Opinion”), the same as all other cases. See, e.g., Arizona v.

Biden, 40 F.4th 375, 397 (6th Cir. 2022) (Sutton, C.J., concurring) (rejecting argument that

nationwide injunction was necessary to prevent a “patchwork” national policy because that “would

make nationwide injunctions the rule rather than the exception with respect to all actions of federal

agencies”). And they foreclose any relief in this case to anyone not properly before the Court, i.e.,


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anyone but the individual plaintiffs and the members of the organizational plaintiffs who have

been pseudonymously identified. As one Fourth Circuit panel explained, nationwide injunctions

“are plainly inconsistent with th[e] conception of the judicial role and the proper scope of the

federal courts’ remedial power.” CASA de Maryland, Inc. v. Trump, 971 F.3d 220, 257 (4th Cir.

2020) (Wilkinson, J.), vacated for reh’g en banc, 981 F.3d 311; see also Emergency One, Inc. v.

Am. Fire Eagle Engine Co., Inc., 332 F.3d 264, 270 (4th Cir. 2003) (vacating nationwide

injunction).

       The Court nonetheless fashioned nationwide relief because it determined that doing so was

necessary to provide “complete relief” because one of the organizational plaintiffs—Asylum

Seeker Advocacy Project (“ASAP”)—has “over 680,000 members” who “reside in every state.”

PI Opinion at 32. But that is no basis for nationwide relief: the fact that ASAP has a relatively

large and geographically diverse membership does not justify awarding relief to large swaths of

individuals across the country who are not ASAP members, not parties to this case, and “not the

proper object of th[e court’s] remediation.” Lewis v. Casey, 518 U.S. 343, 358 (1996).

       Indeed, while the Court should at minimum narrow its injunction to cover only members

of ASAP and CASA at the time of its preliminary injunction order, even an injunction that

extended to unidentified members would be overbroad. For similar reasons as discussed above,

equitable principles preclude granting relief to any member who has not been identified in

Plaintiffs’ filings and agreed to be bound by the judgment. FDA v. All. for Hippocratic Med., 602

U.S. 367, 401–02 (2024) (Thomas, J., concurring) (noting that “[u]niversal injunctions” as a means

of granting relief to an entire association’s members are “legally and historically dubious” (citation

omitted)). Restricting this type of broad relief would also promote longstanding equitable

principles that a party has one opportunity for relief and that the effect of any judgment should be



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bidirectional. Cf. Arizona, 40 F.4th at 397 (Sutton, C.J., concurring) (explaining the equitable and

historical problems with “asymmetric” suits).

        “[H]e who seeks equity must do equity,” and courts should “be alert” that equity’s “peculiar

remedial process is in no way abused.” Koster v. (Am.) Lumbermens Mut. Cas. Co., 330 U.S. 518,

522 (1947). Allowing organizations to seek injunctive relief for hundreds of thousands of

unidentified members who would not be bound by the judgment exposes the Defendants to a

multiplicity of suits and is fundamentally inequitable. Because the organizational plaintiffs’

unidentified members are unknown, it is entirely possible that some of them also belong to other

organizations that are challenging the EO, see, e.g., Compl. ¶ 18, New Hampshire Indonesian

Community Support v. Trump, No. 1:25-cv-00038 (D.N.H. Jan. 20, 2025), ECF No. 1 (plaintiff

organization claiming to have over 325,000 members nationwide), and providing relief to all such

unidentified members in these circumstances undermines basic principles of preclusion and claim

splitting.   See also Alliance, 602 U.S. at 402 (Thomas, J., concurring) (noting that broad

associational standing “subverts the class-action mechanism” by allowing an organization to

“effectively bring a class action without satisfying any of the ordinary requirements”).

        Finally, the Court justified its nationwide injunction on the ground that the EO concerns

citizenship, a “national concern that demands a uniform policy.” PI Opinion at 32. But again, the

mere fact that Plaintiffs challenge a national policy does not nullify traditional equitable principles

that militate against providing relief to non-parties. And while the Court refers to the constitutional

provision giving the federal government power to establish a “uniform Rule of Naturalization,”

id., the EO addresses the government’s interpretation of the Fourteenth Amendment’s provision

of citizenship by birth; it does not provide a rule of naturalization. See, e.g., Miller v. Albright,

523 U.S. 420, 423 (1998) (plurality opinion) (distinguishing between citizenship by birth and



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citizenship by naturalization).

       2.      The Court’s injunction is also overbroad to the extent it enjoins not only

enforcement of the EO, but all implementation. As noted below, that causes harm to the

government, and it is inconsistent with the well-established principle that “injunctive relief should

be no more burdensome to the defendant than necessary to provide complete relief to the

plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (citation omitted). At

minimum, the Court should limit its injunction to permit the government to implement the EO in

ways that cause no harm to Plaintiffs, including by taking internal, preparatory steps regarding the

EO’s application and formulating relevant policies and guidance.

II.    The Balance Of Equities, Including The Irreparable Harm Defendants Will Suffer,
       Favors a Stay.
       The balance of the equities likewise favors limiting injunctive relief to the individual

plaintiffs and identified members of the organizational plaintiffs. Providing relief beyond that,

particularly to individuals in all 50 states who have not demonstrated their entitlement to such

relief, conflicts with the principles articulated above and allows “one district court [to] make a

binding judgment for the entire country.” Louisiana v. Becerra, 20 F.4th 260, 263 (5th Cir. 2021).

That is especially inappropriate in the context of this litigation, where multiple states have argued

that the EO should not be universally enjoined. See ECF No. 50 (Tennessee amicus brief); see

also ECF No. 89-1, Washington v. Trump, No. 2:25-cv-0127-JCC (W.D. Wash. Feb. 3, 2025)

(amicus brief filed by 18 states supporting Defendants’ position).

       In addition, an injunction that interferes with the President’s ability to carry out his broad

authority over immigration matters is “an improper intrusion by a federal court into the workings

of a coordinate branch of the Government.” INS v. Legalization Assistance Project of L.A. County

Fed’n of Lab., 510 U.S. 1301, 1305-06 (1993) (O’Connor, J., in chambers). Indeed, any injunction


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that prevents the President from exercising his core authorities is “itself an irreparable injury.”

Doe #1 v. Trump, 957 F.3d 1050, 1084 (9th Cir. 2020) (Bress, J., dissenting) (citing Maryland v.

King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers)).

         As noted above, the injunction causes further harm to the Defendants because its breadth—

applying to all implementation and enforcement—prevents the executive branch as a whole from

even beginning the process of formulating relevant policies and guidance for implementing the

EO. If Defendants are successful on their appeal and the EO is eventually allowed to take effect,

but the injunction is not stayed in its overbroad applications while that appeal is pending, the

Defendants will be unable to make preparations necessary to implement the EO, thus further

delaying its implementation. 2 Such a delay in effectuating a policy enacted by a politically

accountable branch of the government imposes its own “form of irreparable injury.” King, 567

U.S. at 1303 (Roberts, C.J., in chambers) (citation omitted). This is especially harmful in this

context where, as Defendants have explained, the challenged EO is part of a larger immigration

policy designed to combat the “significant threats to national security and public safety” posed by

unlawful immigration. See Defs.’ PI Opp’n at 3.

                                                 CONCLUSION

         For the foregoing reasons, and for the reasons stated in Defendants’ opposition to

Plaintiffs’ motion for preliminary injunction, Defendants respectfully request that this Court stay

its preliminary injunction to the extent it extends beyond the individual plaintiffs and the members


         2
            The EO is also subject to a nationwide injunction issued by a district court in the Western District of
Washington. See Washington v. Trump, No. 2:25-cv-0127-JCC, 2025 WL 415165 (W.D. Wash. Feb. 6, 2025).
Defendants have appealed that preliminary injunction and filed a motion to stay its overbroad applications—in
particular, as it applies to anyone other than the named individual plaintiffs in that case. See Washington ECF Nos.
116 & 122. The EO was also enjoined by a district court in the District of New Hampshire on February 10, 2025, but
that injunction applies only to the plaintiffs in that case and within that court’s jurisdiction. See ECF No. 77, New
Hampshire Indonesian Community Support v. Trump, No. 1:25-cv-00038 (D.N.H. Feb. 10, 2025). The Acting
Solicitor General of the United States is currently considering whether to appeal that preliminary injunction order and
whether to seek any stay pending appeal.

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of the organizational plaintiffs identified in this action. Defendants respectfully request a ruling

on this motion no later than the close of business on February 18, 2025, after which time, if relief

has not been granted, Defendants intend to seek relief from the Fourth Circuit.


Dated: February 11, 2025                      Respectfully submitted,

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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 CASA, INC., et al.,

                        Plaintiffs,

          v.                                           Case No. 8:25-cv-00201-DLB

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

                        Defendants.


                                      [PROPOSED] ORDER

         The Court, having reviewed Defendants’ Motion to Stay Preliminary Injunction Pending

Appeal, hereby ORDERS as follows:

         The Motion is GRANTED.

         The Court STAYS its Order granting Plaintiffs’ motion for preliminary injunction, ECF

No. 66, except as that preliminary injunction applies to the individual plaintiffs and the members

of the organizational plaintiffs who have been identified in Plaintiffs’ complaint or preliminary

injunction papers.


Dated:




                                                    ________________________
                                                    Deborah L. Boardman
                                                    United States District Judge




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

CASA, INC., et al.,                             *

       Plaintiffs,                              *

v.                                              *           Civ. No. DLB-25-0201

DONALD J. TRUMP, et al.,                        *

       Defendants.                              *

                                            ORDER

       On February 5, 2025, the Court granted a nationwide preliminary injunction enjoining the

enforcement and implementation of Executive Order 14160, titled “Protecting the Meaning and

Value of American Citizenship” (the “Executive Order”). ECF 66. The defendants appealed the

preliminary injunction order to the United States Court of Appeals for the Fourth Circuit. They

now move for a partial stay of the order pending appeal, ECF 70. Specifically, they ask the Court

to “stay the injunction’s nationwide application so the injunction provides relief only to the

individual plaintiffs and the members of the organizational plaintiffs who have been identified in

Plaintiffs’ complaint or preliminary injunction papers.” ECF 70-1, at 2. They also ask the Court to

enjoin only the enforcement of the Executive Order, not the implementation of it. Id. at 7. The

plaintiffs oppose the motion. ECF 74. The Court declines to narrow the scope of the preliminary

injunction pending appeal. The defendants’ motion for a partial stay is denied.

       “A request for a stay pending appeal is committed to the exercise of judicial discretion.”

Doe #1 v. Trump, 957 F.3d 1050, 1058 (9th Cir. 2020) (citing Virginian Ry. v. United States, 272

U.S. 658, 672 (1926)). Courts consider four factors when determining whether to stay an order

pending appeal: “(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)




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whether issuance of the stay will substantially injure the other parties interested in the proceeding;

and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting Hilton

v. Braunskill, 481 U.S. 770, 776 (1987)). Of these factors, “[t]he first two . . . are the most critical.”

Id. The party seeking the stay bears the burden of showing that the circumstances justify an

exercise of judicial discretion. Id. at 433–34.

        The defendants are not likely to prevail on their argument that the preliminary injunction

should provide relief only to the individual plaintiffs and the members of the organizational

plaintiffs identified in the complaint and the briefing. The Court issued a nationwide injunction for

two reasons. 1 ECF 65, at 32. Both remain valid. First, the 680,000 members of the Asylum Seeker

Advocacy Project (“ASAP”), a plaintiff organization, reside in all 50 states and several U.S.

territories. Many of those members are pregnant, and their unborn children fall within the scope

of the Executive Order. A nationwide injunction is appropriate to give ASAP’s members effective

relief. The fact that similarly situated people who are not members of ASAP also enjoy the benefit

of nationwide injunctive relief is no reason to narrow the scope of the injunction. See Trump v.

Int’l Refugee Assistance Project, 582 U.S. 571, 579 (2017) (declining to stay nationwide injunction

enjoining enforcement of immigration policy “with respect to respondents and those similarly

situated”); Roe v. Dep’t of Def., 947 F.3d 207, 231 (4th Cir. 2020) (affirming nationwide injunction

and noting “the equitable power of district courts, in appropriate cases, to issue nationwide

injunctions extending relief to those who are similarly situated to the litigants”). Second, the Court

found a nationwide injunction was necessary because the Executive Order is a “categorical policy”



1
   The plaintiffs asked the Court to characterize the injunction as “universal” rather than
“nationwide.” ECF 74, at 3 n.1. The Court’s order granting a preliminary injunction applies
“throughout these United States.” ECF 66, at 2–3. The Court’s intent is to enjoin enforcement and
implementation of the Executive Order throughout the United States. The nationwide injunction
in this case is a universal injunction.


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that addresses the citizenship status of people born anywhere in the United States. See ECF 65, at

32 (quoting HIAS, Inc. v. Trump, 985 F.3d 309, 326 (4th Cir. 2021)). Were the Court to limit the

injunction to the plaintiffs and the members of the plaintiff organizations, a person’s citizenship

status during the pendency of this case would depend on their parents’ decision to bring this lawsuit

or their parents’ membership in one of two voluntary, private organizations. That would make no

sense. 2 Citizenship rules should be uniform and consistent across the country. Uniformity and

consistency can be ensured only through a nationwide injunction. The Fourth Circuit and other

courts of appeal have approved nationwide (or universal) injunctions when there is a need for a

uniform national policy. See, e.g., HIAS, 985 F.3d at 326–27 (affirming nationwide injunction

because plaintiff refugee resettlement organizations resettled refugees “throughout the country”

and a limited injunction would “undermine the very national consistency that the Refugee Act is

designed to protect”); Nebraska v. Biden, 52 F.4th 1044, 1048 (8th Cir. 2022) (granting

preliminary injunction enjoining enforcement of student loan policy because “an injunction limited

to the plaintiff States, or even more broadly to student loans affecting the States, would be

impractical and would fail to provide complete relief to the plaintiffs” and because suspension of

loan payments and interest was “universal”); Doe #1, 957 F.3d at 1069–70 (denying stay of

nationwide injunction because the plaintiff class was nationwide, “a nationwide injunction [was]

necessary to provide the class members with complete relief,” and there is a need “for a

‘comprehensive and unified’ immigration policy” (quoting Arizona v. United States, 567 U.S. 387,



2
  If the Court limited the injunction as the defendants request, the result also would be impractical.
Cf. Nebraska v. Biden, 52 F.4th 1044, 1048 (8th Cir. 2022) (granting nationwide preliminary
injunction because injunction limited to plaintiff states would be impractical). If the defendants
had their way, localities would have to determine whether a newborn’s parent is a member of the
plaintiff organizations before they issued a birth certificate or granted the child government
benefits, and the federal government would have to make the same determination before it issued
the child a social security card or passport.


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401 (2012))); E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 779 (9th Cir. 2018) (“In

immigration matters, we have consistently recognized the authority of district courts to enjoin

unlawful policies on a universal basis.”); Texas v. United States, 809 F.3d 134, 187–88 (5th Cir.

2015) (affirming nationwide injunction enjoining immigration policy because “the immigration

laws of the United States should be enforced vigorously and uniformly” and “there is a substantial

likelihood that a geographically-limited injunction would be ineffective” because beneficiaries of

the policy “would be free to move among states” (citation omitted)).

       The defendants also ask the Court to enjoin only the enforcement of the Order, not the

implementation of it. While this case is on appeal, the defendants apparently want to “tak[e]

internal, preparatory steps regarding the EO’s application and formulat[e] relevant policies and

guidance.” ECF 70-1, at 6. This request, too, is denied. The Court has found that the plaintiffs

established a strong likelihood of success on the merits of their claim that the Executive Order

violates the Fourteenth Amendment to the Constitution. Surely, the government has no valid

interest in taking internal, preparatory steps to formulate policies and guidance on an

unconstitutional Executive Order.

       The defendants have not made a strong showing that they are likely to succeed on their

claim that the Court erred by granting a nationwide injunction that enjoins the enforcement and

the implementation of the Executive Order.

       The defendants also have not shown that they will be irreparably injured without a partial

stay. They claim that “any injunction that prevents the President from exercising his core

authorities is ‘itself an irreparable injury.’” ECF 70-1, at 6–7 (quoting Doe #1, 957 F.3d at 1084

(Bress, J., dissenting)). The President certainly has the core authority to issue Executive Orders.

But the President has no authority to issue an Executive Order that purports to rewrite the




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Constitution and that ignores 125 years of Supreme Court precedent. The President may not

overrule the Constitution “by executive fiat.” See E. Bay Sanctuary Covenant, 932 F.3d at 779.

The defendants have not shown that they will be irreparably harmed by a nationwide injunction

that maintains the status quo of citizenship by birth.

       The defendants’ motion for a partial stay pending appeal, ECF 70, is DENIED.




      February 18, 2025
Date: ______________
                                                           Deborah L. Boardman
                                                           United States District Judge




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